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                                  No. 2022-1630

            United States Court of Appeals
                for the Federal Circuit
           HARRIS BRUMFIELD, TRUSTEE FOR ASCENT TRUST,

                                                                Plaintiff - Appellant,

                                         v.

                   IBG LLC, INTERACTIVE BROKERS LLC,

                                                     Defendants - Cross-Appellants.

Appeal from the United States District Court for the Northern District of Illinois in
   Case No. 1:10-cv-00715, United States District Judge Virginia M. Kendall

 OPENING BRIEF OF PLAINTIFF-APPELLANT HARRIS BRUMFIELD


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       August 26, 2022
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                              PATENT CLAIMS AT ISSUE


U.S. Patent Number 6,772,132

1.    A method of placing a trade order for a commodity on an electronic

exchange having an inside market with a highest bid price and a lowest ask price,

using a graphical user interface and a user input device, said method comprising:

      setting a preset parameter for the trade order

      displaying market depth of the commodity, through a dynamic display of a

plurality of bids and a plurality of asks in the market for the commodity, including

at least a portion of the bid and ask quantities of the commodity, the dynamic

display being aligned with a static display of prices corresponding thereto, wherein

the static display of prices does not move in response to a change in the inside

market;

      displaying an order entry region aligned with the static display prices

comprising a plurality of areas for receiving commands from the user input devices

to send trade orders, each area corresponding to a price of the static display of

prices; and

      selecting a particular area in the order entry region through single action of

the user input device with a pointer of the user input device positioned over the

particular area to set a plurality of additional parameters for the trade order and

send the trade order to the electronic exchange.
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7.    A method of placing a trade order according to claim 2, further comprising

canceling said trade order in response to a subsequent single action of the user

input device.

8.    A computer readable medium having program code recorded thereon, for

execution on a computer having a graphical user interface and a user input device,

to place a trade order for a commodity on an electronic exchange having an inside

market with a highest bid price and a lowest ask price, comprising:

      a first program code for setting a preset parameter for the trade order;

      a second program code displaying market depth of a commodity, through a

dynamic display of a plurality of bids and a plurality of asks in the market for the

commodity, including the bid and ask quantities of the commodity, aligned with a

static display of prices corresponding thereto, wherein the static display of prices

does not move in response to a change in the inside market;

      a third program code for displaying an order entry region comprising a

plurality of areas for receiving commands from the user input device to send trade

orders, aligned with the static display of prices, each area corresponding to a price

of the static display of prices; and

      a fourth program code for receiving a command as a result of a selection of a

particular area in the order entry region by a single action of the user input device

with a pointer of the user input device positioned over the particular area, to set a

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plurality of additional parameters for the trade order and send the trade order to the

electronic exchange.

25.   A method according to claim 1, further comprising dynamically displaying

working orders in alignment with the prices corresponding thereto.

51.   A computer readable medium having program code recorded thereon, for

execution on a computer to place a trade order according to claim 9, wherein the

bid order entry region overlaps with a bid display region and the ask order entry

region overlaps with an ask display region.



U.S. Patent Number 6,766,304

1.    A method for displaying market information relating to and facilitating

trading of a commodity being traded in an electronic exchange having an inside

market with a highest bid price and a lowest ask price on a graphical user interface,

the method comprising:

      dynamically displaying a first indicator in one of a plurality of locations in a

bid display region, each location in the bid display region corresponding to a price

level along a common static price axis, the first indicator representing quantity

associated with at least one order to buy the commodity at the highest bid price

currently available in the market;




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      dynamically displaying a second indicator in one of a plurality of locations

in an ask display region, each location in the ask display region corresponding to a

price level along the common static price axis, the second indicator representing

quantity associated with at least one order to sell the commodity at the lowest ask

price currently available in the market;

      displaying the bid and ask display regions in relation to fixed price levels

positioned along the common static price axis such that when the inside market

changes, the price levels along the common static price axis do not move and at

least one of the first and second indicators moves in the bid or ask display regions

relative to the common static price axis;

      displaying an order entry region comprising a plurality of locations for

receiving commands to send trade orders, each location corresponding to a price

level along the common static price axis; and

      in response to a selection of a particular location of the order entry region by

a single action of a user input device, setting a plurality of parameters for a trade

order relating to the commodity and sending the trade order to the electronic

exchange.

12.   The method of claim 11 wherein a location of the plurality of locations of

the bid display region comprises a blank region in which there is no first or third

indicator displayed.

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15.      The method of claim 14 wherein the bid order entry region overlaps with the

bid display region and the ask order entry region overlaps with the ask display

region.

17. The method of claim 16 wherein the entered order indicator is displayed in

an entered order region.

22.      The method of claim 1 further comprising the steps of:

         displaying the first indicator at a first location associated with a particular

price level on the common static price axis; and

         repositioning the common static price axis such that the first indicator is

displayed at a second location associated with the particular price level on the

common static price axis.

27.      A computer readable medium having program code recorded thereon for

execution on a computer for displaying market information relating to and

facilitating trading of a commodity being traded in an electronic exchange having

an inside market with a highest bid price and a lowest ask price on a graphical user

interface, the program code causing a machine to perform the following method

steps:

         dynamically displaying a first indicator in one of a plurality of locations in a

bid display region, each location in the bid display region corresponding to a price

level along a common static price axis, the first indicator representing quantity

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associated with at least one order to buy the commodity at the highest bid price

currently available in the market;

      dynamically displaying a second indicator in one of a plurality of locations

in an ask display region, each location in the ask display region corresponding to a

the price level along the common Static price axis, the second indicator

representing quantity associated with at least one order to sell the commodity at the

lowest ask price currently available in the market;

      displaying the bid and ask display regions in relation to fixed price levels

positioned along the common static price axis such that when the inside market

changes, the price levels along the common static price axis do not move and at

least one of the first and second indicators moves in the bid or ask display regions

relative to the common static price axis;

      displaying an order entry region comprising a plurality of locations for

receiving commands to send trade orders, each location corresponding to a price

level along the common static price axis; and

      in response to a selection of a particular location of the order entry region by

a single action of a user input device, setting a plurality of parameters for a trade

order relating to the commodity and sending the trade order to the electronic

exchange.




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U.S. Patent Number 7,676,411

1.      A method of displaying market information relating to and facilitating

trading of a commodity being traded on an electronic exchange, the method

comprising:

        receiving, by a computing device, market information for a commodity from

an electronic exchange, the market information comprising an inside market with a

current highest bid price and a current lowest ask price;

        displaying, via the computing device, a bid display region comprising a

plurality of graphical locations, each graphical location in the bid display region

corresponding to a different price level of a plurality of price levels along a price

axis;

        displaying, via the computing device, an ask display region comprising a

plurality of graphical locations, each graphical location in the ask display region

corresponding to a different price level of the plurality of price levels along the

price axis;

        dynamically displaying, via the computing device, a first indicator

representing quantity associated with at least one trade order to buy the commodity

at the current highest bid price in a first graphical location of the plurality of

graphical locations in the bid display region, the first graphical location in the bid




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display region corresponding to a price level associated with the current highest

bid price;

         upon receipt of market information comprising a new highest bid price,

moving the first indicator relative to the price axis to a second graphical location of

the plurality of graphical locations in the bid display region, the second graphical

location corresponding to a price level of the plurality of price levels associated

with the new highest bid price, wherein the second graphical location is different

from the first graphical location in the bid display region;

         dynamically displaying, via the computing device, a second indicator

representing quantity associated with at least one trade order to sell the commodity

at the current lowest ask price in a first graphical location of the plurality of

graphical locations in the ask display region, the first graphical location in the ask

display region corresponding to a price level associated with the current lowest ask

price;

         upon receipt of market information comprising a new lowest ask price,

moving the second indicator relative to the price axis to a second graphical location

of the plurality of graphical locations in the ask display region, the second

graphical location corresponding to a price level of the plurality of price levels

associated with the new lowest ask price, wherein the second graphical location is

different from the first graphical location in the ask display region;

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      displaying, via the computing device, an order entry region comprising a

plurality of graphical areas for receiving single action commands to set trade order

prices and send trade orders, each graphical area corresponding to a different price

level along the price axis; and

      selecting a particular graphical area in the order entry region through a

single action of the user input device to both set a price for the trade order and send

the trade order having a default quantity to the electronic exchange.

4.    The method of claim 2, wherein the bid order entry region overlaps with the

bid display region, and wherein the ask order entry region overlaps with the ask

display region.

10.   The method of claim 9, further comprising canceling the user's trade order

represented by the entered order indicator in response to a single action of the user

input device with the cursor of the user input device positioned over the entered

order indicator.

11.   The method of claim 1, further comprising receiving a re-centering

command to center the inside market in a window of a graphical user interface.

26.   A computer readable medium having stored therein instructions for

execution by a computer to perform the following method steps:




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        receiving, by a computing device, market information for a commodity from

an electronic exchange, the market information comprising an inside market with a

current highest bid price and a current lowest ask price;

        displaying, via the computing device, a bid display region comprising a

plurality of graphical locations, each graphical location in the bid display region

corresponding to a different price level of a plurality of price levels along a price

axis;

        displaying, via the computing device, an ask display region comprising a

plurality of graphical locations, each graphical location in the ask display region

corresponding to a different price level of the plurality of price levels along the

price axis;

        dynamically displaying, via the computing device, a first indicator

representing quantity associated with at least one trade order to buy the commodity

at the current highest bid price in a first graphical location of the plurality of

graphical locations in the bid display region, the first graphical location in the bid

display region corresponding to a price level associated with the current highest

bid price;

        upon receipt of market information comprising a new highest bid price,

moving the first indicator relative to the price axis to a second graphical location of

the plurality of graphical locations in the bid display region, the second graphical

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location corresponding to a price level of the plurality of price levels associated

with the new highest bid price, wherein the second graphical location is different

from the first graphical location in the bid display region;

         dynamically displaying, via the computing device, a second indicator

representing quantity associated with at least one trade order to sell the commodity

at the current lowest ask price in a first graphical location of the plurality of

graphical locations in the ask display region, the first graphical location in the ask

display region corresponding to a price level associated with the current lowest ask

price;

         upon receipt of market information comprising a new lowest ask price,

moving the second indicator relative to the price axis to a second graphical location

of the plurality of graphical locations in the ask display region, the second

graphical location corresponding to a price level of the plurality of price levels

associated with the new lowest ask price, wherein the second graphical location is

different from the first graphical location in the ask display region;

         displaying, via the computing device, an order entry region comprising a

plurality of graphical areas for receiving single action commands to set trade order

prices and send trade orders, each graphical area corresponding to a different price

level along the price axis; and




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      selecting a particular graphical area in the order entry region through a

single action of the user input device to both set a price for the trade order and send

the trade order having a default quantity to the electronic exchange.



U.S. Patent Number 7,813,996

1.    A computer readable medium having program code recorded thereon for

execution on a computer having a graphical user interface and a user input device,

the program code causing a machine to perform the following method steps:

      receiving market information for a commodity from an electronic exchange,

the market information comprising an inside market with a current highest bid

price and a current lowest ask price;

      receiving an input from a user that designates a default quantity to be used

for a plurality of trade orders;

      dynamically displaying a first indicator in one of a plurality of locations in a

bid display region, each location in the bid display region corresponding to a price

level along a static price axis, the first indicator representing quantity associated

with at least one order to buy the commodity at the current highest bid price;

      dynamically displaying a second indicator in one of a plurality of locations

in an ask display region, each location in the ask display region corresponding to a

price level along the static price axis, the second indicator representing quantity

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associated with at least one order to sell the commodity at the current lowest ask

price;

         displaying the bid and ask display regions in relation to a plurality of price

levels arranged along the static price axis such that when the inside market

changes, the price levels along the static price axis do not change positions and at

least one of the first and second indicators moves in the bid or ask display regions

relative to the static price axis;

         displaying an order entry region aligned with the static price axis comprising

a plurality of areas for receiving commands from the user input device to send

trade orders, each area corresponding to a price level of the static price axis; and

         receiving a plurality of commands from a user, each command sending a

trade order to the electronic exchange, each trade order having an order quantity

based on the default quantity without the user designating the default quantity

between commands, wherein each command results from selecting a particular

area in the order entry region corresponding to a desired price level as part of a

single action of the user input device with a pointer of the user input device

positioned over the particular area to both set an order price parameter for the trade

order based on the desired price level and send the trade order to the electronic

exchange.




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14.   The computer readable medium of claim 1, further comprising program code

causing the machine to perform the following method step:

      dynamically displaying an entered order indicator in association with the

price levels arranged along the static price axis.

15.   The computer readable medium of claim 14, further comprising program

code causing the machine to perform the following method step:

      canceling the trade order in response to a subsequent single action of the

user input device with the pointer of the user input device positioned over the

entered order indicator.

16.   The computer readable medium of claim 1, further comprising program code

causing the machine to perform the following method step:

      receiving a re-centering command to center the inside market in a window of

the graphical user interface.




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                                                             Filed:04/27/2022
                                                                    08/27/2022



FORM 9. Certificate of Interest                                                      Form 9 (p. 1)
                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-1630, -1639
   Short Case Caption Trading Technologies International, Inc. v. IBG LLC
   Filing Party/Entity Harris Brumfield, Trustee for Ascent Trust



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        04/27/2022
  Date: _________________                    Signature:   /s/ Leif R. Sigmond, Jr.

                                             Name:        Leif R. Sigmond, Jr.
               Case:
                Case:22-1630
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                                                                    17 Filed:
                                                                        Filed:04/27/2022
                                                                               08/27/2022



FORM 9. Certificate of Interest                                                              Form 9 (p. 2)
                                                                                                July 2020


     1. Represented                              2. Real Party in           3. Parent Corporations
         Entities.                                   Interest.                 and Stockholders.
   Fed. Cir. R. 47.4(a)(1).                    Fed. Cir. R. 47.4(a)(2).       Fed. Cir. R. 47.4(a)(3).
 Provide the full names of                   Provide the full names of      Provide the full names of
 all entities represented                    all real parties in interest   all parent corporations
 by undersigned counsel in                   for the entities. Do not       for the entities and all
 this case.                                  list the real parties if       publicly held companies
                                             they are the same as the       that own 10% or more
                                             entities.                      stock in the entities.

                                             ‫܆‬
                                             ✔ None/Not Applicable          ‫܆‬
                                                                            ✔ None/Not Applicable




Harris Brumfield, Trustee for Ascent Trust




                                                Additional pages attached
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                                   Document:18
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                                                       18 Filed:
                                                           Filed:04/27/2022
                                                                  08/27/2022



FORM 9. Certificate of Interest                                                       Form 9 (p. 3)
                                                                                         July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable               ✔     Additional pages attached
                                                                McDonnell Boehnen Hulbert &
      Christopher D Butts            Alan Wayne Krantz                 Berghoff LLP



       Andrea Kay Orth               Ann Christine Palma       Brandon J Kennedy

Lee Sullivan Shea & Smith LLP         Brendan E Clark          Cole Bradley Richter


 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
  ✔
          None/Not Applicable                     Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔       None/Not Applicable                     Additional pages attached
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                                                     Filed:04/27/2022
                                                            08/27/2022




                 FORM 9. Certificate of Interest, Continued

4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected
to appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

    Steven F. Borsand

    David Michael Friebus

    Harrison Bryant Rose

    Jared A. Brandyberry

    Jason F. Hoffman

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    Trading Technologies International, Inc.

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    GrowIP Law Group LLC

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    S. Richard Carden

    Sarah Emily Fendrick

    Stephanie J Nelson
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         III.     AFTER A MONTH-LONG JURY TRIAL IN THIS PATENT
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                  INFRINGEMENT, BUT LOST DAMAGES. PLAINTIFF
                  HAD ASKED FOR $962 MILLION, DEFENDANT HAD
                  PROPOSED $3.3 MILLION, AND THE JURY AWARDED
                  $6.6 MILLION. PLAINTIFF UNCOVERED EVIDENCE
                  POST-TRIAL THAT DEFENDANT GROSSLY
                  MISREPRESENTED ITS INFRINGEMENT DATA,
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                  PLAINTIFF FILED A MOTION WITH THE DISTRICT
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 A.    In This Case, IB Had Always Represented That It Was
       “Solely Tracking Orders And Trades In TWS By What
       Tools The Orders Are Submitted From.” On November
       9, 2021, When IB Replied To Our Motion For “A New
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                      STATEMENT OF RELATED CASES

      Appeals from the same civil action that were previously before this Court

include Trading Techs. Int’l, Inc. v. Open E Cry, LLC (OEC), Appeal No. 2012-

1583 (August 30, 2013), before Circuit Judge Lourie, Circuit Judge Plager, and

District Court Judge Benson, sitting by designation, Trading Techs. Int’l, Inc. v.

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Open E Cry, LLC, Appeal No. 2015-1547 (July 27, 2015), dismissed pursuant to

Fed. R. App. P. 42(b); and Trading Techs. Int’l, Inc. v. Rosenthal Collins Grp,

LLC, Appeal No. 16-2223 (October 11, 2016), before Circuit Judges Newman,

Lourie, and Clevenger, Trading Techs. Int’l, Inc. v. Rosenthal Collins Grp., LLC,

669 F. App’x 568, 569 (Fed. Cir. 2016).

      In the OEC decision, this Court considered, among other things, the ’411

patent at issue in this appeal. Specifically, this Court considered the written

description of the ’411 patent and described “key aspects of the disclosed

displays.” OEC, 728 F.3d at 1313. In holding that the district court erred in

finding the ’411 patent invalid, this Court found that the construction of a certain

claim term (i.e., “static”) in the ’132 and ’304 patents addressed in Trading Techs.

Int’l, Inc. v. eSpeed, 595 F.3d 1340 (Fed. Cir. 2010) did not control the written

description issue for the claims of the ’411 patent, which do not recite “static.” Id.

at 1319-20.


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      Additional appeals involving the same patents at issue in this appeal were

also previously before this Court. On January 18, 2017, this Court heard an appeal

involving the ’132 and ’304 patents in Appeal No. 2016-1616. Trading Techs.

Int’l, Inc. v. CQG, Inc. (CQG), 675 F. App’x 1001 (Fed. Cir. 2017) This Court

(Circuit Judges Newman, O’Malley, and Wallach) affirmed the district court’s

ruling that the ’132 and ’304 patent claims recite patent-eligible subject matter

under 35 U.S.C. § 101. Similarly, on February 13, 2019, and as part of this case,

this Court heard an appeal involving the ’132, ’304, ’996, and ’411 patents in

Appeal No. 2017-1732. IBG LLC v. Trading Techs. Int’l, Inc. (IBG), 757 F. App’x

1004 (Fed. Cir. 2019). This Court (Circuit Judges Lourie, Moore, and Reyna)

analyzed the inventions in all four patents and held that all four patents are for

technological inventions (i.e., they solve a technical problem with a technical

solution), and not subject to CBM review.

      Counsel is aware of no other cases pending in this or any other court or

agency that will directly affect or be directly affected by this court’s decision in the

pending appeal.




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                        JURISDICTIONAL STATEMENT

      The United States District Court for the Northern District of Illinois had

jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338(a) because the action

arose under the U.S. patent laws.

      This Court has exclusive jurisdiction over this appeal under 28 U.S.C. §

1295(a)(l) because this appeal is from a final decision of a U.S. district court in a

civil action arising under an Act of Congress relating to patents. Specifically, this

appeal is from a final judgment, which disposed of all parties’ claims, and was

entered on September 7, 2021, and amended on January 11, 2022. Appx1-2. After

the district court entered its order denying the motion for a new trial on February

22, 2022, the Notice of Appeal was timely filed under 28 U.S.C. § 2107 and Fed.

R. App. P. 4(a) on March 24, 2022. Appx29-45; Appx103668-103670.




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                          STATEMENT OF THE ISSUES

      1.     Whether the district court erred in granting summary judgment that

the ’411 and ’996 patents are not patent eligible under 35 U.S.C. § 101 where this

Court previously held in IBG that the ’411 and ’996 patents are for technological

inventions because they each solve a technical problem identified in the

specification using a technical solution?

      2.     Whether the district court erred as a matter of law by finding that

foreseeable foreign damages are not legally compensable under § 271(a) where the

Supreme Court in WesternGeco has already held that foreseeable foreign damages

are legally compensable under § 271(f)(2)?

      3.     Whether the District Court abused its discretion by denying TT’s1

motion for “a new trial on damages and related requests all based on a finding of

an attempt to commit fraud by defendant”?




1
  Plaintiff-appellant in this case is referred to as “Trading Technologies” or “TT”
when referring to the plaintiff-appellant in the past tense (prior to the recent sale of
TT, which is described below) or alternatively “Brumfield Trustee” when referring
to plaintiff-appellant in the present tense (after the sale of TT).
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                   STATEMENT OF THE CASE AND FACTS

I.    THE CLAIMS OF THE ’411, ’996, ’132, AND ’304 PATENTS
      ARE DIRECTED TO A TECHNOLOGICAL INVENTION

      The Brumfield Trust owns the ’411, ’996, ’132, and ’304 patents.

Appx1747; Appx405; Appx3023; Appx2461. They all share the same

specification. Appx82526; Appx83646. The claims of the ’132 and ’304 patents

both recite a “static” price axis, which was construed in eSpeed to mean that the

price axis cannot move unless moved manually. Appx64894. The ’132 and ’304

patents were before this Court in CQG, which held these two patents are patent

eligible under 35 U.S.C. § 101. 675 F. App’x at 1004. In addition to a “static”

price axis, the claims of the ’132 and ’304 patents also recite, among other things,

movement of the market relative to the static price axis in combination with single

action order entry. Appx1760-1761; Appx418.

      Like the ’132/’304 patents, the ’411/’996 patents also recite a price axis and

movement of the market relative to a price axis in combination with single action

order entry. Appx2478; Appx3040-3041. This is explained below. The only

difference between the ’411/’996 patents and the ’132/’304 patents relevant to this

appeal is that the former do not recite a “static” price axis as construed in the

’132/’304 patents. Appx92821. For instance, the ’411 patent merely recites a

“price axis.” And although the ’996 patent recites a “static” price axis, “static” in

the ’996 patent claims was construed by the district court below (based on the

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intrinsic evidence) to be broader than “static” in the ’132/’304 patents (i.e., “static’

in the claims of the ’996 patent is not limited to only manual repositioning of the

price axis like “static” is in the ’132/’304 patents.). Appx64894-64897. As this

Court has already found, however, the “static” limitation (as construed in the

’132/’304 patents) is not a “meaningful difference” for purposes of whether the

patents solve technical problems with prior art GUIs. IBG, 757 F. App’x at 1008.

      A.     The Prior Art GUIs Had Technical Problems

      At the time of the invention, there was a conventional wisdom regarding the

design of order entry GUIs. Appx66653; Appx66558-66559; Appx66580

Appx66566; Appx66561-66563. Specifically, conventional screens for electronic

order entry were dynamic order entry screens. Appx66559; Appx66562-66563;

Appx66948-66967; Appx66869. Figure 2 of the ’411 patent (with annotations

below) depicts an example of a dynamic order entry screen. Appx66559. On

numerous occasions, this Court has considered this Figure 2-style prior art GUI

and found that its construction created a technical problem, as set forth below. [cite

to IBG, CQG].

      This dynamic GUI always displayed the best bid/ask prices (called the

“inside market”) in fixed locations on the screen (e.g., the same cell) and users

could enter orders by clicking directly on a displayed price. Appx66559-66560;

Appx82201-82205.


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This order entry GUI was widely accepted for rapid order entry. Appx66558-

66559; Appx66566; Appx66563. Inventor Brumfield noticed that the construction

of the conventional, Figure 2-style GUIs caused him a significant problem: it

caused him to enter orders at incorrect (i.e., unintended) prices. Appx66563-

66565; see also IBG, 757 F. App’x at 1007; CQG, 675 F. App’x at 1002-03;

Appx66527.

      This accuracy problem is depicted below. At Time 1, Brumfield intends to

get the price of 111175. However, because the best bid and best ask are always

displayed in the same location, the intended price of 111175 unpredictably changes

on the GUI just before he clicks on it. He misses his intended price, sending an

order message at the higher price of 111180 (Time 2). Appx66565.




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The above example illustrates just one price change before the user clicks. In this

Figure 2-style screen, the prices associated with the inside market change each and

every time the market changes. In fact, the screen is designed to change the prices

every time the market changes due to the location of inside market being in a fixed

location on the screen. The problem identified above was created solely by the

design of the screen, not by the trader being too slow to act.

      The structure of the Figure 2-style screen had another problem—it made it

difficult for traders to ascertain the direction of the market movement.

Appx66566; Appx6675; Appx66577. This is because the screen was designed such



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that prices constantly changed positions (“flipped”) and did not provide

visualization of ascending and descending market movements. Appx66564.

        B.    Brumfield Addressed These Problems with His Inventive
              GUI Tool

        Brumfield overcame the problems experienced by prior screens by inventing

a GUI tool that combined a dynamic display of bid and ask indicators that move

relative to a price axis and an order entry region with locations corresponding to

levels along the price axis, where each location of the order entry region is

constructed to receive single action commands of a user input device (e.g., single-

click of a mouse) to both set a price and send a trade order message with a default

quantity to an electronic exchange. Appx66567.

        While in the Figure 2-sytle screen the prices associated with the order entry

locations change every time the market changes--this is not the case with

Brumfield’s invention, where the prices do not change every time the market

changes, which is depicted below in Figures 3 and 4 of the ‘411 patent (with

annotations). As shown in these Figures, the market changed (i.e., moved upward)

but the prices did not move. Specifically, while the indicators of the inside market

moved upward relative to the price axis, the prices along the price axis did not

move:




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Appx3030-3031; see also Appx66567; Appx66575-66576; Appx82222-82227;

Appx3038-3039.

      The invention ran contrary to accepted GUI design at the time of the

invention. Appx66574-66576; Appx66558-66568; Appx66653. Much like

allowing an artificial horizon indicator in a cockpit display to move on the screen

would be rejected, so too was allowing the inside market to leave a fixed location

(as it was displayed in the Figure 2-style screen) such that a trader had to “chase”

the inside market. Appx66552-Appx66553; Appx66556; Appx66574-66576.

Likewise, the invention went against conventional wisdom by displaying prices

even when no orders are present, unlike the Figure 2-style screen that only displays
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prices when there are orders present at those prices. Displaying prices without

orders (as provided in the invention) ran counter to conventional wisdom because

it occupied valuable screen real estate. In other words, the price axis of the

claimed invention (that displays price levels even with no orders present) requires

more screen space than the Figure 2-style GUI that only displays prices with

orders. Appx66561-66562; Appx66574-66576; Appx66580; Appx66653-66654;

Appx66846; Appx66852; Appx66856; Appx66862; Appx66867; Appx66894;

Appx66924-66927.

      Even though the invention went against the conventional wisdom of the

Figure 2-style GUI, the invention’s relative movement addressed accuracy

problems. Appx66575; Appx66587-66589; Appx66648; Appx66652-66653.

Specifically, in Figure 2-style GUIs, every time a user enters an order (via a single

action) at the moment of a market change (which occurs unpredictably and

frequently), she will enter an order at an unintended price (i.e., she will miss her

intended price). Appx66563-66565. That is, because the location of the inside

market was fixed on the screen, as the market changed, prices would change

positions or “flip” in the price cells. Id. In this prior Figure 2-style screen, every

time the user clicks to enter an order at the moment of an inside market change, the

user will send an order at an unintended price due to the inside market prices

changing positions or “flipping” in the price cells. Id.

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      The invention provides a new structure and function for an order entry tool

that addresses this problem. As shown in Figures 3 and 4, above, when the market

changed (i.e., the inside market moved upwards), the prices did not (i.e., the prices

did not change positions or “flip” in the price cells when the market changed),

creating an improved GUI tool as compared to the Figure 2-style GUI.

Appx66574-66576; Appx66648. In other words, with the Figure 2-style GUI, the

prices change positions or “flip” in the price cells every time the market changes,

whereas in the invention that is not that case, namely, the prices do not change

positions every time there is a change in the market, as shown in Figures 3 and 4.

This explains why Figures 3 and 4 show movement of the best bid/ask indicators

of the inside market relative to the price axis. That is, because the invention keeps

the price levels in the same location at the moment of at least one market change,

the best bid/ask indicators of the inside market move relative to the price axis. As

such, the invention improves the price accuracy over the Figure 2-style GUI.

Appx66574-66576; Appx66648; Appx66527; Appx66894; Appx66872;

Appx66884-66886; Appx66893-66894.

      The invention also provides the user with a visualization of market changes.

Specifically, the invention enabled users to see the movement of the inside market

(due the inside market indicators moving along a price axis), which was an

improvement over the Figure 2-style screen. Appx66577; Appx3038. The Figure

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2-style screens provide no such relative movement of the best bid/ask indicators of

the inside market. Rather the Figure 2-style screen fixes the location of such

indicators in designated locations on the screen. This Court has recognized that the

’411 patent’s claimed relative movement provides visualization improvements

over the prior art:

             According to the [’411] patent[], traders able to view and
             quickly appreciate such detailed market data can more
             readily identify (and capitalize upon) developing trends in
             an active market. To that end, the disclosed graphical user
             interfaces offer a logical and intuitive means to convey
             dynamic market information using bid, ask, and inside
             market indicators that visually track ongoing price
             fluctuations along the price column.

OEC, 728 F.3d at 1313-14 (citation omitted); see also Trading Techs. Int’l, Inc. v.

eSpeed, Inc., 595 F.3d 1340, 1347 (Fed. Cir. 2010) (referring to Figures 3 and 4 as

providing “numerous advantages over the prior art” including allowing users to

“visually follow the market movement as the inside market shifts up and down

along the price column”). This benefit was not provided by the prior Figure 2-style

GUIs, which do not permit the user to visually follow the market movements

shifting up and down along a price axis because the inside market is always located

in the same location and the prices change positions (or “flip”) in the cells every

time there is a change in the market.

      Ultimately, the invention’s benefits far outweighed the disadvantages.

Appx66568-66576; Appx66580; Appx66656-66790; Appx3038; Appx67037;

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Appx67060; Appx66877-66946. Prior to the invention, the industry failed to

recognize problems with the prior art. Appx66973; Appx66980; Appx66881;

Appx66884; Appx66894; Appx66915; Appx66983; Appx66994; Appx67009;

Appx67021; Appx67028. The invention changed the industry and spawned a

whole new arena of innovation when it was introduced. Appx66567; Appx67034.

The invention was the reason for the significant success Brumfield experienced in

his cumulative trading results during the time that he was trading with the

consulting software embodying the invention. Appx67076; Appx67069;

Appx67043; Appx66915; Appx66577-66580. Moreover, the invention received

extensive accolades, Appx66579-66581; Appx66586-66589; Appx82241-82246;

Appx67078-67087; Appx67097; Appx67092; Appx67106-67107; Appx67115;

Appx67166, and within just a few years following the introduction of the

commercial embodiment of the invention, TT’s sales increased by almost ten-fold.

Appx67198-67201; Appx66580-66581; Appx66590-66593; Appx67208;

Appx67225; Appx67229. As recognized by this Court during oral argument in

IBG, the amount of objective evidence of non-obviousness for the claimed

invention was among the highest ever presented by a patent owner. Recording of

Oral Argument at 21:13, Trading Techs. Int’l, Inc. v. IBG LLC, No. 2017-2054

(argued Feb. 7, 2019), available at

http://oralarguments.cafc.uscourts.gov/default.aspx?fl=2017-2054.mp3 (Judge

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Moore stating “they had a lot of objective evidence, or indicia. A lot. . . . This is,

it’s really up there. It’s, it’s among the cases with the most, largest amount of

objective indicia of non-obviousness that I’ve ever seen. It’s a lot”). IB’s counsel

agreed, stating “[i]t is a lot.” Id. The industry also recognized that the claimed

invention was a technological improvement over prior art GUI tools. Appx66649;

Appx66590-66594; Appx67207; Appx67260; Appx67264-67269; Appx66877;

Appx66897; Appx66906; Appx66911-66912; Appx66914-66917; Appx67025-

67026; Appx67234-67249; Appx64254-64255; Appx67270-67274; Appx66874-

66875; Appx67280-67282; Appx67289; Appx67313-67315. Rather than being

well understood, routine, or conventional, Appx66648; Appx66653; Appx66629-

66630; Appx66595-66644, numerous experts testified to the technical nature of the

invention. Appx66817; Appx66822-66823; Appx66827; Appx66829; Appx66832;

Appx66836; Appx66842. At the time of the invention, numerous industry groups

invested substantially in creating and providing GUI tools for electronic trading,

including IB, but no one arrived at the claimed inventions. Appx66552-66554;

Appx66556-66558. And even after the invention was introduced, it was met with

widespread industry skepticism. Appx66581-66586; Appx66645-66647;

Appx67072-67073; Appx66852-66853; Appx67318; Appx67324-67325;

Appx67329-67335; Appx67097-67100; Appx66916-66917; Appx66881-66882;

Appx66924-66925; Appx66889-66890; Appx66874-66875.

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      C.     This Court in CQG Held That the ’304 and ’132 Patents Are
             Not Abstract

      The district court in CQG held that the closely related ’304 and ’132 patents

were patent eligible under both prongs of Alice. Trading Techs. Int’l, Inc. v. CQG,

Inc., No. 05-CV-4811, 2015 WL 774655, at *5 (N.D. Ill. Feb. 24, 2015).

Specifically, the district court concluded that “the claims at issue in both patents

profess to solve problems of prior graphical user interface devices (GUIs), in the

context of computerized trading, relating to speed, accuracy and usability.” Id. at

*4.

      This Court affirmed that decision, finding the ’304 and ’132 patents eligible

under Alice, and made findings that confirm that the claims of the ’304 and ’132

patents solve the technical problem identified in the specification using a technical

solution. CQG, 675 F. App’x at 1006. This Court noted that the district court

“explained that the challenged patents do not simply claim displaying information

on a graphical user interface. The claims require a specific, structured, graphical

user interface paired with a prescribed functionality directly related to the graphical

user interface’s structure that is addressed to and solves a specifically identified

problem in the prior state of the art.” Id. at 1004. In affirming the district court’s

decision, this Court held: “[t]he district court’s rulings are in accord with

precedent. Precedent has recognized that specific technologic modifications to

solve a problem or improve the functioning of a known system generally produce

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patent-eligible subject matter.” Id. at 1004-05 (analogizing the claimed invention

here to those of prior Federal Circuit decisions).

      This Court concluded, after noting that there was no dispute the ’304 and

’132 inventions are an improvement to the accuracy of prior software, that: “the

claimed subject matter is directed to a specific improvement to the way computers

operate, for the claimed graphical user interface method imparts a specific

functionality to a trading system directed to a specific implementation of a solution

to a problem in the software arts.” Id. at 1006 (citations and quotations omitted).

      D.     In IBG, this Court Correctly Found That Each of the ’411,
             ’996, ’132, and ’304 Patents Are for a Technological
             Invention Because They Each Solve a Technical Problem
             with a Technical Solution

      In IBG, this Court found that each of the ’411, ’996, ’132, and ’304 patents

claim a technological invention. 757 F. App’x at 1007-08. Like in CQG, this

Court in IBG pointed to the specification’s identification of a “technical problem

with prior GUIs” like Figure 2 of the patents in which “the inside market remains

stationary.” Id. at 1007. As the IBG Court explained:

             [A] trader might intend to click on a particular price but,
             between the time he decides to do so and the time he
             actually clicks (which may be only hundredths of a
             second), the price may change. He may not be able to stop
             the downward motion of his finger and the order would be
             sent to market at an incorrect or undesired price.




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Id. (alteration in original) (quoting Appx66527). The Court then found that the

“patents at issue [’411, ’996, ’132, and ’304 patents] solve[] this problem ‘by

displaying market depth on a vertical or horizontal plane, which fluctuates

logically up or down, left or right across the plane as the market fluctuates.’” Id.

(quoting Appx415).

      IBG held that the ’132 and ’304 patents recite a “technological invention

under any reasonable meaning of that term.” Id. at 1008 (quotations omitted).

And significantly, IBG correctly held that there are “no meaningful difference[s]”

between the claims of the ’132 and ’304 patents and the claims of the ’411 and

’996 patents regarding the technological invention question. Id. As set forth

below, patents that solve a technical problem with a technical solution are, by

definition, not abstract and are eligible under § 101.

      E.     The District Court Held That the ’411/’996 Patents Were
             Ineligible Under 35 U.S.C. §101

      TT moved for summary judgment that the ’411, ’996, ’132, and ’304 are

eligible as a matter of law. The district court agreed that the ’132 and ’304 patents

are patent eligible based on this Court’s decision in CQG. Appx92818-92820.

However, the district court found that the ’411 and ’996 patents are not eligible

under either step of Alice. Appx92820-92823.

      Regarding step 1, the district court found that that claims of the ’411/’996

patents do not solve the technical problem set forth in the specification because

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they do not recite a “static” price axis. Appx92821. While the district court

acknowledged that this Court found in IBG that the claims of the ’411/’996 patents

are for technological inventions because they provide a technical solution to the

technical problem set forth in the specification, the district court failed to apply

IBG based on its incorrect view that IBG was not pertinent to § 101 eligibility.

Appx92822. Instead, the district court relied on other § 101 cases from this Court

dealing with different TT patents having claims that are different than the claims at

issue here. Appx92822.

      Regarding step two, the district court found that the claims of the ’411/’996

patents did not recite an inventive concept, again pointing to the “static” limitation.

Appx92823. According to the district court, the ’411/’996 inventions “merely

claim[s] a rearrangement of market information known to be displayed in a

different format” and that this “rearrangement” does not solve a technical problem,

even though in IBG this Court found the exact opposite, namely, that the claims of

the’411/’996 patent do recite a technical solution to the technical problem

identified in the specification. Compare Appx92823, with IBG, 757 F. App’x at

1007-08. In making this finding, the district court ignored a multitude of record

evidence concerning the unconventional nature of the claimed invention. Compare

Appx92823, with Appx66492-66498.




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II.   THE DISTRICT COURT HELD THAT FORESEEABLE
      FOREIGN DAMAGES WERE NOT COMPENSABLE AS A
      MATTER OF LAW

      TT’s damages expert, Catharine Lawton, submitted her expert report on

March 16, 2020. Appx87399-87967. In her report, she opined that TT was

entitled to foreign damages based on IB’s foreseeable distributions abroad.

Appx87503; Appx87852-87854. Specifically, she concluded that, because IB

makes the accused product in the United States in order to provide it to customers

around the world, IB’s harm extends to its “worldwide revenue which was both

intended and foreseeable and the but-for result” of IB making the accused product

in the United States. Id.

      IB moved to exclude Ms. Lawton’s damages opinions on November 5, 2020.

Appx85127-85150. IB argued that Ms. Lawton’s foreign damages theory, which

was premised on infringing conduct under Section 271(a) of the Patent Act, was

“contrary to CAFC precedent,” under Power Integrations, and must be excluded.

Id. at 15. In opposition to IB’s motion to exclude, TT argued that Power

Integrations had effectively been overruled by the Supreme Court in WesternGeco,

which held that patentees may recover foreign damages under Section 271(f)(2) of

the Patent Act. TT argued that “the only aspect of § 271(f)(2) relevant to the

Supreme Court’s analysis is that it addresses U.S. conduct,” and since “[a]ll

provisions of 35 U.S.C. § 271 regulate U.S. conduct,” WesternGeco must apply


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“equally throughout § 271.” Appx88408. Because IB’s infringing acts occurred

under § 271(a), and because the reasoning in WesternGeco applies equally to §

271(a), TT argued that the district court should deny IB’s motion to exclude Ms.

Lawton’s testimony. Id.

       The district court agreed with IB and held that Ms. Lawton’s “inclusion of

foreign users in her royalty base premised on a theory of foreseeable foreign

consequences of infringement is premised on a misapplication of controlling law.”

Appx19. Specifically, the court found that it was bound to follow the Federal

Circuit’s decision in Power Integrations because the Supreme Court and Federal

Circuit have not yet expressly held that WesternGeco overruled Power

Integrations. Id. As explained below, however, the district court’s ruling was

incorrect as a matter of law as it was contrary to the reasoning in WesternGeco.

This Court should reverse the district court’s exclusion of Ms. Lawton’s testimony

and remand for a new trial on damages.

III.   AFTER A MONTH-LONG JURY TRIAL IN THIS PATENT
       LAWSUIT, PLAINTIFF WON VALIDITY AND
       INFRINGEMENT, BUT LOST DAMAGES. PLAINTIFF HAD
       ASKED FOR $962 MILLION, DEFENDANT HAD PROPOSED
       $3.3 MILLION, AND THE JURY AWARDED $6.6 MILLION.
       PLAINTIFF UNCOVERED EVIDENCE POST-TRIAL THAT
       DEFENDANT GROSSLY MISREPRESENTED ITS
       INFRINGEMENT DATA, RENDERING THE JURY’S
       VERDICT UNSUPPORTABLE. PLAINTIFF FILED A
       MOTION WITH THE DISTRICT COURT REQUESTING “A
       NEW TRIAL ON DAMAGES AND RELATED REQUESTS
       ALL BASED ON A FINDING OF AN ATTEMPT TO COMMIT
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      FRAUD BY DEFENDANT”, WHICH THE DISTRICT COURT
      DENIED.

      TT was the original plaintiff in this patent lawsuit against Interactive

Brokers (IB), which was filed in February 2010. Appx57202. Harris Brumfield

was the primary investor in TT and the majority shareholder of TT for 20+ years

until its sale to 7RIDGE, Cboe, and SGX, which closed on December 21, 2021.

Appx103656. Mr. Brumfield was also CEO of TT from 2003–2014 and Chairman

of the Board from 2014–2018.


      The patents asserted in this lawsuit are no longer owned by TT.

Appx103656. They were spun out into a trust named Ascent Trust in conjunction

with the aforementioned sale of TT. Id. The beneficiaries of Ascent Trust are the

former shareholders of TT, of which Mr. Brumfield makes up 51%, one thousand

current and former employees make up 40%, and three other investors make up

9%. Mr. Brumfield is the sole trustee of the Ascent Trust. Id. Accordingly, Mr.

Brumfield on behalf of Ascent Trust was substituted for TT in this patent case

against IB. Appx103482.


      After a month-long jury trial (August 9, 2021–September 7, 2021) in this

patent lawsuit, the jury returned the following verdict:


          Validity of patents in plaintiff’s favor


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            Infringement of patents in plaintiff’s favor, with an infringement

              period of August 2004–January 2021


            Damages of $6,610,985 in defendant’s favor, as plaintiff asked for

              $962,440,850, while defendant proposed $3,305,493


            No willful infringement in defendant’s favor.


Appx93218-93227.


      TT uncovered evidence post-trial that defendant grossly misrepresented its

infringement data, rendering the jury’s verdict unsupportable. TT filed a motion

with the district court requesting “a new trial on damages and related requests all

based on a finding of an attempt to commit fraud by the defendant.” The district

court denied this motion.


      A.      The Key Folks From IB In This Case

      Thomas Peterffy is the founder of IB, the Chairman of the Board at IB, the

Head of Sales and Marketing at IB, and he owns 70% of IB. Appx101071;

Appx101074. Mr. Peterffy is also the Corporate Representative for IB in this

litigation. Mr. Peterffy was also CEO up until 2019. Id.


      Milan Galik is CEO and President of IB and a member of IB’s Board of

Directors. Appx101322; Appx101331. Mr. Galik has been CEO since 2019 and

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President since 2014. Id. Mr. Galik was also Senior Vice President of Software

Development from 2003–2014. Appx101248.


      Dennis Stetsenko is the engineering manager responsible for customer

facing applications at IB and he reports directly to Mr. Galik. Appx101692-

101693. Mr. Stetsenko joined IB as a software developer in 2004. Id.


      B.     IB’s BookTrader Tool Is The Tool Accused Of
             Infringement

      IB offers two graphical user interfaces (GUIs) for Trader Workstation

(TWS), TWS Classic (Classic) and TWS Mosaic (Mosaic). Appx103650. Classic

was launched in 1995. Id. Mosaic was launched in 2012 and became the default

version for TWS in 2014. Id. BookTrader is one of the many tools offered in

Classic and Mosaic, and it is the tool accused of infringement in this case. Id.

      For clarity, whenever we speak of a tool that “submits” orders, we are

talking about “submitting” (sending) an order to the exchange.

      IB excludes Socket (aka TWS API) when they measure the market share of

tools by trades in TWS. Mr. Reed, IB’s damages expert, lays this out in his expert

report. Appx85222-85225. We follow IB’s lead and drop Socket when

considering market share of tools by trades in TWS.




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      C.     The Data

      The patent claims in this case are directed to a GUI order entry tool

comprised of locations along a static price axis designed to receive single action

commands to send (“submit”) electronic orders to the exchange. Appx103650.

      In light of the claims, an important aspect of this case has always been the

number of trades directly resulting from a user clicking along BookTrader’s static

price axis to submit an order to the exchange. The damages theory on which IB

prevailed was multiplying an asserted reasonable royalty times that number of

trades.

      In discovery, IB produced 550+ “stats reports” that IB senior management

(including Mr. Peterffy, Mr. Galik, and Mr. Stetsenko), and software developers

who were involved with the development of TWS, received on a weekly basis

from June 2008–April 2019. Appx116269-116323. At trial, IB admitted these

“discovery stats reports” into evidence. We have provided the “discovery stats

report” for the week of March 24-28, 2014. Appx116269-116323.

      At trial, for the first time, IB “made for presentation” a few of these

“discovery stats reports”, including “making for presentation” the “discovery stats

report” for the week of March 24-28, 2014, in two forms, and admitted these

“made-for-presentation stats reports” into evidence. One of the “made-for-




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presentation stats reports” for the week of March 24-28, 2014, was displayed as

part of Exhibit DDX7-12. Appx133372.

      At trial, for the first time, Mr. Galik presented the order entry tools that were

available in TWS in 2006, 2009, and 2013. Appx133374. There were 38 order

entry tools listed in 2013. Appx101601-102602; Appx94682.

      The “made-for-presentation stats report” for the week of March 24-28, 2014,

identifies for each of the 38 tools in TWS, the number of orders “submitted”. See

Appx133372. The stats report also identifies “trades” as “filled.” Also, “Order

Originator” is the term IB uses to label the 38 tools for order tagging purposes.

      When we check the 550+ “discovery stats reports”, they reportedly show

that BookTrader was only responsible for submitting 4.08% of the TWS trades

from June 2008–April 2019. See Appx105512-132652. Our trading domain folks

have always been adamant that this percentage was utter nonsense. Appx93494

(Peter Spiro email stating “99% of TWS orders come from main trading window,

BookTrader, OptionTrader, BasketTrader, or API”).




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                        SUMMARY OF THE ARGUMENT

I.    THE DISTRICT COURT ERRED IN GRANTING SUMMARY
      JUDGMENT THAT THE ’411 AND ’996 PATENTS ARE NOT
      PATENT ELIGIBLE

      This Court has already found that the claims of the ’411/’996 patents recite

technological inventions. IBG, 757 F. App’x at 1008. This finding resolves the

issue of § 101 in TT’s favor here. Claims that recite technological inventions by

solving a technical problem using a technical solution are, by definition, not

abstract under step 1 of Alice.


      The district court erred in granting summary judgment that the ’411/’996 are

not patent eligible under § 101 in four ways. First, even though the district court

acknowledged that IBG found that the ’411/’996 patents recited technological

inventions, it failed to rely on IBG to support a finding of § 101 eligibility because,

according to the district court, IBG dealt with the technological invention

exception to Covered Business Method (CBM) review and was not pertinent to

patent eligibility under § 101. Appx92822. This was wrong—it is pertinent. In

fact, IBG’s finding that the ’411/’996 patents recite technological inventions by

solving a technical problem with a technical solution establishes that the ’411/’996

patents are patent eligible under step 1 of Alice. Indeed, the district court itself

admitted that claims that solve a technical problem are patent eligible under step 1

of Alice: “claims that . . . solve a technological problem are patent eligible.”

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Appx92817. And even though the district court acknowledged that this Court has

already found in IBG that the ’411/’996 patents solve a technical problem, it

nonetheless erroneously concluded that the claims of the ’411/’996 patents are not

patent eligible. Not surprisingly, there has never been a case—and the district

court cites none—finding an invention that solves a technical problem with a

technical solution to be an abstract idea under § 101. In fact, as detailed below,

there have been numerous cases finding the exact opposite, namely, that claims

that solve a technical problem with a technical solution are patent eligible, all of

which the district court ignored. Compare Appx70768-70769, with Appx92822.


      Second, the district court erred by not extending the reasoning of CQG to the

’411/’996 patents. In CQG, this Court found that the claims of the ’132/’304

patents recite technological improvements that are eligible under both steps of

Alice. 675 F. App’x at 1004. The claims of the ’132/’304 patents are virtually

identical to the claims of the ’411/’996 patents, with the one exception being that

the claims of the ’132/’304 patents are limited to a “static” price axis, where the

claims of the ’411/’996 patents are not. Appx64893-64897. The district court

reasoned that because the ’411/’996 patents do not recite a “static” price axis as

found in the claims of the ’132/’304 patents, the eligibility finding in CQG cannot

apply to the ’411/’996 patents. Appx92821. The flaw in this reasoning is

highlighted in IBG, where this Court specifically found that “static” is irrelevant to

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the question of whether the ’411/’996 patents recite technological inventions.

Specifically, in IBG, this Court found that the ’132/’304/’411/’996 patents all

claim technological inventions regardless of the presence of “static” in the claims:

“we see no meaningful difference between the claimed subject matter of the ’132

and ’304 patents and that of the ’411 and ’996 patents for the purposes of the

technological invention question.” 757 F. App’x at 1008. In so holding, IBG

completely undercuts the district court’s ruling that the lack of “static” in the

claims of the ’411/’996 patents means that those patents are not patent eligible

under § 101. In sum, because this Court found in IBG that all four patents

(’132/’304/’411/’996) are for technological inventions regardless of the presence

of “static,” the reasoning in CQG as to why the ’132/’304 patents are eligible under

§ 101 should extend to the ’411/’996 patents.


      Third, instead of relying on IBG—the only case from this Court that actually

considered whether the ’411/’996 patents recite technological inventions—the

district court veered off course and looked at other § 101 decisions involving

different and unasserted patents. Appx92822. TT explains below why these

decisions are not pertinent. In short, these other decisions do not change the fact

that this Court already found in IBG that the ’411/’996 patents are directed to

technological inventions.



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      Finally, the district court erred in finding that the ’411/’996 patents do not

pass step two of Alice. Here, the district court found that the ’411/’996 inventions

did not recite an inventive concept based solely on the lack of a “static” price axis.

Specifically, it found that, because of the lack of “static,” the ’411/’996 inventions

“merely claim[] a rearrangement of market information known to be displayed in a

different format” and that this “rearrangement” does not solve a technical

problem). Appx92823. But in IBG this Court found the exact opposite, namely,

that the claims of the’411/’996 patent do recite a technical solution to the technical

problem identified in the specification. Compare Appx92823, with IBG, 757 F.

App’x at 1007-08. And significantly, this Court in IBG never relied on the “static”

limitation in determining whether the ’132/’304/’411/’966 patents recite a

technological invention, and thus “static” is not relevant to the patent eligibility

inquiry under § 101. See IBG, 757 F. App’x at 1007 (finding all four patents

solved the technical problem where a trader misses his “intended price” even

though “static” is not present in the ’411/’996 patents).


      The district court also erred on the step two analysis for one additional and

important reason. On summary judgment before the district court, TT presented

overwhelming evidence that the claims of the ’411/’996 patents were far from

“well understood, routine, or conventional” to a person skilled in the relevant field,

which demonstrates that the claims of the ’411/’996 patent recite an inventive

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concept under step two of Alice. Appx66491-66499. This evidence conflicted

with IB’s purported facts at step two, precluding summary judgment in IB’s favor.

II.   THE DISTRICT COURT ERRED IN PRECLUDING FOREIGN
      DAMAGES

      The district court also erred by finding that TT cannot recover damages

resulting from IB’s conduct abroad (“foreign damages”) that are the foreseeable

result of IB’s domestic acts of infringement under Section 271 (a). The Supreme

Court has already held that foreign damages are compensable under a different

section of the Patent Act—Section 271(f)(2). WesternGeco LLC v. ION

Geophysical Corp., 138 S. Ct. 2129, 2134 (2018). The Supreme Court’s

reasoning, which concluded that Section 271(f)(2) has a domestic focus, applies

equally to Section 271(a), which has even more of a domestic focus, specifically,

the act of making, using, offering to sell, or selling “within the United States.”

      Rather than apply the Supreme Court’s reasoning to Section 271(a),

however, the district court found that it was compelled to follow prior precedent

from this Court, even though WesternGeco undercut the reasoning underlying that

prior precedent in such a way that the cases are clearly irreconcilable. Appx19.

By refusing to recognize the Supreme Court’s WesternGeco decision as

controlling, the district court erred as a matter of law.




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III.   THE DISTRICT COURT ERRED BY DENYING TT’S
       MOTION FOR A NEW TRIAL BASED ON IB’S
       PRESENTATION OF FALSE TRIAL TESTIMONY

       In this case, IB had always represented that it was “solely tracking orders

and trades in TWS by what tools the orders are submitted from.” On November 9,

2021, when IB replied to our motion for “a new trial on damages, etc.”, it was

forced to admit that there are tools being attributed orders and trades that are not

capable of submitting orders.


       There has to be a major shift away from “tracking orders and trades by what

tools the orders are submitted from” to reconcile “an enormous discrepancy

between Accumulate/Distribute (1 of Mr. Galik’s “38 order entry tools from

2013”) and its trade volume.” Therefore, with this major shift, IB has grossly

misrepresented the BookTrader data to be something that it is not.


       Also, as a bonus, TT strongly believes that it knows “how IB is tracking

orders and trades”, which is “by what tools set the symbols for orders.”


       The district court’s opinion denying TT’s motion for “a new trial on

damages and related requests all based on a finding of an attempt to commit fraud

by IB” has several errors, including two critical errors. Therefore, its conclusion is

wrong, and the district court has abused its discretion.




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                            STANDARD OF REVIEW

      This Court reviews the district court’s § 101 ruling de novo. Apple, Inc. v.

Ameranth, Inc., 842 F.3d 1229, 1236 (Fed. Cir. 2016).

      This Court also reviews the question of whether certain types of damages are

legally compensable de novo. DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d 1293,

1308 (Fed. Cir. 2006) (citing Rite–Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538,

1544 (Fed. Cir. 1995)).

      This Court reviews the question of a district court’s ruling on discovery and

post-trial Rule 59/60 motion under the abuse of discretion. Louisville Bedding Co.

v. Pillowtex Corp., 455 F.3d 1377, 1379 (Fed. Cir. 2006) (“A district court's denial

of a motion under Federal Rule of Civil Procedure 60(b)(6) is not a procedural

issue unique to patent law, and thus we will apply the law of the regional circuit

court”); Z4 Techs., Inc. v. Microsoft Corp., 507 F.3d 1340, 1347 (Fed. Cir. 2007)

“[D]enial of a [Rule 59] motion for a new trial under regional circuit law.”); Zivitz

v. Greenberg, 279 F.3d 536, 539 (7th Cir. 2002); Dickerson v. Bd. of Educ. of Ford

Heights, Ill., 32 F.3d 1114, 1116 (7th Cir. 1994) (Seventh Circuit uses an abuse of

discretion standard of review of a Rule 60 denial.)




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                                   ARGUMENT

I.    THE DISTRICT COURT ERRED IN GRANTING SUMMARY
      JUDGMENT THAT THE ’411/’996 PATENTS ARE NOT
      PATENT ELIGIBLE UNDER § 101

      A.     This Court Has Already Found in IBG That the ’411/’996
             Patent Are for Technological Inventions, and Technological
             Inventions Are, by Definition, Not Abstract Under Step 1 of
             Alice

      There is no dispute that this Court has previously analyzed the claims of the

’411 and ’996 patents in IBG and found that these claims recite a technological

invention that solves a technical problem with a technical solution. IBG, 757 F.

App’x at 1007-08. Although the district court agreed that it “may (and should) rely

on nonprecedential opinions interpreting the same patent to ensure the uniform

treatment of that patent,” and even though the district court agreed that IBG found

that the ’411 and ’996 patents recited technological inventions, it failed to rely on

IBG to support a finding of § 101 eligibility because, according to the district

court, IBG dealt with the technological invention exception to CBM review and

“did not concern § 101 eligibility.” Appx92818-92819; Appx92822. Specifically,

the district court found that “[w]hile the inquiries under CBM review and § 101

eligibility are related, the IBG court’s decision does not dictate a finding of § 101

eligibility here.” Appx92822. This was error. These concepts are more than just

“related.” In fact, IBG’s finding that the ’411/’996 patents recite technological



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inventions by solving a technical problem with a technical solution dictates a

finding of § 101 eligibility under step one of Alice.

      This Court’s finding in IBG that the ’411/’996 patents are for technological

inventions controls the eligibility determination because claims that recite

technological inventions by solving a technical problem with a technical solution

are, by definition, not abstract ideas under step one of Alice. Indeed, the district

court itself admitted that claims that solve a technical problem are patent eligible

under step one of Alice: “[i]n the context of computer programs, claims that

improve the way a computer operates or solve a technological problem are patent

eligible.” Appx92817 (emphasis added).

      Not surprisingly, there has never been a case—and neither the district court

nor IB have cited any—finding an invention that solves a technical problem with a

technical solution to be an abstract idea under § 101. In fact, there have been

numerous cases finding the exact opposite, namely, that claims that solve a

technical problem with a technical solution are patent eligible. Ancora Techs., Inc.

v. HTC Am., Inc., 908 F.3d 1343, 1349 (Fed. Cir. 2018) (citing the PTAB’s

“technological invention” conclusion as persuasive under step one of Alice);

cxLoyalty, Inc. v. Maritz Holdings Inc., 986 F.3d 1367, 1378 (Fed. Cir. 2021) (“For

the reasons provided above, the claims are directed to an abstract idea, and they

implement the abstract idea using conventional techniques; the claims are not

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directed to a technological solution to a technological problem.”); Sophos Inc. v.

Rpost Holdings, Inc., No. 13-12856-DJC, 2016 WL 3149649, at *12 n.6 (D. Mass.

June 3, 2016) (finding the fact that the PTAB “denied petitions to institute covered

business method patent reviews . . . tends to support [the eligibility] conclusion”

because “covered business method patent reviews cannot be conducted on patents

for technological inventions”); United Servs. Auto. Ass’n v. Wells Fargo Bank,

N.A., 414 F. Supp. 3d 947, 953 (E.D. Tex. 2019) (“The Court agrees with the

PTAB that the Asserted Claims are directed at a technical solution to address a

technical problem . . . . The Court, therefore, concludes that the Asserted Claims

are eligible for patent protection under step one of Alice.” (quotations and

alterations omitted)).

      In addition, the case law is clear that claims that provide a technical solution

to a technical problem to “improve” the relevant technology are patent eligible.

Appx92817 (emphasis added); Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,

880 F.3d 1356, 1363 (Fed. Cir. 2018) (upholding claims that “recite a specific

improvement over prior systems, resulting in an improved user interface for

electronic devices”); Data Engine Techs. LLC v. Google LLC, 906 F.3d 999, 1009

(Fed. Cir. 2018) (finding claim recited a specific and particular “manner of

navigating a three-dimensional spreadsheet that improves the efficient functioning

of computers.”).

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      Neither the district court nor IB has cited a single case holding that the

technological invention question is not instructive to the eligibility determination.

This Court’s finding that the ’411/’996 patent claims recite a technological

invention resolves that the claims of the ’411/’996 patents are patent eligible.

      B.     The District Court Erred by Not Extending the Reasoning
             of CQG to the ’411 and ’996 Patents

             1.     This Court Has Already Found in CQG That the
                    Closely Related ’132/’304 Patents Are Eligible

      In CQG, this Court found that the claims of the ’132/’304 patents recite

specific technological improvements in computer capabilities that are eligible

under both steps of Alice. 675 F. App’x at 1006. Specifically, this Court agreed

with the district court that the claims “solve problems of prior graphical user

interface devices in the context of computerized trading relating to speed, accuracy

and usability.” Id. at 1004 (quotations and alterations omitted).

             2.     The District Court Erred in Finding That the Claims
                    of the ’411/’996 Patents Are Different than the Claims
                    of the ’132/’304 Patents for Purposes of Patent
                    Eligibility

      The claims of the ’132/’304 patents are virtually identical to the claims of

the ’411/’996 patents, with the one exception being that the claims of the ’132/’304

patents are limited to a “static” price axis, where the claims of the ’411/’996




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patents are not.2 Indeed, the only difference between the claims of the ’132/’304

patents and the claims of the ’411/’996 patents identified by the district court is the

lack of “static” in the ’411/’996 patents. Appx92821. The district court reasoned

that because the ’411/’996 patents do not recite a “static” price axis like the claims

of the ’132/’304 patents, the eligibility finding in CQG cannot apply to the

’411/’996 patents. Appx92821. The flaw in this reasoning is highlighted in IBG,

where despite IB’s repeated attempts to argue otherwise, this Court specifically

found that “static” is irrelevant to the question of whether the ’411/’996 patents

recite technological inventions. See infra Section I.B.2.b. In short, because this

Court found in IBG that all four patents (’132/’304/’411/’996) are for technological

inventions regardless of the presence of “static,” the reasoning in CQG as to why

the ’132/’304 patents are eligible under § 101 should extend to the ’411 and ’996

patents.

                    a)     The Court Has Already Found in IBG That
                           There Is “No Meaningful Difference” Between
                           the Claims of the ’132/’304 Patents and the




      2
         As explained above, the ’411 patent claims do not recite “static,” and the
“static” in the ’996 patent claims was properly construed by the district court to be
broader than “static” in the ’132/’304 patents (i.e., “static’ in the claims of the ’996
patent is not limited to only manual repositioning of the price axis like “static” as
in the ’132/’304 patents.). Appx64893-64897.
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                           Claims of the ’411/’996 in That They All Recite
                           Technological Inventions

      In IBG, this Court specifically analyzed the claims of the

’132/’304/’411/’996 patents. 757 F. App’x at 1006-08. IBG started its analysis by

acknowledging this Court’s decision in CQG that the ’132/’304 patents provide a

technical solution to a technical problem and therefore are not abstract under §

101. Id. at 1007. Significantly, IBG then analyzed the claims of the ’411/’996

patents, finding that the ’132/’304/’411/’996 patents all claim technological

inventions regardless of the presence of “static” in the claims: “we see no

meaningful difference[s] between the claimed subject matter of the ’132 and ’304

patents and that of the ’411 and ’996 patents for the purposes of the technological

invention question.” Id. at 1008 (emphasis added). And as detailed below, this

finding came after this Court considered, and rejected, IB’s repeated attempts to

convince this Court that the lack of “static” in the ’411/’996 patents means that the

’411/’996 patents are not technological inventions. See infra Section I.B.2.b. This

Court’s express finding in IBG that the ’411/’996 patents are technological

inventions undercuts the district court’s finding that the lack of “static” in the

claims of the ’411/’996 patents means that those patents are not patent eligible

under § 101.




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                     b)       This Court in IBG Repeatedly Rejected IB’s
                              “Lack of Static” Argument That the District
                              Court Mistakenly Adopted

      In IBG, IB repeatedly argued to this Court that the lack of “static” in the

’411/’996 claims means that the ’411/’996 patents are not for technological

inventions. This argument was correctly rejected by this Court multiple times as

explained below. And yet, the district court wrongly hinged its decision to

invalidate the ’411/’996 patents on this “lack of static” argument.

      First, IB argued in its briefing in IBG that due to the lack of “static,” the

claims of the ’411/’996 patents did not provide a technical solution to the technical

problem described in the specification. Appx70920 (IB arguing “the claims do not

solve TT’s asserted problems because they do not require a “static” price axis).

This issue was also raised and discussed at oral argument, where Judge Reyna

understood that the lack of “static” in the claims of the ’411/’996 patents is

irrelevant:

               TT’s counsel: If you look at the ’411 claim . . . taking out
                             the word “static” doesn’t cast this claim into
                             the realm of abstractness. . . . [b]ecause the
                             ’411 claim has specific structure, make up,
                             and functionality. It has a price axis, it has
                             indicators . . .

               Judge Reyna: Doesn’t it, doesn’t it also function the same
                            way, even though it doesn’t recite a static
                            price index, I mean, it . . .

               TT’s counsel: . . . That’s exactly right.

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             Judge Reyna: . . . the functions are still there.

             TT’s counsel: The functions are still there. You have a
                           price axis, you have relative . . .

             Judge Reyna: And those functions are defined by the
                          claim.

             TT’s counsel: That’s right. You’ve got relative movement
                           of the indicators, you’ve got an order entry
                           region.

Oral Argument at 16:46, Trading Techs. Int’l, Inc. v. IBG LLC, No. 2017-2054

(argued Feb. 7, 2019), available at

http://oralarguments.cafc.uscourts.gov/default.aspx?fl=2017-2054.mp3. In its IBG

opinion, this Court rejected IB’s “static” argument, instead finding that “[t]he

claimed invention in the [’132/’304/’411/’996 patents] solves th[e] problem”

identified in the specification and that the ’411/’996 patents are for technological

inventions. 757 F. App’x at 1007-08.

      Second, IB re-raised its “lack of static” argument in its petition for

rehearing, seeking reconsideration of the IBG decision. IB argued that this Court

failed to consider “that the ’411 patent does not claim TT’s purported technical

solution and does not solve TT’s purported technical problem” because the “claims

do not require a static price axis.” Appx70925. Again, this Court considered IB’s

argument and for a second time, rejected it. Appx70933-70934 (denying petition

for rehearing).

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      C.     The Reasoning in IBG Was Correct--the Claims of the
             ’411/’996 Patents Provide a Technical Solution to the
             Technical Problem Even Without “Static”

      The claims of the ’411/’996 patents solve the technical problem with prior

art trading tools with a technical solution even without the “static” limitation. As

IBG pointed out, one conventional graphical user interface (“GUI”) for trading is

shown in Figure 2 of the specification. IBG, 757 F. App’x at 1007; Appx66558-

66560; Appx66566; Appx66563. As explained above, this Figure 2-style GUI

displayed the inside market (best bid price/best ask price) in a fixed location and

users entered orders by clicking directly on a displayed price in a cell.

Appx66558-66560; Appx82201-82205. Because the location of the inside market

was fixed on the screen, as the market changed, the prices associated with the

inside market would change or “flip” each and every time the market changed.

Appx66563-66565; see also IBG, 757 F. App’x at 1007. The user had no way of

knowing when this market change would occur. As IBG explained, this was a

“technical problem” with this type of prior GUI. 757 F. App’x at 1007 (alteration

omitted). In this prior art GUI, the prices changed or “flipped” every time there

was a change in the market, and thus if a user clicked to enter an order at the

moment of any one of these unpredictable market changes, she would not get her

intended price. Id.; Appx66563-66565.




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      This is not the case with the ’411/’996 patents—the prices do not change

positions every time there is a change in the market. As shown in Figures 3 and 4

of the specification above in Section I of the Statement of the Case and Facts,

when there is a market change reflected by the inside market moving upwards, the

prices did not change positions or “flip” in the price cells, thereby creating an

improved GUI tool as compared to Figure 2. Appx66575-66576; Appx82222-

82225. IBG correctly recognized and understood that the claims of the ’411/’996

provide this improvement over the Figure 2-style GUI by “displaying market depth

on a vertical or horizontal plane, which fluctuates logically up or down, left or

right across the plane as the market fluctuates.” 757 F. App’x at 1007 (internal

quotes omitted) (quoting ’132 patent at 6:65-7:2). Of course, the only way to see

the market fluctuating “logically up or down” is if the inside market moves relative

to prices that do not move, which is the case in both the ’411/’996 patents and the

’132/’304 patents. Again, this improved the accuracy over the Figure 2-style GUI

where the prices would change positions or “flip” every time the market changed,

and thus no relative movement was provided.

      The district court’s view that only a “static” price axis that never moves

(unless moved manually) can provide an improvement to the Figure 2-style screen

was wrong. Again, in the Figure 2-style screen, the prices change positions every

time the market changes. The ’132/’304 patents improve over this by ensuring that

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the prices do not change positions every time the market changes. Instead, in the

’132/’304 patents, when the market changes (by moving upwards for example), the

prices do not change positions. The same is true with the ’411/’996 patents—the

prices do not change positions every time the market changes. Rather, when the

market moves upward (for example), the prices do not change position. In other

words, in order to provide a GUI having market data that “fluctuates logically up

or down” as set for in the ’411/’996 patent claims as well as the ’132/’304 patent

claims, the price axis is not moving each and every time the market changes like in

the Figure-2 style screen. Thus, in the ’411/’996 patents as well as the ’132/’304

patents, the price axis is being kept still as compared to the Figure 2-style screen.

Both sets of patents are improvements to the accuracy problem in the Figure 2-

style screen and therefore both sets of patents are eligible under § 101.3

      The claims of the ’411/’996 patents also solved the lack of visualization

problem of the Figure 2-style screens. Appx66577; Appx3038. As this Court has

acknowledged repeatedly, the movement of the indicators of the inside market

along a price axis (relative movement) provides visualization improvements over

the prior art like Figure 2, in which there is no relative movement and thus no



3
  The slight difference between the ’132/’304 patents’ solution (a static price axis
with relative movement) versus the’411/’996 patents solution (price axis with
relative movement) may be relevant to infringement, but not the threshold patent
eligibility question under § 101.
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visualization of market movements. OEC, 728 F.3d at 1313-14; eSpeed, 595 F.3d

at 1347.

      D.     The District Erred by Relying on Different Cases Involving
             Different Patents Not at Issue Here

      Instead of relying on IBG—the only case from this Court that actually

considered whether the ’411/’996 patents are technological inventions—the district

court veered off course and looked at other § 101 decisions involving different,

unasserted patents. Appx92822. Then, with barely any analysis whatsoever, and

without any claim construction being performed by any court with respect to these

unasserted patents, the district court baldly concluded that the claims in the

unasserted patents are “nearly identical” to the claims of the ’411/’996 patents.

      The first of the unasserted patents, the ’382 patent, was invalidated in a

decision under Rule 36 of the Federal Circuit Rules and therefore contained no

analysis of the claims of the ’382 patent whatsoever, or how those claims

compared to the claims of the ’411/’996 patents. Trading Techs. Int’l, Inc. v. IBG

LLC, 771 F. App’x 493 (Fed. Cir. 2019).

      Likewise, in the decision involving the second unasserted patent, the ’768

patent, this Court found, in a single paragraph, that the ’768 patent was ineligible

because the patent claims focused “on improving the trader, not the functioning of

the computer.” Trading Techs. Int’l, Inc. v. IBG LLC, 767 F. App’x 1006, 1007

(Fed. Cir. 2019) (quotations omitted). But with respect to the patents at issue

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here—the ’411/’996 patents—this Court in IBG already found that these patents do

improve the functioning of the computer. 757 F. App’x at 1007-08 (agreeing that

the “the claimed subject matter is directed to a specific improvement to the way

computers operate” (quotations omitted)). Thus, the decision involving the ’768

patent is not relevant.

      E.     The District Court Erred in Concluding That the ’411 and
             ’996 Patents Do Not Pass Step Two Under Alice

      Here, the district court found that the ’411/’996 “invention[s] merely claim[]

a rearrangement of market information known to be displayed in a different

format” and that the claimed rearrangement “is not innovative in that it solves a

technical problem.” Appx92823. This was error, as demonstrated above. Again,

this Court has already found in IBG that the claims of the ’411/’996 patents solve a

technical problem with conventional Figure 2-style GUIs. 757 F. App’x at 1007.

And yet again, the district court wrongly found that the inventive concept was a

“static” price axis, which is not the case. Appx92823. The inventive concept of

the ’411/’996 patents is the movement of the market (up and down) along a price

axis (combined with single action order entry) that improves over the conventional

Figure 2-style GUI in which there is no such relative movement because the prices

in the best bid/best ask cells change (or “flip”) every time there is a change in the

inside market. Cf. IBG, 757 F. App’x at 1007. Indeed, this Court’s finding in

IBG—that the claimed invention solves a technical problem with a technical

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solution—should be dispositive on step two. Amdocs (Israel) Ltd. v. Openet

Telecom, Inc., 841 F.3d 1288, 1300 (Fed. Cir. 2016) (finding claims eligible under

step two where they were directed to an “unconventional technological solution . . .

to a technological problem”).

      The district court also erred on the step two analysis for one additional and

important reason. As this Court has made clear, “whether a claim element or

combination of elements is well-understood, routine and conventional to a skilled

artisan in the relevant field is a question of fact,” one that must be proven by “clear

and convincing evidence.” Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir.

2018). Yet, on summary judgment before the district court, TT presented

overwhelming evidence that the claims of the ’411/’996 patents were far from

“well understood, routine and conventional” to a person skilled in the relevant

field. Appx66492-66499; see supra Section I of the Statement of the Case and

Facts. The district court’s opinion does not even mention, let alone address,

whether the ’411/’996 patent claims were well-understood, routine and

conventional to a skilled artisan. Nor does it mention TT’s mass of evidence,

including expert testimony, that shows the claims were not well-understood,

routine and conventional. At the summary judgment stage, where there was

clearly a material issue of fact presented, the district court erred by overlooking




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this evidence, and granting judgment in IB’s favor. Berkheimer, 881 F.3d at 1370

(finding “summary judgment inappropriate”). This Court should reverse.

II.   THE DISTRICT COURT’S EXCLUSION OF FOREIGN
      DAMAGES MUST BE REVERSED UNDER WESTERNGECO

      The district court erred as a matter of law by finding that TT cannot recover

damages resulting from IB’s conduct abroad (“foreign damages”) that are the

foreseeable result of IB’s domestic acts of infringement under Section 271 (a).

Appx19; Appx87503 ; Appx87852-87853. This Court should reverse and remand

for a new trial on damages.

      The Supreme Court in WesternGeco was presented with the issue of whether

patent owners may recover foreign damages under Sections 271(f)(2) and 284 of

the Patent Act. WesternGeco, 138 S. Ct. at 2134. To answer this question, the

Court evaluated “whether the case involves a domestic application,” by

“identifying the statute’s focus and asking whether the conduct relevant to that

focus occurred in United States territory.” Id. at 2136 (internal quotations

omitted). The Court concluded that the focus of Section 284 is “the infringement,”

and the focus of 271(f)(2) is “the act of exporting components from the United

States.” Id. at 2138. Taken together, the Court found that the statutes have a

domestic focus, and therefore, any foreign damages awarded under those statutes

would be a permissible domestic application. Id. at 2137, 2139.



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      The Supreme Court’s holding in WesternGeco applies equally to Section

271(a). Specifically, the infringing conduct prohibited by Section 271(f)(2) in

WesternGeco is analogous to the infringing conduct prohibited by Section 271(a).

Like Section 271(f)(2), which prohibits exporting components “from the United

States,” Section 271(a) prohibits making, using, offering to sell, or selling “within

the United States.” 35 U.S.C. § 271. Indeed, this Court has previously found that

the “express language” of Section 271(a) applies only to conduct within the United

States. E.g., Int’l Rectifier Corp. v. Samsung Elecs. Co., 361 F.3d 1355, 1360

(Fed. Cir. 2004). Accordingly, just like Section 271(f)(2), Section 271(a) has a

domestic focus, and it too must allow for the recovery of foreign damages. Cf.

WesternGeco, 138 S. Ct. at 2142 (Gorsuch, J., dissenting) (finding it would “invite

anomalous results” to interpret 271(f)(2) differently from 271(a)); WesternGeco

L.L.C. v. ION Geophysical Corp., 791 F.3d 1340, 1351 (Fed. Cir. 2015) (finding

infringement provisions must be interpreted consistently), judgment vacated sub

nom. WesternGeco LLC. v. ION Geophysical Corp., 579 U.S. 915 (2016).

      Various courts have agreed that the reasoning of WesternGeco applies to

Section 271(a). As Circuit Judge Stark explained during his prior tenure in the

District of Delaware:

             The Supreme Court’s analysis of the patent damages
             statute, § 284, has equal applicability to the direct
             infringement allegations pending here, as governed by §
             271(a), as it did to the supplying a component
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            infringement claims at issue in WesternGeco II, which
            were governed by § 271(f)(2). [Defendant] has identified
            no persuasive reason to conclude that the interpretation of
            § 284 should differ here from what was available in
            WesternGeco II just because the type of infringing conduct
            alleged is different. Instead, as [plaintiff] puts it, “Section
            271(a) ‘vindicates domestic interests’ no less than Section
            271(f).”

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., No. 04-1371-LPS,

2018 WL 4804685, at *1 (D. Del. Oct. 4, 2018); see also Plastronics Socket

Partners, Ltd. v. Dong Weon Hwang, No. 2:18-CV-00014-JRG-RSP, 2019 WL

4392525, at *4-5 (E.D. Tex. June 11, 2019); W.H. Wall Fam. Holdings LLLP v.

CeloNova Biosciences Inc., No. 1:18-CV-303-LY, 2020 WL 1644003, at *3 (E.D.

Tex. April 2, 2020); SIMO Holdings Inc. v. Hong Kong uCloudlink Network Tech.

Ltd., 396 F. Supp. 3d 323, 350-51 (S.D.N.Y. 2019); ABS Global, Inc. v. Inguran,

LLC, No. 14-cv-503-wmc, 2020 WL 2405380, at *8-9 (W.D. Wis. May 12, 2020).

This Court should apply the same reasoning and find that foreseeable foreign

damages are permissible under Section 271(a).

      The district court’s reliance on Power Integrations, which had previously

held that foreign damages were not compensable under Section 271(a), does not

counsel otherwise. Specifically, while the district court found that “[t]he Supreme

Court and Federal Circuit have not yet held that WesternGeco overruled

PowerIntegrations,” Appx19, the district court did not need an express ruling in

order to reach that conclusion. Troy v. Samson Mfg. Corp., 758 F.3d 1322, 1326

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(Fed. Cir. 2014) (“[T]he issues decided by the higher court need not be identical to

be controlling. Rather, the relevant court of last resort must have undercut the

theory or reasoning underlying the prior circuit precedent in such a way that the

cases are clearly irreconcilable.” (internal quotations omitted)); California Inst. of

Tech. v. Broadcom Ltd., 25 F.4th 976, 991 (Fed. Cir. 2022) (finding Supreme

Court did not “explicitly overrule” prior precedent but undermined the reasoning).

      As explained above, the Supreme Court’s reasoning in WesternGeco clearly

undercuts the Power Integrations court’s theory that foreign damages are not

compensable. Compare Power Integrations, Inc. v. Fairchild Semiconductor Int’l,

Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013) (“Power Integrations is incorrect that,

having established one or more acts of direct infringement in the United States, it

may recover damages for Fairchild’s worldwide sales . . . .”), with WesternGeco,

138 S. Ct. at 2138 (“[I]t was ION’s domestic act of supplying the components that

infringed WesternGeco’s patents. Thus, the lost-profits damages that were awarded

to WesternGeco were a domestic application of § 284.”). That was enough for the

district court to find that foreign damages may be awarded in this case. Power

Integrations, 2018 WL 4804685, at *1 & n.2 (Stark, J.) (“In the Court’s view, the

Supreme Court’s WesternGeco II decision implicitly overruled the Federal

Circuit’s Power Integrations opinion.”). Because the district court refused to make

such a finding, this Court should reverse and remand for a new trial on damages.

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III.   THE DISTRICT COURT ABUSED ITS DISCRETION BY
       DENYING PLAINTIFF’S MOTION FOR “A NEW TRIAL ON
       DAMAGES AND RELATED REQUESTS ALL BASED ON A
       FINDING OF AN ATTEMPT TO COMMIT FRAUD BY
       DEFENDANT”.

       A.    In This Case, IB Had Always Represented That It Was
             “Solely Tracking Orders And Trades In TWS By What
             Tools The Orders Are Submitted From.” On November 9,
             2021, When IB Replied To Our Motion For “A New Trial
             On Damages, Etc.”, It Was Forced To Admit That There
             Are Tools Being Attributing Orders And Trades That Are
             Not Capable Of Submitting Orders.

       Up until November 9, 2021, when IB replied to our motion for “a new trial

on damages, etc.”, IB had always represented that it was “solely tracking orders

and trades in TWS by what tools the orders are submitted from.” For instance, Mr.

Galik testified explicitly on this matter at trial. Appx101353-101356; citing

Appx133373.

       Then at trial, for the first time, Mr. Galik presented the order entry tools that

were available in TWS in 2006, 2009, and 2013. Appx133373. There were 38

order entry tools listed in 2013.

       Then at trial, for the first time, Mr. Stetsenko testified that IB was tracking

commissions by trading tools, and not by order entry tools. Appx101776.




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      Table: Analyzing Galik’s 38 Order Entry Tools from 2013 (compiled by
      data in Appx105512-132652).

      After the trial, we thoroughly analyzed for a week Mr. Galik’s list of “38

order entry tools available in TWS from 2013.” We determined that 27 tools can

submit orders, 5 tools cannot submit orders, 2 tools can submit orders in Classic

and cannot submit orders in Mosaic, and we could not find 4 tools. See Table

above. Yet, when we checked the “discovery stats reports”, all 38 tools were

receiving credit for orders and trades.

      On November 9, 2021, IB attached a declaration from Mr. Stetsenko to its

opposition brief. In paragraph 22 of Mr. Stetsenko’s declaration, he is forced to



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admit that there are tools being attributed orders and trades that are not capable of

submitting orders. Appx98646-98647.

      B.     There Has To Be A Major Shift Away From “Tracking
             Orders And Trades By What Tools The Orders Are
             Submitted From” To Reconcile “An Enormous Discrepancy
             Between Accumulate/Distribute (1 Of Mr. Galik’s “38
             Order Entry Tools From 2013”) And Its Trade Volume.”
             Therefore, With This Major Shift, IB Has Grossly
             Misrepresented The BookTrader Data To Be Something
             That It Is Not.

      Now that we know IB is not “solely tracking orders and trades by what tools

the orders are submitted from”, how are they tracking orders and trades?

      We turn to Accumulate/Distribute:

    Mr. Peterffy has testified over the course of his deposition and the trial that

      Accumulate/Distribute is IB’s best, most advanced, most valuable, and

      arguably most important tool. Appx98670-98675; Appx98732-98734;

      Appx101170-101171.

    Accumulate/Distribute is an algo and it is strictly used to submit orders, so

      when Mr. Peterffy talks about its great value, it is strictly in the context of

      submitting orders.

    Yet when we check the 550+ “discovery stats reports”, they reportedly show

      that Accumulate/Distribute was only responsible for submitting .08% of the

      trades in TWS from June 2008–April 2019 (i.e., 1 in every 1250 trades). Mr.

      Stetsenko confirmed this virtually nonexistent trade volume for
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      Accumulate/Distribute in paragraph 24 of his declaration on November 9,

      2021. Appx98634-98649.

    This “enormous discrepancy between Accumulate/Distribute and its trade

      volume” demonstrates the lack of correlation between “how IB is tracking

      orders and trades” and “tracking orders and trades by what tools the orders

      are submitted from.”

    “However IB is tracking orders and trades”, there has to be a major shift

      away from “tracking orders and trades by what tools the orders are

      submitted from” to reconcile this “enormous discrepancy between

      Accumulate/Distribute and its trade volume.”

      Therefore, with this major shift, IB has grossly misrepresented the

BookTrader data to be something that it is not. To this end, IB was very strategic in

faking and relentlessly hammering that BookTrader was merely responsible for

submitting 3-5% of the trades through TWS at trial. This serves to belittle the

invention and limit its value. This in turn serves to limit the per trade royalty rate,

prevent a monthly minimum royalty rate, limit any monthly minimum royalty rate,

and limit how broadly any monthly minimum is applied across those receiving

TWS. All of this worked to perfection with the jury. Altogether, with the proper

usage of BookTrader, the difference in damages could be 100+ times.




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      C.     Also, As A Bonus, We Strongly Believe That We Know
             “How IB Is Tracking Orders And Trades”, Which Is “By
             What Tools Set The Symbols For Orders”.

      The evidence strongly suggests that IB is “tracking orders and trades by

what tools set the symbols for orders” for the following reasons:

    Setting the symbol is the foundational element of all orders.

    The term “order originator” fits very well with “the tools that set the

      symbols for orders.” Setting the symbol originates the foundational element

      of an order.

    “Tracking orders and trades by what tools set the symbols for orders” is

      legitimate business intelligence.

    The virtually nonexistent trade volume of Accumulate/Distribute can be

      reconciled.

      Setting the symbols for orders works as follows in TWS:

    An order requires many different parameters, including symbol, order type,

      buy or sell, price, quantity, and duration to be set in the tool that submits the

      order to the exchange.

    A symbol represents the desired stock, option contract, future contract, etc.

      that is being traded. For example, to trade Apple stock, the order must

      identify the symbol for Apple stock, which is AAPL.




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    The quickest and most efficient way to set the symbols for orders is via a

      prominent feature in TWS called “grouped tools.” IB’s website includes a

      video demonstrating how “grouped tools” works in Mosaic. As

      demonstrated in this video, the grouped tools all initially display the Apple

      stock symbol (AAPL). Next, the user selects the IBKR symbol in the tool

      labeled “Monitor” (which is actually “Watchlist”) in the middle right of the

      screen, and immediately, this sets the IBKR symbol for an order in each of

      the grouped tools, and these tools all display data associated with the IBKR

      symbol.

    “Grouped tools'' is all about leveraging existing symbols in the grouped tools

      to quickly and efficiently both “set symbols for orders” and “display data

      associated with these symbols” across the grouped tools.

      The tools that are quotation boards will be dominant in “tracking orders and

trades by what tools set the symbols for orders”:

    Quotation boards like Main Window, Watchlist, and Portfolio are staple

      tools and the center of virtually all trading platforms.

    Main Window, Watchlist, and Portfolio consist of grids that display many

      rows of symbols and their respective market information. Portfolio includes

      a focus on symbols of current and previous trading positions.



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    Main Window, Watchlist, and Portfolio, being quotation boards of many

      symbols, are naturally the center of setting the symbols for orders in TWS.

      Assuming IB is “tracking orders and trades by what tools set the symbols for

orders”, the percentage of trades that IB has attributed to BookTrader is irrelevant

in the sense of how many trades are being submitted from BookTrader. Nearly all

tools, including the quotation boards, can set symbols in BookTrader, and vice

versa to a large extent. BookTrader could theoretically be responsible for

submitting anywhere from 0% to nearly 100% of all trades.

      D.     The District Court’s Denial Opinion Of Plaintiff’s Motion
             For “A New Trial On Damages And Related Requests All
             Based On A Finding Of An Attempt To Commit Fraud By
             IB” Has Several Errors, Including Two Critical Errors.
             Therefore, Its Conclusion Is Wrong, And The District
             Court Has Abused Its Discretion.

      The District Court cited the following in supporting its denial of plaintiff’s

motion for “a new trial on damages, etc.”. Appx36-37 citing Appx103276-103281.

      Plaintiff’s response:

      The District Court makes a critical error in holding the plaintiff to question

and investigate whether IB may not “track orders and trades by what tools submit

the orders” prior to trial. None of us, the attorneys, the trading domain folks, or

anyone else, had ever heard of or imagined another way of tracking orders and

trades. “Tracking orders and trades by what tools submit the orders” was

considered only logical and a given. Nothing else ever remotely crossed our
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minds. We were concerned that IB may be somehow altering BookTrader data in a

vacuum, but that is an entirely different thing from tracking orders and trades by

another method.

      The District Court is incorrect that the “38 order entry tools available in

TWS from 2013” were identified by IB prior to trial. Mr. Galik presented this list

of “order entry tools” for the first time at trial. Appx101601-101603; citing

Appx133374.

      The District Court is incorrect that Mr. Brumfield had access to the

“discovery stats reports” and “Mr. Peterffy’s deposition testimony regarding

Accumulate/Distribute” prior to trial. The vast majority of what IB produced in

discovery, including these matters fell under the protective order in this case,

which prevented Mr. Brumfield from accessing this information. Appx116269-

116323; Appx98670-98675. Mr. Brumfield was ultimately able to access the

“discovery stats reports” when they were admitted into evidence and became

public at trial (we note that Mr. Brumfield previously knew of the trade volume

that was attributed to BookTrader from settlement talks). Mr. Brumfield was

ultimately able to access “Mr. Peterffy’s deposition testimony regarding

Accumulate/Distribute”, when we petitioned the District Court in this matter

specifically for Mr. Brumfield, and the District Court ultimately de-designated this

testimony on 1/13/22. Appx133435-133436.

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      The District Court is incorrect that plaintiff failed to analyze the Blotter code

to determine potential discrepancies in IB’s transaction data. We analyzed the

Blotter code and then questioned Mr. Stetsenko at trial for nearly thirteen minutes

in this regard. Appx101794-101803 (Stetsenko Trial Transcript) citing

Appx101794-101803; Appx95207; Appx133438-133439.

      The District Court further cited the following in supporting its denial of

plaintiff’s motion for “a new trial on damages, etc.”. Appx39-40.

      Plaintiff’s response:

      The District Court makes a critical error in assuming, for orders submitted

through tools in Mr. Stetsenko’s first category of tools, that the originating tool and

the submitting tool are necessarily the same tool. We are not sure, but maybe the

District Court misinterpreted Mr. Stetsenko’s statement about the first category of

tools being “self-contained (i.e., they have their own order entry mechanism).” In

this context, “self-contained” means “having everything necessary to work

independently.” This meaning is effectively cited by nearly all of the online

dictionaries. This does not mandate, for orders submitted through tools in Mr.

Stetsenko’s first category of tools, that the originating tool and the submitting tool

be the same tool. However the District Court makes this assumption, it is not the

case. Accumulate/Distribute is in Mr. Stetsenko’s first category of tools and there

is the “enormous discrepancy between Accumulate/Distribute and its trade

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volume.” The only way to reconcile this enormous discrepancy is, for orders

submitted through tools in Mr. Stetsenko’s first category of tools, the originating

tool and the submitting tool may be different tools.

      The District Court claims that Mr. Brumfield acknowledges this assumption

in paragraph 10 of his 2nd declaration. This is incorrect. The operative word in

Mr. Brumfield’s statement is “can.” In fact, the main point of the next several

paragraphs in his declaration is, for orders submitted through tools in Mr.

Stetsenko’s first category of tools, the originating tool and the submitting tool are

usually different tools. Appx103657-103659.

      In plaintiff’s reply brief, it is made clear that, for orders submitted through

tools in Mr. Stetsenko’s first category of tools, the originating tool and the

submitting tool “may be entirely different.” It is also made clear that Mr.

Brumfield’s 2nd declaration is in step with this. Appx103484.

      It is clear in the District Court’s Denial Opinion that it thought the plaintiff

was in the dark about the virtually nonexistent trade volume attributed to

Accumulate/Distribute until post-trial. Appx36-37.

      For the record, early in the trial, we saw from one of the "made-for-

presentation stats reports" for the week of March 24-28, 2014, that

Accumulate/Distribute accounted for only .1% of the trade volume across all

"order originators" for that week. Appx133437. We then had our data analyst do

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an analysis of Accumulate/Distribute and its trade volume across the 550+

“discovery stats reports” that span from June 2008–April 2019. We learned the

night before Mr. Peterffy was to testify that the results of this analysis were

roughly in line with the week of March 24-28, 2014.

      Mr. Peterffy’s deposition testimony regarding Accumulate/Distribute and its

great value to IB was in a different stratosphere from the virtually nonexistent trade

volume attributed to Accumulate/Distribute. We thought there had to be an

explanation for the “enormous conflict between Accumulate/Distribute and its

trade volume.” We did complain a lot about the data at trial, and we were

concerned that IB may be somehow altering BookTrader data in a vacuum, but we

did not think the data as a whole was irrelevant. IB had been distributing 550+

stats reports on a weekly basis from June 2008—April 2019 to senior management

(including Mr. Peterffy, Mr. Galik, and Mr. Stetsenko), and software engineers

involved in the development of TWS. We knew from emails produced in discovery

that IB was building software based on this intelligence, and we did not think that

they were duping their own business.

      Therefore, we did not want to unnecessarily elevate Accumulate/Distribute

and diminish BookTrader in front of the jury. We thought giving IB airtime to

detail and rectify the “enormous conflict between Accumulate Distribute and its

trade volume” would do this. The reason we asked Mr. Peterffy about

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Accumulate/Distribute at trial was to establish its importance. We were going to

introduce the “enormous conflict between Accumulate/Distribute and its trade

volume” in our closing argument, where IB would be limited in responding, to cast

doubt on IB and its data. We ultimately decided that was not a good idea.

      Everything changed post-trial when we contemplated the combination of 1)

IB always representing that they were "solely tracking orders and trades by what

tools submit the orders", 2) Mr. Galik labeling his "38 tools from 2013" as "order

entry tools", 3) Mr. Stetsenko’s "tracking commissions by trading tools, not order

entry tools", 4) the analysis of Mr. Galik's “38 order entry tools from 2013", and 5)

the enormous conflict between Accumulate/Distribute and its trade volume (see

Sections III.A & III.B of the Argument). This combination screamed cover-up.

We went from "there had to be an explanation for the enormous conflict between

Accumulate/Distribute and its trade volume" to "there was no explanation for the

enormous discrepancy between Accumulate/Distribute and its trade volume."

      The circumstances at trial and post-trial were dramatically different.

Therefore, us not pursuing “the enormous conflict between Accumulate/Distribute

and its trade volume” at trial should not preclude us from pursuing the “enormous

discrepancy between Accumulate/Distribute and its trade volume” post-trial.




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   E.    Plaintiff Is Requesting “A Requests All Based On Damages
         And Related Requests All Based On A Finding Of An
         Attempt To Commit Fraud By IB”.

         1.      We are requesting “a new trial on damages” based on
                 the following:

 In this case, IB had always represented that it was “solely tracking orders

   and trades in TWS by what tools the orders are submitted from.” On

   November 9, 2021, when IB replied to our motion for “a new trial on

   damages, etc.”, it was forced to admit that there are tools being attributed

   orders and trades that are not capable of submitting orders.

 There has to be a major shift away from “tracking orders and trades by what

   tools the orders are submitted from” to reconcile the “enormous discrepancy

   between Accumulate/Distribute and its trade volume.” Therefore, with this

   major shift, IB has grossly misrepresented the BookTrader data to be

   something that it is not.

 Also, as a bonus, we strongly believe that we know “how IB is tracking

   orders and trades”, which is “by what tools set the symbols for orders.”

 The District Court’s Denial Opinion regarding plaintiff’s motion for “a new

   trial on damages and related requests all based on a finding of an attempt to

   commit fraud by IB” has several errors, including two critical errors.

   Therefore, its conclusion is wrong, and the District Court has abused its

   discretion.

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 This is all clear and convincing evidence that IB has attempted to commit

   fraud.

            2.   In conjunction with “a new trial on damages”, we are
                 requesting the following:

 Full damages discovery, including the depositions of Mr. Peterffy, Mr.

   Galik, and Mr. Stetsenko.

 The freedom to share the “Appellate Court’s ruling” and “all that occurred

   with IB’s attempt to commit fraud” with the jury at “the new trial on

   damages."

   We make these requests for the following reasons:

 We should be able to start over completely and remake our damages case

   and refile.

 The evidence around the damages has changed dramatically. It certainly

   appears “IB attempted to commit fraud” because there was a lot to hide with

   respect to BookTrader and its trade volume.

 Plaintiff was exposed to tremendous risk by IB. Plaintiff spent significantly

   chasing IB’s deception over the years and was fortunate to catch IB and

   gather the evidence before time expired. Otherwise, Plaintiff would be

   facing a major loser and less than 1% of the potential damages.

            3.   We are requesting that “the granting of a new trial on
                 damages and related requests” be based on “a finding

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               that IB has attempted to commit fraud” for the
               following reason:

 We do not want any ambiguity when it comes to what has happened here. As

  alluded to in the last paragraph, such clarity is critical in establishing IB as

  having a lot to hide with respect to BookTrader and its trade volume.




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          CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      The ‘411/’996 patents solve the technical problem in the patent specification

with a technical solution and therefore are patent eligible under § 101. As such,

this Court should reverse the district court’s conclusion that the ’411/’996 patents

are ineligible and remand for a new trial that includes the ’411/’996 patents and the

IB products accused of infringing these patents. Moreover, because the district

court erred as a matter of law by finding that TT cannot recover damages resulting

from IB’s conduct abroad (“foreign damages”) that are the foreseeable result of

IB’s domestic acts of infringement under Section 271 (a), this Court should reverse

and remand with an instruction to the district court that the Brumfield Trustee can

recover foreign damages in the damages phases of the new trial.

      Finally, because the district court abused its discretion by not granting TT a

new trial based on IB’s litigation misconduct, this Court should reverse and

remand with the following instruction to the district court for the damages phase of

the new trial:

    TT shall be entitled to damages discovery, including the depositions of Mr.

      Peterffy, Mr. Galik, and Mr. Stetsenko, and TT shall be entitled to submit

      new experts report prior to the new trial.




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Date: August 26, 2022
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FORM 19. Certificate of Compliance with Type-Volume Limitations                            Form 19
                                                                                          July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 22-1630, -1639

  Short Case Caption: Harris Brumfield, Trustee for Ascent Trust v. IBG LLC

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 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
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                court’s order (ECF No. __________).


        08/26/2022
  Date: _________________                       Signature:        /s/ Jennifer M. Kurcz

                                                Name:             Jennifer M. Kurcz




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Case: 22-1630   Document: 18   Page: 98   Filed: 08/27/2022




                     ADDENDUM
           Case:
ILND 450 (Rev.             Case:
                            Judgment22-1630
                     1:10-cv-00715
               04/29/2016)                     Action Document:
                                           Document
                                    in a Civil           #: 2132 18
                                                                 Filed:Page: 99 Page
                                                                       09/07/21  Filed: 08/27/2022
                                                                                     1 of 1 PageID #:112296

                                 IN THE UNITED STATES DISTRICT COURT
                                               FOR THE
                                    NORTHERN DISTRICT OF ILLINOIS

Trading Technologies International, Inc.,

Plaintiff,
                                                          Case No. 10-cv-715
v.                                                        Judge Virginia M. Kendall

IBG LCC and Interactive Brokers, LLC.,

Defendant(s).

                                         JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s) Trading Technologies International, Inc.
                and against defendant(s) IBG LCC and Interactive Brokers, LLC.
                in the amount of $6,610,985.00 ,

                         which
                                 □ includes       pre–judgment interest.
                                   does not include pre–judgment interest.
                                 ~

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
        □       and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                other:
        □
This action was (check one):

     tried by a jury with Judge Virginia M. Kendall presiding, and the jury has rendered a verdict.
     tried by Judge         without a jury and the above decision was reached.
     decided by Judge          on a motion



Date: 9/7/2021                                        Thomas G. Bruton, Clerk of Court

                                                      Alberta Rone , Deputy Clerk



                                                      Appx1
         Case: 22-1630
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Trading Technologies International, Inc.
                                            Plaintiff,
v.                                                        Case No.: 1:10−cv−00715
                                                          Honorable Virginia M. Kendall
BCG Partners, Inc., et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 11, 2022:


        MINUTE entry before the Honorable Virginia M. Kendall. Pursuant to this Court's
order [2214], the judgment is amended to include an award of prejudgment interest on the
Jury award of $6,610,985 at a rate of 4.413% beginning in July 2004 through January 11,
2022, compounded monthly, for a total of $2,122,355. The judgment is also amended to
include an award of post−judgment interest on the Jury award at a rate of 0.07%
beginning on September 7, 2021, compounded annually. Post−judgment interest on the
prejudgment interest is also awarded beginning on January 11, 2022 at a rate of 0.41%,
compounded annually. Mailed notice(lk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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                                       Appx2
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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                         )
    TRADING TECHNOLOGIES                                 )
    INTERNATIONAL, INC.,
                                                         )
                                                         )
              Plaintiff                                  )    No. 10 C 715
                                                         )
             v.                                          )    Judge Virginia M. Kendall
                                                         )
    IBG, LLC, et al.
                                                         )
              Defendants.                                )

                              MEMORANDUM OPINION AND ORDER

         Plaintiff Trading Technologies (“TT”) brought this action to recover damages caused by

Defendant IBG’s alleged infringement of four TT patents: the ‘132, ‘304, ‘411, and ‘996 Patents.

Before the Court are the parties’ cross motions for summary judgment regarding patent eligibility.

TT moves for summary judgment that the patents in suit are patent eligible as a matter of law

[1359]. IBG moves for summary judgment that the ‘411 and ‘996 Patents are patent ineligible

[1387]. For the following reasons, TT’s motion is granted in part and denied in part and IBG’s

motion is granted.

                                               BACKGROUND

    I.   Patent Claims

         The patents at issue are part of the same patent family, share a common patent specification,

and are “directed to the electronic trading of commodities.” (Dkt. 1119 at Ex. C) (Dkt. 1120 at Ex.

Q, Ex. S, Ex. U). 1 They recite “[a] method and system for reducing the time it takes for a trader


1
   While the Court would normally rely on the parties’ Rule 56.1 Statements of Material Fact on a motion for summary
judgment, the Court declines to heavily rely on them in this matter—quite simply they are not useful. Nearly every
statement is disputed without regard to whether the basis for dispute affects the outcome of the present motions.
Instead, the Court relies on the underlying evidence itself to glean the material facts.

                                                         1

                                                     Appx3
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to place a trade when electronically trading on an exchange, thus increasing the likelihood that the

trader will have orders filled at desirable prices and quantities.” (Id.) Specifically, the patents claim

a graphical user interface (“GUI”) “displaying market depth on a vertical or horizontal plane,

which fluctuates logically up or down, left or right across the plane as the market price fluctuates”

and “a static display of prices corresponding to the plurality of bids and asks.” (Id.) The “pluralities

of bids and asks are dynamically displayed in alignment with the prices corresponding thereto.”

(Id). “This allows the trader to trade quickly and efficiently.” (Id.) The invention disclosed by the

patents “can be implemented on any existing or future terminal or device” and “[t]he physical

mapping of [the] information to a screen grid can be done by any technique known to those skilled

in the art. ” (Id.) (“The invention is not limited by the method used to map the data to the screen

display.”).

        The patents in suit disclose the following prior art GUI display:

         FIG. 2
                               201   202     203     204     205
                                )       )      )      )      )
                      Contract Depth BidOt\ BidPrc AskPrc AskQt\ LastPrc Last01'/ Total
              1-...
                      COHO      •    785      7626    7627   21     7627    489   8230
              2-                      626     7625    7629 815
              3-                      500     7624    7630   600
              4-                      500     7623    7631 2456
              s--                     200     7622    7632 800


(Dkt. 1119 at Ex. C) (Dkt. 1120 at Ex. Q, Ex. S, Ex. U). The grid depicts the inside market

(highest ask and bid prices) and the market depth of a given commodity being traded. (Id.)

(Id.) On a conventional trading screen like Figure 2, the fluctuation of market prices “results in

rapid changes in the price and quantity fields within the market grid[,]” which creates a problem:

“If a trader intends to enter an order at a particular price, but misses the price because the market


                                                        2

                                                     Appx4
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prices moved before he could enter the order, he may lose hundreds, thousands, even millions of

dollars.” (Id.)

        In contrast, the disclosed invention, as illustrated by Figure 3 below, displays bid and ask

columns and inside market indicators (area 1020) that move relative to a static price axis,

“increas[ing] the speed of trading and the likelihood of entering orders at desired prices with

desired quantities.” (Id.)

                                 FI G. 3
                                                  SYCOM FGBL DEC99                         B ICIOO
                                                  ENI       , 10:48:44        Bid□   AskQ Pre LTD
                                  1009   ~



                                              ~
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        Despite the common specification language, the reference to “a static display of prices”

denotes a slightly different scope with regards to the ‘132 and ‘304 Patents than to the ‘411 and

‘996 Patents. The ‘132 and ‘304 Patents recite a GUI with a static axis displaying prices that does

not move when the inside market changes, unless by a manual re-centering or re-positioning

command. (Dkt. 1119 at Ex. C) (Dkt. 1120 at Ex. Q) (Dkt. 1448 at ¶ 23). On the other hand, the

                                                                     3

                                                            Appx5
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‘411 and ‘996 Patents encompass, but do not require, GUI’s with price axes that automatically

recenter. (Dkt. 1527 at ¶¶ 14–15).

       Representative claim one of the ‘411 Patent recites:

       A method of displaying market information relating to and facilitating trading of a
       commodity being traded on an electronic exchange, the method comprising:

       receiving, by a computing device, market information for a commodity from an
       electronic exchange, the market information comprising an inside market with a
       current highest bid price and a current lowest ask price;

       displaying, via the computing device, a bid display region comprising a plurality of
       graphical locations, each graphical location in the bid display region corresponding
       to a different price level of a plurality of price levels along a price axis;

       displaying, via the computing device, an ask display region comprising a plurality
       of graphical locations, each graphical location in the ask display region
       corresponding to a different price level of the plurality of price levels along the
       price axis;

       dynamically displaying, via the computing device, a first indicator representing
       quantity associated with at least one trade order to buy the commodity at the current
       highest bid price in a first graphical location of the plurality of graphical locations
       in the bid display region, the first graphical location in the bid display region
       corresponding to a price level associated with the current highest bid price;

       upon receipt of market information comprising a new highest bid price, moving the
       first indicator relative to the price axis to a second graphical location of the plurality
       of graphical locations in the bid display region, the second graphical location
       corresponding to a price level of the plurality of price levels associated with the
       new highest bid price, wherein the second graphical location is different from the
       first graphical location in the bid display region;

       dynamically displaying, via the computing device, a second indicator representing
       quantity associated with at least one trade order to sell the commodity at the current
       lowest ask price in a first graphical location of the plurality of graphical locations
       in the ask display region, the first graphical location in the ask display region
       corresponding to a price level associated with the current lowest ask price;

       upon receipt of market information comprising a new lowest ask price, moving the
       second indicator relative to the price axis to a second graphical location of the
       plurality of graphical locations in the ask display region, the second graphical
       location corresponding to a price level of the plurality of price levels associated
       with the new lowest ask price, wherein the second graphical location is different


                                                   4

                                               Appx6
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       from    the      first   graphical   location   in    the    ask    display    region;

       displaying, via the computing device, an order entry region comprising a plurality
       of graphical areas for receiving single action commands to set trade order prices
       and send trade orders, each graphical area corresponding to a different price level
       along the price axis;

       and selecting a particular graphical area in the order entry region through a single
       action of the user input device to both set a price for the trade order and send the
       trade order having a default quantity to the electronic exchange.

(Dkt. 1120 at Ex. S).

       Representative claim 1 of the ‘996 Patent recites:

       A computer readable medium having program code recorded thereon for execution
       on a computer having a graphical user interface and a user input device, the program
       code causing a machine to perform the following method steps:

       receiving market information for a commodity from an electronic exchange, the
       market information comprising an inside market with a current highest bid price
       and a current lowest ask price;

       receiving an input from a user that designates a default quantity to be used for a
       plurality of trade orders;

       dynamically displaying a first indicator in one of a plurality of locations in a bid
       display region, each location in the bid display region corresponding to a price level
       along a static price axis, the first indicator representing quantity associated with at
       least one order to buy the commodity at the current highest bid price;

       dynamically displaying a second indicator in one of a plurality of locations in an
       ask display region, each location in the ask display region corresponding to a price
       level along the static price axis, the second indicator representing quantity
       associated with at least one order to sell the commodity at the current lowest ask
       price;

       displaying the bid and ask display regions in relation to a plurality of price levels
       arranged along the static price axis such that when the inside market changes, the
       price levels along the static price axis do not change positions and at least one of
       the first and second indicators moves in the bid or ask display regions relative to
       the static price axis;

       displaying an order entry region aligned with the static price axis comprising a
       plurality of areas for receiving commands from the user input device to send trade
       orders, each area corresponding to a price level of the static price axis;


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                                              Appx7
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        and receiving a plurality of commands from a user, each command sending a trade
        order
        to the electronic exchange, each trade order having an order quantity based on the
        default quantity without the user designating the default quantity between
        commands, wherein each command results from selecting a particular area in the
        order entry region corresponding to a desired price level as part of a single action
        of the user input device with a pointer of the user input device positioned over the
        particular area to both set an order price parameter for the trade order based on the
        desired price level and send the trade order to the electronic exchange.

(Id. at Ex. U).

 II.    IBG’s Prior Art Evidence

        Prior to the patents in suit, specialists at the New York Stock Exchange (“NYSE”)

maintained physical books with pre-printed vertical price columns and used them to plot,

by hand, bid and ask quantities along the price column. (Dkt. 1527 at ¶ 33). By 1992, the

NYSE implemented an electronic version of the specialist’s book called the “Display

Book.” (Id. at ¶ 34). Another exchange, INTEX, also implemented a GUI modeling the

specialist’s book. (Id. at ¶ 35). Pen-and-paper books, similar to the specialist’s book, were

also used at the Tokyo Stock Exchange, which were then converted to an electronic

version. (Id. at ¶¶ 37–38).

                                      LEGAL STANDARD

        Summary judgment is proper when “the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); see, e.g., Reed v. Columbia St. Mary’s Hosp., 915 F.3d 473, 485 (7th Cir. 2019). The parties

genuinely dispute a material fact when “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Daugherty v. Page, 906 F.3d 606, 609–10 (7th Cir. 2018) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). In determining whether a genuine

issue of material fact exists, the Court draws all reasonable inferences in favor of the party

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                                              Appx8
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opposing the motion. Anderson, 477 U.S. at 255; Zander v. Orlich, 907 F.3d 956, 959 (7th Cir.

2018).

                                          DISCUSSION

         Whether a concept is patent eligible is a question of law. Berkheimer v. HP Inc., 881 F.3d

1360, 1368 (Fed. Cir. 2018). Under 35 U.S.C. § 101, “[w]hoever invents or discovers any new and

useful process, machine, manufacture, or composition of matter, or any new and useful

improvement thereof,” is eligible for a patent on that invention. “[L]aws of nature, physical

phenomena, and abstract ideas,” however, are patent ineligible concepts. Alice Corp. Pty. Ltd. v.

CLS Bank Int’l, 573 U.S. 208, 216 (2014) (internal quotations and citation omitted). Alice

articulates a two-step process to determine whether a claimed invention is patent eligible. Id. at

217. First, the Court must “determine whether the claims at issue are directed to a patent-ineligible

concept.” Id. at 218. A finding of patent eligibility at step one ends the inquiry. See e.g., Enfish,

LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir. 2016). In the context of computer

programs, claims that improve the way a computer operates or solve a technological problem are

patent eligible, but claims that merely use a computer to implement well-known business or

economic practices are not. Id. “[I]mproving a user’s experience while using a computer

application is not, without more, sufficient to render the claims directed to an improvement in

computer functionality.” Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1365

(Fed. Cir. 2020).

         If the claims involve a patent-ineligible concept, the Court must then “consider the

elements of each claim both individually and as an ordered combination to determine whether the

additional elements ‘transform the nature of the claim’ into a patent-eligible application.” Alice,

573 U.S. at 217 (internal quotations and citation omitted). At this step, the Court must “search for



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an inventive concept —i.e., an element or combination of elements that is sufficient to ensure that

the patent in practice amounts to significantly more than a patent upon the ineligible concept

itself.” Id. at 217–18 (internal quotations and citation omitted). The party challenging the validity

of a patent—in this case, IBG—bears the burden of establishing invalidity, including patent

ineligibility, by clear and convincing evidence. See 35 U.S.C § 3582 (establishing a rebuttable

presumption of patent validity and placing the burden of establishing invalidity on the party

asserting invalidity).

  I.    The ‘132 and ‘304 Patents

        The Federal Circuit has already held that the ‘132 and ‘304 Patents are eligible under 35

U.S.C. § 101. Trading Techs. Int'l, Inc. v. CQG, Inc., 675 F. App'x 1001, 1002 (Fed. Cir. 2017).

In CQG the court observed that the ‘132 and ‘304 Patents “do not simply claim displaying

information on a graphical user interface[,]” but are directed to “resolv[ing] a specifically

identified problem in the prior state of the art[,]” namely, “that the best bid and best ask prices

would change based on updates received from the market.” Id. at 1004; Trading Techs. Int'l, Inc.

v. CQG, Inc., No. 05-CV-4811, 2015 WL 774655, at *4 (N.D. Ill. Feb. 24, 2015), aff'd, 675 F.

App'x 1001 (Fed. Cir. 2017). As the district court explained:

        There was a risk with the prior art GUIs that a trader would miss her intended price
        as a result of prices changing from under her pointer at the time she clicked on the
        price cell on the GUI. The patents-in-suit provide a system and method whereby
        traders may place orders at a particular, identified price level, not necessarily the
        highest bid or the lowest ask price because the invention keeps the prices static in
        position, and allows the quantities at each price to change.

CQG, 2015 WL 774655, at *4. Thus, the court concluded, the ‘132 and ‘304 Patents were patent

eligible under Alice step one and not directed to an abstract idea. CQG, 675 F. App'x at 1004.

        IBG argues CQG does not compel a finding of eligibility in this case because it is a

nonprecedential opinion and involved a different set of facts than those before this Court. First,


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the Court may (and should) rely on nonprecedential opinions interpreting the same patent to ensure

the uniform treatment of that patent. See e.g., Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183

F.3d 1334, 1337 (Fed. Cir. 1999). With respect to the ‘132 and ‘304 patents, the Court has no

qualms in relying on CQG which involved the same legal question (§ 101 eligibility) and the same

patents.

       Regarding the distinct factual record in CQG, IBG claims an independent Alice inquiry is

required because the CQG court did not consider the evidence of prior art before this Court. Step

one of the Alice framework, however, “does not require an evaluation of the prior art or facts

outside of the intrinsic record regarding the state of the art at the time of the invention.” CardioNet,

LLC v. InfoBionic, Inc, 955 F.3d 1358, 1374 (Fed. Cir. 2020), cert. denied sub nom. InfoBionic,

Inc. v. Cardionet, LLC, 141 S. Ct. 1266 (2021). Although CQG court did not have evidence of

every alleged prior art reference IBG presents, it did have some evidence of “prior art GUI’s that

showed market dept and the inside market in a table or grid,” including the INTEX system. (Dkt.

1527-4). More importantly, the court considered the intrinsic evidence of prior art disclosed by the

patents themselves in Figure 2. While the CQG court found it relevant that the ‘132 and ‘304

Patents had “no pre-electronic trading analog” and were “not an idea that has long existed,” CQG,

675 F. App’x at 1004, more evidence regarding prior art does not compel a different conclusion as

to eligibility: “[t]he analysis under Alice step one is whether the claims as a whole are directed to

an abstract idea, regardless of whether the prior art demonstrates that the idea or other aspects of

the claim are known, unknown, conventional, unconventional, routine, or not routine.” CardioNet,

955 F.3d at 1372 (internal quotations and citation omitted) (emphasis added). The Court sees no

reason to disrupt the Federal Circuit’s holding regarding the eligibility of the ‘132 and ‘304 Patents




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                                              Appx11
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based solely on the prior art evidence presented by IBG. TT’s motion for summary judgment is

granted as to the ‘132 and ‘304 Patents.

 II.   The ‘411 and ‘996 Patents

       A. Alice Step One: Abstract Idea

       The issue of patent eligibility with respect to the ‘411 and ‘996 Patents is one of first

impression. IBG argues the ‘411 and ‘996 Patents are directed to the unpatentable abstract idea

“of placing an order based on observed, dynamically updated market information” rather than to

an improvement in computer technology. (Dkt. 1387 at 10). TT asserts the ‘411 and ‘996 Patents

are directed to technological improvements in speed, accuracy, and usability. (Dkt. 13 at 7).

       The representative claims of the ‘411 and ‘911 patents respectively claim “[a] method of

displaying market information relating to and facilitating trading of a commodity being traded on

an electronic exchange” and “[a] computer readable medium having program code recorded

thereon for execution on a computer having a graphical user interface and a user input device,”

that recite steps of receiving market information for a commodity from an electronic exchange and

displaying such information in a dynamic way. (Dkt. 1120 at Ex. S, Ex. U). The mere process of

gathering information and displaying the results, however, is unpatentable. See e.g., Elec. Power

Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016). While TT claims the asserted

invention improves the speed, accuracy, and usability of trading GUIs, it is clear that the goal of

providing market information in the specific configuration recited by the patents is to “improv[e]

the trader, not the functioning of the computer.” Trading Techs. Int'l, Inc. v. IBG LLC, 921 F.3d

1378, 1383 (Fed. Cir. 2019). For example, both patents disclose “[a] method and system for

reducing the time it takes for a trader to place a trade when electronically trading on an exchange,

thus increasing the likelihood that the trader will have orders filled at desirable prices and



                                                10

                                             Appx12
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quantities.” (Dkt. 1120 at Ex. S, Ex. U) (emphasis added). Similarly, the patents explain that the

invention “allows the trader to trade quickly and efficiently” and that “[t]rends in the trading of

the commodity and other relevant characteristics are more easily identifiable by the user through

the use of the present invention.” (Id.) (emphasis added). Because the claims of both patents “are

focused on providing information to traders in a way that helps them process information more

quickly, not on improving computers or technology[,]” they are directed towards the abstract idea

of placing orders on an electronic exchange. Trading Techs., 921 F.3d at 1383.

        TT argues that as the CQG court found with respect to the ‘132 and ‘304 Patents, the ‘411

and ‘996 Patents are patent eligible because they solve the missing-the-intended-price problem.

While the ‘411 and ‘996 Patents are continuations of the ‘132 and ‘304 Patents and share a

common specification, the specific claims of the ‘132 and ‘304 Patents are narrower in that they

recite a truly static price axis. Trading Techs. Int'l, Inc. v. IBG LLC, 921 F.3d 1084, 1095 (Fed.

Cir. 2019) (“Eligibility depends on what is claimed, not all that is disclosed in the specification.”).

It is not clear, and TT does not explain, how the ‘411 and ‘996 Patents, which include price axes

that automatically move, solve the missing-the-price problem. See IBG LLC v. Trading Techs.

Int'l, Inc., No. CBM2016-00054, 2017 WL 4708078, at *15 (P.T.A.B. Oct. 17, 2017), affd Trading

Techs. Int'l, Inc. v. IBG LLC, 767 F. App'x 1006, 1007 (Fed. Cir. 2019) (rejecting CQG as

persuasive authority on the basis that ‘132 and ‘304 Patents recited narrower claims than the related

patent at issue which “d[id] not recite the static price axis feature….”). Moreover, even the CQG

court noted that the ‘132 and ‘304 Patents presented a “close question[ ] of eligibility….” CQG,

675 F. App’x at 1006. Thus, the Court is not inclined to extend the reasoning of CQG, a

nonprecedential opinion, to related patents that do not share the same claim limitations (a static

price axis).



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                                              Appx13
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       TT also cites another nonprecedential decision, IBG LLC v. Trading Techs. Int'l, Inc., 757

F. App'x 1004, 1006 (Fed. Cir. 2019), in which the Federal Circuit found that the ‘411 and ‘996

patents did not qualify for Covered Business Method (“CBM”) review because they recited

technological inventions. IBG, however, did not concern § 101 eligibility. Id. While the inquiries

under CBM review and § 101 eligibility are related, the IBG court’s decision does not dictate a

finding of § 101 eligibility here.

       The Court is hesitant to rely on IBG to support a finding of § 101 eligibility particularly in

light of subsequent Federal Circuit decisions finding related TT patents ineligible under § 101. TT’

‘768 and ‘382 Patents are continuations of the ‘132 Patent and share the same specification as the

patents in suit. (Dkt. 1537 at ¶¶ 56, 63) (Id. at Ex. 7, Ex. 74). Like the ‘411 and ‘996 Patents, they

recite steps of receiving and dynamically displaying market information along a price axis that is

not required to remain static. (Dkt. 1401 at Ex. 7, Ex. 74). After the IBG decision, the Federal

Circuit held that the ‘768 and ‘382 Patents were patent ineligible because they “focus on improving

the trader, not the functioning of the computer.” Trading Techs., 767 F. App'x at 1007; Trading

Techs. Int'l, Inc. v. IBG LLC, 771 F. App'x 493 (Fed. Cir. 2019). Thus, although IBG found that

the ‘411 and ‘996 Patents recited technological innovations for purposes of CBM review, the

Federal Circuit’s subsequent decisions regarding nearly identical patent claims support a finding

of § 101 ineligibility for the ‘411 and ‘996 Patents.

       B. Alice Step Two: Innovative Concept

       As the ‘411 and ‘996 Patents are directed to the abstract idea of placing orders on an

electronic exchange, the Court must also consider whether the elements of the representative

claims, individually and as an ordered combination, recite an innovative concept. The

representative claims of the ‘411 and ‘996 Patents recite steps of (1) receiving information, (2)



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                                             Appx14
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dynamically displaying such information along a price axis on a GUI, and (3) displaying an order

entry region through which traders can place orders with a single action by the trader.

       The mere receipt of information is not innovative. Here, the patents disclose that

“[i]rrespective of what interface a trader uses to enter orders in the market, each market supplies

and requires the same information to and from every trader.” (Dkt. 1120 at Ex. S, Ex. U).

Displaying and plotting information available to all is no more inventive. See Elec. Power, 830

F.3d at 1353. This is particularly so, where “the system of the present invention can be

implemented on any existing or future terminal or device” and “[t]he physical mapping of …

information to a screen grid can be done by any technique known to those skilled in the art” of

trading. (Dkt. 1120 at Ex. S, Ex. U). Finally, as Figure 2 discloses, a one-click order entry region

on a GUI already existed at the time of the claimed invention. (Id.)

       Considering the claim elements together, it is clear by comparing the prior art in Figure 2

and the claimed invention in Figure 3, that the invention merely claims a rearrangement of market

information known to be displayed in a different format. (Id.) While this rearrangement has

benefits over the prior art, the rearrangement is not innovative in that it solves a technical problem.

Cf. CQG, 2015 WL 774655, at *5, affd CGQ, 675 Fed. App’x at 1004 (“[A]t least the ‘static price

axis’ element of the [‘132 and ‘304] patents in suit [i]s an ‘inventive concept’, which eliminated

some problems of prior GUIs relating to speed, accuracy, and usability….”). It is innovative in the

sense that it helps traders place trades more quickly and efficiently. (See Dkt. 1120 at Ex. S, Ex.

U). An analysis of the elements of the representative claims confirms that the subject matter of the

‘411 and ‘996 Patents is ineligible under § 101. For that reason, IBG’s motion for summary

judgment is granted.




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                                              Appx15
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                                        CONCLUSION

       For the foregoing reasons, TT’s Motion for Summary Judgment that the Claims of the

Patents-in-Suit are Patent-Eligible [1359] is granted in part and denied in part. IBG’s Motion for

Summary Judgment of Unpatentability of U.S. Patent Nos. 7,676,411 and 7,813,996 [1387] is

granted.



                                             ____________________________________
                                             Virginia M. Kendall
                                             United States District Judge
Date: June 17, 2021




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                                            Appx16
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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  TRADING TECHNOLOGIES                            )
  INTERNATIONAL, INC.,                            )
                                                  )
                 Plaintiff,                       )     No. 10 C 715
                                                  )
           v.                                     )     Judge Virginia M. Kendall
                                                  )
  IBG LLC, et al,                                 )
                                                  )
                 Defendants.                      )

                                              ORDER

        Before the Court is IBG’s motion to exclude Catherine M. Lawton’s opinion that TT is
entitled to a reasonable royalty of approximately $900 million for IBG’s infringement. (Dkt. 1665).
For the reasons set forth below, IBG’s motion is granted in part and denied in part.

                                       LEGAL STANDARD

        Federal Rule of Evidence 702 permits expert testimony only if: “(a) the expert’s scientific,
technical, or other specialized knowledge will help the trier of fact to understand the evidence or
to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony
is the product of reliable principles and methods; and (d) the expert has reliably applied the
principles and methods to the facts of the case.” Fed. R. Evid. 702. In other words, it is this Court’s
task to “ascertain whether the expert is qualified, whether his or her methodology is scientifically
reliable, and whether the testimony will assist the trier of fact to understand the evidence or to
determine a fact in issue.” Bielskis v. Louisville Ladder, Inc., 663 F.3d 887, 893 (7th Cir. 2011)
(quotations omitted). The expert's proponent bears the burden of demonstrating that the testimony
would satisfy the Daubert standard by a preponderance of the evidence. Gopalratnam v. Hewlett-
Packard Co., 877 F.3d 771, 782 (7th Cir. 2017).

                                           DISCUSSION

          I.     Royalty Base and Rate

        Reasonable royalty damages must reflect “the use made of the invention by the infringer.”
35 U.S.C. § 284. “Where small elements of multi-component products are accused of
infringement, calculating a royalty on the entire product carries a considerable risk that the patentee
will be improperly compensated for non-infringing components of that product.” LaserDynamics,
Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67 (Fed. Cir. 2012). Thus, the damages calculation
“must reflect the value attributable to the infringing features of the product, and no more.”
Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014). “[A]pportionment can



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                                                Appx17
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be addressed in a variety of ways, including ‘by careful selection of the royalty base to reflect the
value added by the patented feature [or] ... by adjustment of the royalty rate so as to discount the
value of a product's non-patented features; or by a combination thereof.”’ Exmark Mfg. Co. Inc. v.
Briggs & Stratton Power Prod. Grp., LLC, 879 F.3d 1332, 1348 (Fed. Cir. 2018) (citing Ericsson,
773 F.3d at 1226). The Court must “exercise[ ] its gatekeeping authority to ensure that only
theories comporting with settled principles of apportionment [a]re allowed to reach the jury.”
Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1328 (Fed. Cir. 2014).

         BookTrader is only one ordering functionality within IBG’s TWS and WebTrader
products. (Dkt. 1668-5 at 25). Every copy of TWS and WebTrader includes BookTrader, such
that a trader has access to BookTrader by virtue of purchasing TWS and WebTrader. (Dkt. 1723-
2 at ¶ 29). IBG maintains Lawton’s royalty calculation must be excluded because it is premised
on a royalty base comprising all TWS and WebTrader users, rather than on the smaller subset of
traders who actually use BookTrader. (Dkt. 1723-2 at ¶¶ 32, 729). Similarly, IBG argues Lawton’s
royalty rate, derived from comparable settlement agreements, is flawed because the royalties in
the agreements contemplated only the licensee’s use of the licensed product, rather than access to
the licensed product along with a broader suite of trading products.

         Contrary to IBG’s assertions, for purposes of apportionment the term “use” is broader than
strict usage and may encompass the value of having access to the infringing product. See Lucent
Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1334 (Fed. Cir. 2009) (“A company licensing a
patented method often has strong reasons not to tie the royalty amount strictly to usage …. [W]ith
some inventions … value is added simply by having the patented invention available for use.”);
see also Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1080–81 (Fed. Cir. 1983)
(approving reasonable royalty not based on actual use of the patented device but on what a party
would have paid to have the device available to use). TT presents evidence that the settlement
agreements encompassed access to the licensed products, in addition to use. (See Dkt. 1723-11 at
¶¶ 1.6, 3.3) (Dkt. 1723-12 at ¶¶ 1.7, 3.2) (Dkt. 1723-13 at ¶¶ 1.7, 3.2) (all providing that licensee
“shall pay to TT a monthly minimum royalty of $50.00 per End User to whom a Licensed Product
is licensed” and defining “End User” as “any individual with direct or indirect access to electronic
trading software….”). There is also some evidence that the licensed products in the agreements
were sold as part of a broader array of trading products. (Dkt. 1723-11 at TTX00031192) (licensee
sells electronic trading software, namely J-Trader and H-Trader, incorporating the licensed DOME
screen product) (Dkt. 1723-12 at TTX0067606) (licensee sells “electronic trading software
incorporating NinjaTrader SuperDOM[,]” the licensed product) (Dkt. 1723-13 at ¶ 13.4) (licensee
sells licensed product “Strategy Runner Pro/Lite with Static Market Panes software…”). Lawton
applied the royalty rate derived from these agreements to a royalty base of all users with access to
BookTrader through TWS and WebTrader. Thus, Lawton’s royalty base and rate are consistent.
To the extent TT takes issue with Lawton’s access-based calculation, that is a matter of weight,
not admissibility, and TT may challenge Lawton’s conclusions at trial.

         II.    Worldwide Damages

       IBG also disputes Lawton’s inclusion of foreign TWS and WebTrader users in her royalty
base. Lawton relies on four theories of infringement to justify her inclusion of foreign users: (1)
making a copy of the accused products via a server located in the United States, (2) use of the



                                                 2
                                               Appx18
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accused products in the United States, (3) sale of the accused products in the United States via the
user’s entry into a Customer Agreement, and (4) making the accused products in the United States
with foreign damages. (Dkt. 1723-2 at ¶ 748). Under the first three theories, the foreign user’s
actions constitute infringement within the United States, entitling TT to damages. Lawton’s final
theory is premised on an “understand[ing] that TT is entitled to worldwide patent damages for
harm that is the foreseeable and but-for result of infringement in the United States.” (Dkt. 1723-2
at ¶ 765). The Court begins by addressing this latter theory.

         Generally, even after establishing one or more acts of infringement in the United States, a
patentee may not recover damages for worldwide sales of the patented invention on the theory that
“those foreign sales were the direct, foreseeable result of [the infringer’s] domestic infringement.”
Power Integrations, Inc. v. Fairchild Semiconductor Int'l, Inc., 711 F.3d 1348, 1371 (Fed. Cir.
2013). In WesternGeco LLC v. ION Geophysical Corp., however, the Supreme Court held that a
patent owner claiming infringement under 35 U.S.C. § 271(f)(2) may recover lost foreign profits
proximately caused by domestic infringement. 138 S. Ct. 2129, 2139 (2018). As this Court has
previously observed, however, the holding in WesternGeco, “is of limited value” to the present
case involving infringement under § 271(a) and reasonable royalty damages. See Trading Techs.
Int'l, Inc. v. IBG LLC, No. 10 C 715, 2020 WL 7408745, at n.2 (N.D. Ill. Dec. 17, 2020). The
Supreme Court and Federal Circuit have not yet held that WesternGeco overruled
PowerIntegrations with respect to infringement under § 271(a), and the Court declines to reach
that conclusion in the absence of such precedent. Lawton’s inclusion of foreign users in her royalty
base premised on a theory of foreseeable foreign consequences of infringement is premised on a
misapplication of controlling law. To the extent her ultimate conclusion relies on this theory, it
must be excluded.

        Lawton’s “making a copy” and “sale” theories, are premised on foreign users downloading
TWS and WebTrader from U.S.-based servers and entering a Customer Agreement as part of the
download process. (Dkt. 1723-2 at ¶¶ 749–751, 754–763). IBG disputes the factual bases for
these theories, but TT has presented sufficient factual material on which Lawton can base her
conclusions. IBG is free to dispute these facts at trial. Moreover, this Court has already resolved
these disputes in TT’s favor when denying IBG’s motion for summary judgment that the activities
of foreign users do not constitute infringement in the United States. (Dkt. 1390). After considering
the terms of the Customer Agreement and the fact that “[a]t least for some foreign users, IBG hosts
TWS BookTrader on servers in the United States[,]” the Court concluded, “TT has presented
sufficient factual detail to give rise to a reasonable inference that the transaction or series of
transactions involved when a foreign user downloads and uses TWS BookTrader is in significant
part a U.S.-based sale or offer to sell.” Trading Techs. Int'l, Inc. v. IBG LLC, No. 10 C 715, 2020
WL 7408745, at *4 (N.D. Ill. Dec. 17, 2020). 1

       Finally, it is unclear how Lawton’s “use” theory applies to foreign users. Lawton does not
explain how foreign users use the accused products in the United States and admitted at her
deposition that the “use” theory does not apply “to the extent [a user’s] physical location is outside

1
  TT only accuses WebTrader BookTrader of infringing the ‘411 and ‘996 Patents (Dkt. 1723-2 at ¶ 396), which are
no longer at issue. See Trading Technologies, Int’l. Inc., v. IBG, LLC, et al., No. 10 C 715, 2021 WL 2473809, at *6–
*8 (N.D. Ill. June 17, 2021) (dismissing ‘411 and ‘996 Patents from suit). Thus, any factual deficiencies with respect
to WebTrader are moot.


                                                          3
                                                       Appx19
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the United States.” (Dkt. 1668-5 at 192). Thus, Lawton’s opinions must also be excluded to the
extent her inclusion of foreign users in the royalty base relies on this theory.

                                      CONCLUSION

      For the foregoing reasons, IBG’s Motion to Exclude Damages Opinions of Catherine M.
Lawton [1665] is granted in part and denied in part.




                                           ____________________________________
                                           Virginia M. Kendall
                                           United States District Judge

Date: July 23, 2021




                                              4
                                           Appx20
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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

     TRADING TECHNOLOGIES                                 )
     INTERNATIONAL, INC.,                                 )
                                                          )
                   Plaintiff,                             )      No. 10 C 715
                                                          )
             v.                                           )      Judge Virginia M. Kendall
                                                          )
     IBG LLC, et al,                                      )
                                                          )
                   Defendants.                            )

                                MEMORANDUM OPINION AND ORDER

         TT’s Third Amended Complaint accused IBG’s BookTrader product of infringing four of

its patents: the ‘304, ‘132, ‘411, and ‘996 patents. (Dkt. 1118). At summary judgment, the Court

held that the ‘411 and ‘996 patents were patent ineligible and granted partial summary judgment

in IBG’s favor. (Dkt. 1971). Following a jury trial on the remaining patents, the jury returned a

verdict in TT’s favor. (Dkt. 2134). The Court entered judgment as follows:

         Jury Deliberations held and completed on 9/7/2021. Jury returns verdict as follows:
         With respect to Question 1 Infringement; Claims 1, 12, 15, 17, 22, 27 as to '304 Patent
         For TT; Claims 1, 7, 8, 25, 51 as to '132 Patent For TT: With respect to Question 2
         Willful Infringement; Finding for IB: With respect to Question 3 Obviousness; Claims
         1, 12, 15, 17, 22, 27 as to '304 Patent For TT; Claims 1, 7, 8, 25, 51 as to '132 Patent
         For TT: With respect to Question 4 Damages; Finding for TT in the amount of
         $6,610,985. Enter Judgment. Civil case terminated.

(Dkt. 2131). IBG now moves to correct or, in the alternative, amend the judgment to include the

Court’s holding that the ‘411 and ‘996 patents were invalid. Fed. R. Civ. P. 60(a); 59(e); (Dkt.

2136). 1 TT also moves to amend the judgment to include prejudgment and post-judgment interest.




1
 IBG initially moved to correct or amend the judgment to include the disposition of all 10 of the patents TT originally
asserted against IBG. (Dkt. 2136). Subsequently, however, IBG narrowed its motion to only the ‘411 and ‘996 patents.
(Dkt. 2156 at fn. 1).


                                                          1
                                                       Appx21
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Fed. R. Civ. P. 59; (Dkt. 2137). For the following reasons, IBG’s motion is denied and TT’s

motion is granted in part and denied in part.

                                      LEGAL STANDARD

       A motion filed under Rule 59(e) is one to alter or amend a judgment. Fed.R.Civ.P. 59(e).

“A motion to alter or amend a judgment under Rule 59(e) may be granted to correct a manifest

error of law or fact.” Duran v. Town of Cicero, 653 F.3d 632, 642 (7th Cir.2011), citing Harrington

v. City of Chicago, 433 F.3d 542, 546 (7th Cir.2006). Similarly, under Rule 60(a), the “court may

correct a clerical mistake or a mistake arising from oversight or omission whenever one is found

in a judgment, order, or other part of the record.” Fed. R. Civ. P. 60(a).

                                          DISCUSSION

I.     IBG’s Motion to Correct or Amend the Judgment

       IBG request the Court correct or amend the judgment to reflect its disposition of the ‘411

and ‘996 patents in its favor.       Judicial opinions granting partial summary judgment are

interlocutory orders that “merge[ ] into a subsequent final judgment.” Crown Packaging Tech.,

Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1311 (Fed. Cir. 2009). For this reason, there is

no need to correct or amend the judgment in this case to reflect the Court’s prior summary

judgment rulings—those decisions are already part of the final judgment. IBG argues “the

principle of merger is inapposite because it relates to appellate jurisdiction over interlocutory

decision, not to motions to correct or amend a judgment.” (Dkt. 2156 at 1). While that is true, the

implication of the rule that interlocutory orders are generally only appealable after final judgment

is that such orders are considered part of the final judgment. See Wingerter v. Chester Quarry Co.,

185 F.3d 657, 662 (7th Cir. 1998) (Final judgment rule does not ‘“permit appeals, even from fully




                                                  2
                                                Appx22
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consummated decisions, where they are but steps towards final judgment in which they will

merge.’”) (quoting Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949)).

       Abbot Labs v. Baxter Healthcare Corp., cited by IBG, is distinguishable. No. 04 C 836,

2010 WL 3894427, at *3 (N.D. Ill. Sept. 30, 2010). There, the defendant filed its motion for

summary judgment prior to filing a counterclaim seeking declaratory judgment that the patent-in-

suit is not infringed. Id. The court granted summary judgment in defendant’s favor on the issue of

infringement, but because a request for declaratory judgement was not included in defendant’s

summary judgment motion, the court did not grant summary judgment as to the declaratory

judgment claim. Id. Under such circumstances, which the court characterized as “a mistake arising

from oversight[,]” the court granted defendant’s motion to amend the judgment to include a

declaratory judgment that defendant did not infringe the patent at issue. Id. Here, there is no

mistake or oversight; all of the parties’ claims have been accounted for. The claims regarding the

‘411 and ‘996 patents were resolved in IBG’s favor at summary judgment and the claims regarding

the ‘132 and ‘304 patents were resolved in TT’s favor at trial. IBG’s motion is denied.

II.    TT’s Motion to Amend

       TT requests the Court amend the judgment to include an award of prejudgment and post-

judgment interest. An award of prejudgment interest is the default rule in patent cases. See e.g.,

Gen. Motors Corp. v. Devex Corp., 461 U.S. 648, 655 (1983) (“In the typical case an award of

prejudgment interest is necessary to ensure that the patent owner is placed in as good a position as

he would have been in had the infringer entered into a reasonable royalty agreement.”); Crystal

Semiconductor Corp. v. TriTech Microelectronics Int'l, Inc., 246 F.3d 1336, 1361 (Fed. Cir. 2001)

(“[P]rejudgment interest [is] the rule, not the exception.”). The Court may, however, decline to

award or limit prejudgment interest in certain circumstances, including when the patentee unduly




                                                 3
                                              Appx23
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delays prosecution. Gen. Motors, 461 U.S. at 657; Crystal, 246 F.3d at 1361. Nonetheless,

“[a]bsent prejudice to the defendants, any delay by the patentee does not support the denial of

prejudgment interest.” Crystal, 246 F.3d at 1361–62 (internal quotations and citation omitted).

       IBG argues TT unduly delayed prosecution when it waited to bring suit for nearly six years,

despite being aware of the infringing BookTrader product in March 2004. IBG presents evidence

that TT’s decision to delay suit was the result of a litigation decision to go after smaller, direct

competitors first before turning to larger brokers such as IBG. (Dkt. 2160 at 3–4) (quoting Trial

Transcript at 733, 4138). This decision sent conflicting messages to IBG regarding the infringing

nature of its BookTrader product. In 2004, TT published an Open Letter to the futures trading

industry informing the industry of its patents and intention to enforce them. (Dkt. 2160 at Ex. D).

At the time, IBG perceived the letter, which explicitly mentioned IBG as a competitor, as a threat

of suit, but when TT did not pursue litigation year after year, despite pursuing litigation against 18

other competitors in 2004 and 2005, (id. at Ex. C), IBG thought TT “was satisfied that we had a

moving price axis and we weren’t violating its patent.” (Dkt. 2167 Ex. C, Nemser Direct at 2756);

see also (Dkt. 2167 Ex. A, Petterfy Direct at 1929) (Q: So when you didn’t hear from TT for six

years, what did you think? A: I thought they had looked into our background, realized who we

were, and they didn’t want to prosecute this any long[er].”).

       Apart from the accrual of prejudgment interest, however, IBG does not adequately

demonstrate how TT’s decision to delay suit caused it actual prejudice. See e.g., Lisle Corp. v. A.J.

Mfg. Co., No. 02 C 7024, 2004 WL 765872, at *1 (N.D. Ill. Apr. 7, 2004) (awarding prejudgment

interest although patentee waited six years to sue where defendant failed to demonstrate prejudice

independent of accrual of prejudgment interest). Accumulation of prejudgment interest will

always occur where there is any delay in prosecution by the patentee. Mere delay, absent




                                                  4
                                               Appx24
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prejudice, however, is insufficient to deny a prevailing patentee prejudgment interest. See e.g.,

Lummus Indus., Inc. v. D.M. & E. Corp., 862 F.2d 267, 275 (Fed. Cir. 1988); Crystal, 246 F.3d at

1361. IBG claims that had TT timely informed it of its infringement allegations, “IB could have

easily altered BookTrader to design around TT’s patents” by switching to an always-centered price

ladder like other competitors or by offering BookTrader as a standalone product. (Dkt. 2160 at 4–

5). This assertion, however, is undercut by the fact that IBG never altered BookTrader to switch

to either of these alleged alternatives even after being sued in 2010.

       Crystal Semiconductor, cited by IBG, is distinguishable. 246 F.3d at 1361–62. There, the

Federal Circuit denied prejudgment interest where the patentee failed to notify the defendant of its

patents, despite having determined that defendants’ product infringed its patents. Id. Notably, the

patentee informed 30–40 other companies of its patents but did not notify defendants until bringing

suit two years later. Id.at 1362. Under these circumstances, the court held that the patentee’s two-

year “delay was self-serving and resulted in prejudice to the defendants.” Id. Unlike the patentee

in Crystal Semiconductor, TT did not attempt to hide its patents from IBG as part of some self-

serving litigation tactic. The 2004 Open Letter explicitly mentioned IBG and IBG was aware of

the letter, as well as TT’s patents. See (Dkt. 2160 at Ex. D); (Dkt. 2167 at Ex. A, Ex. C). Moreover,

IBG was aware of and followed TT’s litigation against other competitors. (Dkt. 2167 Ex. C at

2752–56).

       If prejudgment interest were not the default rule in patent cases, the Court might be more

swayed by IBG’s position, as there was no need, apart from a litigation decision to go after other

competitors first, for TT to delay suit against IBG. See for example, Milwaukee Elec. Tool Corp.

v. Snap-On Inc., 288 F. Supp. 3d 872, 907 (E.D. Wis. 2017) (limiting prejudgment interest where

patentee delayed suit merely due to a litigation decision to sue larger industry players first).




                                                 5
                                               Appx25
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Nonetheless, IBG has failed to demonstrate the sort of bad faith conduct or prejudice warranting

variance from this rule. For this reason, an award of prejudgment interest is justified in this case.

       The parties also disagree as to the amount of prejudgment interest that should be awarded.

Their primary dispute concerns whether the jury’s damages award should be characterized as a

lump-sum payment, in which case, prejudgment interest applies to the entire amount over the 17-

year infringement period, or whether it reflects a running royalty, in which case, prejudgment

interest is applied to each reasonable royalty payment IBG would have paid TT based on its use

of TT’s product.

        Both parties’ damages experts offered damages opinions based on the reasonable royalty

IBG and TT would hypothetically negotiate at the start of the infringement period and their

suggested award amounts were tied to actual use or access to the patented invention. (Trial

Transcript at 1822, 3273). Both experts relied on the same three comparable agreements, each

structured as running royalty arrangement, whereby the licensee would remit royalty payments to

TT on a monthly or quarterly basis based on their use of TT’s patented invention. (Id. at 1676–77,

3352); (Dkt. 2160 at Ex. H–J). Based on the damages testimony offered at trial, it is reasonable to

conclude that the jury’s award most likely reflects a running royalty amount rather than a lumpsum

payment. This conclusion is bolstered by the fact that the jury’s damages award exactly matches

one of the proposed damages amount offered by IBG’s damages expert, who opined that at a

reasonable royalty rate of 10 cents per user in the United States, based on the amount of IB

customers who actually used BookTrader, the damages amount would be $6,610,985. (Trial

Transcript at 3330, 3273).

       Based on TT’s business practices with other licensees, it is reasonable to conclude that had

IBG and TT negotiated a licensing arrangement, IBG would have paid TT royalties on a quarterly




                                                 6
                                               Appx26
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basis 2 based on IBG customers’ use of TT’s product. (Dkt. 2160 at Ex. H–J, L). Critically, TT

would not have received the entire $6,610,985 damages amount in July 2004, because it would not

have known how much IBG’s customers would use its product over the course of the next 17 years.

The purpose of prejudgment interest awards is “to ensure that the patent owner is placed in as good

a position as he would have been in had the infringer entered into a reasonable royalty agreement.”

Gen. Motors, 461 U.S. at 655 (emphasis added). To treat the damages award as a lumpsum and

charge interest on it over the course of the infringement period would overcompensate TT by

awarding it interest on money it would not have yet received. Indeed, the difference in the

lumpsum interest award advocated by TT, $7,334,417, and the running royalty interest award

advocated by IBG, 2,099,171, is telling 3. Awarding interest on royalty payments as TT would

have received them based on IBG’s use of its patented invention is the most accurate way to

compensate TT.

         Next, while the parties agree that the prime rate should be used to calculate interest, they

disagree as to whether the average prime rate or a fluctuating, current prime rate should be used.

In this Circuit, “the best starting point is to award interest at the market rate, which means an

average of the prime rate for the years in question.” Cement Div., Nat'l Gypsum Co. v. City of

Milwaukee, 144 F.3d 1111, 1114 (7th Cir. 1998) (internal quotations and citation omitted)

(emphasis added). While a few courts have veered from this approach by using a fluctuating rate,

see e.g., Ryl-Kuchar v. Care Centers, Inc., 564 F. Supp. 2d 817, 829 (N.D. Ill. 2008) (awarding

prejudgment interest based “on the monthly prime rate set by the Federal Reserve during the

months for which” plaintiff sought interest), the Seventh Circuit has on at least one occasion



2
  The transaction date IBG provided to the jury was based on quarterly amounts. (See Dkt. 2160 at Ex. E).
3
  These numbers represent prejudgment interest calculated at the average prime rate, compounded monthly up until
the date of the Court’s original judgment.


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                                                     Appx27
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suggested that the average rate should be used over a fluctuating, current rate. First Nat. Bank of

Chicago v. Standard Bank & Tr., 172 F.3d 472, fn. 9 (7th Cir. 1999) (“[W]e held that the average

prime rate for the entire time period was the appropriate measure, rather than the current prime

rate.”). Thus, the Court will adhere to the standard approach of utilizing the average prime rate

and amend the final judgment to include an award of prejudgment interest on the jury award of

$6,610,985 at a rate of 4.413% beginning in July 2004 through the date of this Order, compounded

monthly, for a total of $2,122,355. 4

        Finally, IBG does not contest the award of post-judgment interest in this case. Thus, the

final judgment is also amended to include an award of post-judgment interest on the jury award of

at a rate of 0.07% beginning on September 7, 2021, compounded annually. Post-judgment interest

on the pre-judgment interest is also awarded beginning on the date of this Order at a rate of 0.41%,

compounded annually. 5

                                                CONCLUSION

        For the foregoing reasons, IBG’s motion to correct or, in the alternative, amend the

judgment is denied and TT’s motion to amend the judgment is granted in part and denied in part.




                                                     ____________________________________
                                                     Virginia M. Kendall
                                                     United States District Judge

Date: January 11, 2022

4
  The parties agree that the prejudgment interest owed through the date of the Court’s original judgment, September
7, 2021, using the average prime rate, compounded monthly is $$2,099,171. (Dkt. 2160 at fn. 13) (Dkt. 2167 at fn. 2).
A daily rate of $184 per day is then applied through the date of the amended judgment, January 11, 2022, to reach a
total amount of $2,122,355. (Dkt. 2160 at fn. 13).
5
  The applicable post-judgment interest rate is “equal to the weekly average 1-year constant maturity Treasury yield
… for the calendar week preceding the date of the judgment.” 28 U.S.C. § 1961(b). For the week beginning January
3, 2022, the applicable average rate is 0.41%. See Federal Reserve Select Interest Rates,
https://www.federalreserve.gov/releases/h15/.


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                                                      Appx28
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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    HARRIS BRUMFIELD, TRUSTEE FOR                           )
    ASCENT TRUST,                                           )
                                                            )
                   Plaintiff,                               )      No. 10 C 715
                                                            )
              v.                                            )      Judge Virginia M. Kendall
                                                            )
    IB LLC, et al,                                          )
                                                            )
                   Defendants.                              )

                                MEMORANDUM OPINION AND ORDER

         Following a month-long jury trial in this patent infringement action, the jury returned a

verdict in Trading Technologies’(“TT”) 1 favor, finding that IB’s BookTrader product infringed

TT’s ‘304 and ‘132 patents. (Dkt. 2134). The jury awarded TT $6,610,985 in damages. (Id.).

Before the Court is TT’s motion for a new trial on damages and for post-trial damages discovery.

Fed. R. Civ. P. 50(b); Fed. R. Civ. P. 59(a)(1)(A); Fed. R. Civ. P. 60(b)(3). For the following

reasons, TT’s motion (Dkt. 2138) is denied.

                                                 BACKGROUND

    I.   Discussion of Hot Key Framework at Trial

         During discovery and trial, IB maintained that it accurately tracked the amount of customer

trades executed through BookTrader since 2006, which represented only 3–5% of the total trades

made through Trader WorkStation (“TWS”). (Trial Transcript at 370, 2134, 2493, 3239–40, 4116–

17) (Dkt. 2138 at Ex. 3). IB claimed to track orders based on the tool used to submit a given order



1
  Since the completion of trial and the filing of this motion, TT transferred its interest in the patents-in-suit to Harris
Brumfield. (Dkt. 2188). The Court accordingly granted TT’s motion to substitute Mr. Brumfield as the Plaintiff in
this action. (Dkt. 2216). For purposes of consistency and to avoid confusion, however, the Court continues to refer to
TT the Plaintiff.


                                                            1
                                                         Appx29
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to the exchange. Specifically, every tool within TWS, including BookTrader has a unique “order

originator” tag such that orders can be tracked based on each tool. (Id. at 1500, 2197, 2495).

Multiple IB witnesses confirmed the accuracy of the order originator tagging process and the

transactions data derived from it. (Id. at 2199, 2498–99). IB’s damages expert, Brett Reed, relied

on IB’s transaction data to derive a reasonable royalty calculation, which the jury ultimate adopted.

(Trial Transcript at 3330, 3375) (Dkt. 2134).

       At trial, one of IB’s witnesses, Dennis Stetsenko, explained that order originator tagging is

part of a larger “hot key framework.” (Id. at 2494–95) (“the actual tagging part” of the framework

was the “order originator”) (see also id. at 2558) (the “[h]ot key framework is a pathway on how

the order originator gets assigned.”). Stetsenko testified that the hot key framework was a means

to “connect user action, mouse or key stroke, with a tool” such that it allows IB to “track orders

placed from a specific tool.” (Id. at 2494). TT claims this is the first time IB disclosed the hot key

framework and its relation to order tagging.

 II.   Failure to Produce Hot Key Framework

       In August 2019, TT issued the following discovery request to IB:

       [D]ocuments sufficient to show how each category of information stored
       [customers, users, unique login identifiers, transaction data, audit data, logging
       data, or daily stat reports] is generated (including identify any source code files
       present in Trader WorkStation, WebTrader, BookTrader, and any related white-
       branded or white-labeled interfaces, or other programming regardless of where
       such files are present, responsible for logging, tracking, or generating the data)[.]

(Dkt. 2138 at Ex. 12). TT claims the hot key framework source code was responsive to this request,

but that IB withheld it nonetheless.

       IB maintains it produced the hot key framework source code in February 2020, well before

trial. (Dkt. 2162 at Ex. A–B). In a post-trial declaration, Stetsenko explains “there is a specific

code for BookTrader that assigns originators for BookTrader” called the “BookTrader Hot Key



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                                                Appx30
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Code” and a “generic Hot Key Code,” both of which can be found among the source code IB

produced to TT. (Id. at Ex. Q, ¶¶ 6–8). In addition, IB retained a source code expert, Dr. Benjamin

Goldberg, who examined the produced source code and opined that IB did in fact produce the

generic and BookTrader-specific hot key code. (Id. at Ex. R, ¶¶ 13–21). Both Stetsenko and Dr.

Goldberg reference numerous filenames produced with the name “hotkey” in them in support of

their testimony. (Id.); (id. at Ex. Q, ¶¶ 6–8). Dr. Goldberg further opined that the produced code

“includes code relating to ‘originator’ field associations to indicate an order was placed using

BookTrader” and that it is programmed to track such orders accurately. (Id. at Ex. R, ¶¶ 13, 22–

26).

        TT submits a competing declaration from Michael Fenn who maintains that

notwithstanding the appearance of the term “hotkey” in the produced source code, what IB

produced is not a true hot key code showing “the prevailing logic by which TWS assigns originator

tags to orders placed using trading tools in TWS.” (Dkt. 2220 at Ex. B, ¶¶ 6, 12). Fenn admits TT

was aware of the term “hotkey” prior to trial, but that it “had a singular meaning” as “refer[ring]

to the user-definable mapping of actions (such as to buy or sell) on to keystrokes or mouse

clicks….” (Id. at ¶ 10). According to TT, however, the hot key framework as a “tagging

mechanism that TWS uses … to correlate orders submitted within certain TWS tools” was not

disclosed until Stetsenko’s trial testimony. (Id. at ¶ 8).

III.    Tracking Orders via Origination Tool versus Order Entry Tool

        As part of his discussion at trial of IB’s order tracking mechanisms, Stetsenko testified:

        Q: Sir, you talked about IB having a mechanism to track commission—
        commissions attributable to Order Entry tools, right?
        A: Attributable to trading tools, not Order Entry tools.
        Q: To what?
        A: To trading tools.




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                                                Appx31
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       Q: Oh, it tracks more than just Order Entry tools. It’s just trading tools in general,
       right?
       A: So it tracks orders placed from trading tools.
       Q: Okay. But could a trading tool be something that doesn’t allow you to enter
       orders?
       A: Yeah.

(Trial Transcript at 2551–52). In a post-trial declaration from Harris Brumfield, TT proposes a

distinction between a “trading tool,” which is a “tool related to trading” that may “consist of order

entry tools and non-order entry trading tools” and an “order entry tool,” which is a “tool that users

interface with to submit orders.” (Dkt. 2146 at Ex. 24, ¶ 4). TT and Brumfield claim Stetsenko’s

trial testimony revealed for the first time that “IB is tracking orders/trades by trading tools, and not

by order entry tools” and that the hot key framework “is the component of TWS that is responsible

for tracking orders/trades by trading tools in TWS.” (Id. at ¶¶ 6, 12). Brumfield testifies that

“tracking orders/trades by trading tools wiped out a large percentage of BookTrader’s trades, and

gave credit for those trades to other trading tools.” (Id. ¶ 14). Consequently, TT claims the

transactions data IB relied on for its damages calculation is severely flawed. In an effort to verify

its theory, Brumfield conducted a post-trial investigation of stat reports previously produced by IB

and admitted into evidence at trial, which revealed that of the 38 order entry tools identified by IB,

five tools were actually non-order entry tools that nonetheless received credit for orders. (Id. at ¶

7) (Dkt. 2229 at ¶ 9).

       In his post-trial declaration, Stetsenko maintains “Brumfield is wrong—all of the tools he

says are “non-order entry” tools are used by users to place orders. (Dkt. 2162 at Ex. Q, ¶ 22). He

goes on to explain:

       The order entry tools in TWS can largely be categorized in two categories: (a) those
       that are self-contained (i.e. they have their own order entry mechanism); and (b)
       those that are intended for order placement but do not have their own graphical
       order entry mechanism and thus use another IB tool for that purpose (e.g., Mosaic
       Market Dept (aka “Agg Book”)). For the first category, the mechanism of order



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                                                Appx32
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          entry is straightforward; a user simply clicks to place an order or uses the keyboard
          to input an order from that tool. BookTrader belongs to this first category. For the
          second category, because the tools are intended for order placement but do not have
          their own graphical order entry mechanism, IB purposely uses another tool, such as
          the tool Order Entry, for the graphical display that the user can interact with to place
          an order or the user can use the keyboard to input an order. For both categories,
          when an order is placed using the keyboard, the order is correctly tagged with the
          originator tag of the tool it originated from, not any other tool. Similarly, if the
          order is placed using the graphical interface, the order is correctly tagged with the
          originator tag of the tool it originated from.

(Id.) According to Stetsenko, the hot key source code does not contain “a secrete tagging

mechanism that is changing or hiding the true extent of BookTrader use” as TT claims. (Id. at ¶¶

9, 22).

          Brumfield maintains Stetsenko’s explanation confirms that “[f]or IB, ‘originating’ an order

and ‘submitting’ an order are distinct acts” because “[t]he tools in Mr. Stetsenko’s second category

(b) are getting credit for ‘originating’ orders despite users not being able to use them to ‘submit’

orders to the exchange.” (Dkt. 2229 at ¶ 10). He concludes, in a slight alteration of his original

proposition, that “[t]herefore, IB tracks orders and trades by what tools the orders originate from,

not by what tools the orders are submitted from.” (Id.)

IV.       TT’s New Trial Motion

          On October 5, 2021, TT filed the present motion for a new trial and post-trial discovery

premised on IB’s failure to disclose the hot key framework and its presentation of false trial

testimony regarding the way it tracks orders and the accuracy of such orders. (Dkt. 2138). 2




2
  In its opening brief, TT moved for a new trial on willfulness but failed to advance any argument or support for a new
trial on that issue. (See Dkt. 2138). In its reply brief, TT revised its request to a default judgment of willfulness, but
again advances no argument or support for such relief. (See Dkt. 2228). Accordingly, the Court declines to consider
TT’s request for default judgment of willfulness. See e.g., Kelso v. Bayer Corp., 398 F.3d 640, 643 (7th Cir. 2005)
(argument waived where party “failed to cite any legal support or develop any legal argument in support of his
position.”).


                                                            5
                                                        Appx33
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                                       LEGAL STANDARD

         TT moves for relief under Federal Rules of Evidence 50, 59, and 60. Judgment as a matter

of law, and new trial, is appropriate under Rule 50 if no “reasonable jury would have ‘a legally

sufficient evidentiary basis to find for the party on that issue.’” Empress Casino Joliet Corp. v.

Balmoral Racing Club, Inc., 831 F.3d 815, 822 (7th Cir. 2016) (quoting Fed. R. Civ. P. 50). Rule

59 permits the Court to order a new trial “after a jury trial, for any reason for which a new trial has

heretofore been granted in an action at law in federal court.” Fed. R. Civ. P. 59(a)(1)(A). “A new

trial is appropriate if the jury's verdict is against the manifest weight of the evidence or if the trial

was in some way unfair to the moving party.” Venson v. Altamirano, 749 F.3d 641, 656 (7th Cir.

2014).    Under Rule 60(b)(3) “a court may set aside a judgment if a party engaged in fraud,

misrepresentation, or misconduct by an opposing party.” Wickens v. Shell Oil Co., 620 F.3d 747,

758 (7th Cir. 2010) (internal quotations and parentheticals omitted). Relief under Rule 60(b)(3) is

“an extraordinary remedy granted only in exceptional circumstances.” Fields v. City of Chicago,

981 F.3d 534, 558 (7th Cir. 2020) (citation omitted). Fraud, misrepresentation, or misconduct are

the proper bases of a new trial under either Fed. R. Civ. P. 59 or 60. Brandt v. Vulcan, Inc., 30

F.3d 752, 758 (7th Cir. 1994). Thus, for purposes of the present motion, there is no substantive

difference between the standard for new trial under Rule 59 or 60. See e.g., White v. Anthology,

Inc., No. 08 C 1371, 2009 WL 4215096, at *2 (N.D. Ill. Nov. 16, 2009).

                                            DISCUSSION

  I.     Hot Key Code and Order Tracking

         TT maintains it is entitled to a new trial because (1) IB failed to disclose the hot key

framework source code until Stetsenko’s trial testimony and (2) IB and its witnesses falsely

testified at trial that IB accurately tracks orders by order entry tool, when that is not the case. Under




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                                                 Appx34
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Rule 60(b)(3), the moving party “must demonstrate by clear and convincing evidence that: (1) the

party maintained a meritorious claim at trial; and (2) because of the fraud, misrepresentation or

misconduct of the adverse party; (3) the party was prevented from fully and fairly presenting its

case at trial.” Fields, 981 F.3d at 558 (internal quotations and citation omitted). “In considering

these requirements, a court must weigh the competing policy interests of the finality of judgment

against fundamental fairness in light of all of the facts.” Lonsdorf v. Seefeldt, 47 F.3d 893, 897

(7th Cir. 1995). There is no dispute that TT prevailed at trial; the parties only dispute whether IB

engaged in misconduct that prejudiced TT at trial.

       A. Failure to Produce Hot Key Source Code

       “[T]he failure to disclose information within the scope of proper discovery requests can, in

certain circumstances, constitute grounds for a new trial” under Rule 60(b)(3). Brandt, 30 F.3d at

758. “In order to obtain this dramatic relief, the movant must demonstrate both that misconduct

occurred and that it prejudiced him.” Id.

       Here, the evidence indicates TT knew about the hot key framework prior to trial. In his

post-trial declaration, Fenn admits that prior to trial, TT knew of and understood “the term ‘hotkey’

… to refer to the user-definable mapping of actions (such as to buy or sell) onto keystrokes or

mouse clicks….” (Dkt. 2220 at ¶ 10) (citing IB’s produced source code and user documentation).

While TT claims this meaning is categorically different from the hot key framework Stetsenko

disclosed at trial, Stetsenko’s discussion of the hot key framework at trial is entirely consistent

with TT’s understanding of hot keys prior to trial. Stetsenko explained that the hot key framework

is a means to “connect user action, mouse or key stroke, with a tool” such that it allows IB to “track

orders placed from a specific tool.” (Trial Transcript at 2494). Thus, as TT already understood,

the hot key framework is a means of connecting user actions to a mouse or key stroke. While TT




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                                               Appx35
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claims it did not understand the relation hotkeys had to order originator tagging until trial, it fails

to present clear and convincing evidence that this information gap was the result of IB’s

misconduct, rather than its own failure to ask adequate questions during discovery. TT knew IB

implemented a system to connect user actions, such as entering an order, to mouse or key strokes.

Yet, there is no indication TT ever asked why this hotkey system was implemented or whether it

had any connection to order origination. If it had, perhaps TT would have understood, as Stetsenko

testified at trial, that the hot key framework allowed IB to “track orders placed from a specific

tool.” (Id.)

        According to TT, disclosure of the hot key source code prior to trial would have revealed

that IB does not track orders by order entry tool, as IB had otherwise maintained. To verify this

theory, Brumfield “spent hundreds of hours analyzing IB’s entire platform and its numerous tools

to map out tools that do not have order entry mechanisms, but for which IB attributes

orders/trades.” (Dkt. 2228 at 4–5). According to Brumfield, this post-trial investigation revealed

that of the 38 order entry tools identified by IB, five tools were actually non-order entry tools that

received credit for orders. (Dkt. 2146 at Ex. 24, ¶ 7) (Dkt. 2229 at ¶ 9). It is unclear, however,

why this investigation could not have been performed earlier. All of the materials Brumfield relied

on were produced prior to trial and admitted into evidence at trial. (Dkt. 2146 at Ex. 24, ¶¶ 7–8)

(Dkt. 2229 at ¶¶ 8–9). Thus, notwithstanding the hot key code, TT had means prior to trial to

discover that IB may not in fact track orders by order entry tool and it could have crossed IB’s

witnesses about this at trial. For example, Brumfield observes that although an IB witness testified

at trial that Accumulate/Distribute is IB’s “best” and “most advanced tool,” “when we checked the

admitted stat reports, Accumulate/Distribute was only responsible for .08% of IB’s trades form

June 2008–April 2019.” (Dkt. 2229 at ¶ 12). He then concludes, “This enormous discrepancy with




                                                  8
                                                Appx36
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Accumulate/Distribute and its trades demonstrates the lack of correlation between tracking orders

and trades by what tools the orders are submitted from and what tools the orders originate from.”

(Id.) TT, however, knew of Accumulate/Distribute prior to trial and it also had access to the

referenced stat reports prior to trial. (See Trial Transcript at 1982) (referencing Petterfy’s

deposition testimony that “Accumulate Distribute is [IB’s] most important tool.”). Nothing

prevented Brumfield from comparing IB’s assertion that Accumulate/Distribute is its most

valuable tool with the stat reports prior to trial and reaching the same conclusion he reaches post-

trial.

         Similarly, TT points to an excerpt of source code from Blotter, a tool within TWS, and

maintains that it shows “that originators used by IB’s order entry tools … are being overwritten

by IB’s unproduced code and reflect that IB’s data is inaccurate[.]” (Dkt. 2138 at 9); (Dkt. 2140 at

Ex. 15, ¶ 11). TT further cites an email regarding ChartTrader, another tool on a separate platform

(IBKR Mobile), claiming it also supports discrepancies in the way IB tracks its orders. The Blotter

code and ChartTrader email, however, were produced by IB prior to trial and it is not clear how

IB’s alleged failure to disclose the hot key framework prior to trial prevented TT from analyzing

the code or email to determine potential discrepancies in IB’s transactions data. Surely, TT cannot

claim it had no reason to question IB’s assertion that it accurately tracks orders by order entry tool,

because TT vehemently challenged the accuracy of IB’s transaction data at trial. (Trial Transcript

at 4001–06). Once again, TT fails to demonstrate by clear and convincing evidence that IB’s

failure to produce the hot key code, as opposed to its own failure to ferret out information during

discovery, prevented it from fully and fairly litigating its case.

         Ultimately, however, TT failed to present clear and convincing evidence that IB failed to

produce the hot key source code during discovery. IB presents declarations from Stetsenko, an IB




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                                                Appx37
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programmer and software developer who worked on TWS, and Dr. Goldberg, a source code expert.

(Dkt. 2162 at Exs. Q–R). Both individuals reviewed the source code provided by IB to TT and

testified that it contains the generic and BookTrader-specific hot key code. (Id. at Ex. Q, ¶¶ 6–8);

(Id. at Ex. R, ¶¶ 13–21). This position receives support from the numerous filenames produced to

TT with the term “hotkey” in the description. (Id.) TT presents rebuttal testimony from its own

source code expert, Fenn, who opines that notwithstanding the appearance of the term “hotkey” in

the produced source code, “IB has not produced the source code framework that reflects how the

TWS source code actually tags (assigns) a given trade to a TWS tool based on an action taken in

a different tool.” (Dkt. 2220 at Ex. B ¶ 12). In Dr. Goldberg’s expert opinion, however, the

produced code “includes code relating to ‘originator’ field associations to indicate an order was

placed using BookTrader” such that TT could “determine that the originator tags for BookTrader

are associated with Hot Key functionality[.]” (Dkt. 2162 at Ex. R, ¶¶ 13, 19, 22–26). Fenn attempts

to point out multiple technical flaws in Dr. Goldberg’s analysis, (Dkt. 2220 at Ex. B ¶¶ 15–21),

but fails to provide any explanation or analysis of his own for why he believes the produced source

code does not contain a true hot key framework. Thus, even if the Court were to discount Dr.

Goldberg’s testimony, it has no factual basis to credit Fenn’s opinion. At best, there is conflicting

expert testimony regarding whether IB produced the hot key source code, which is insufficient to

satisfy the clear and convincing evidence standard for a new trial. TT’s new trial motion premised

on IB’s discovery misconduct is denied.

       B. False Testimony Regarding Order Tracking

       TT maintains it is also entitled to a new trial because IB’s witnesses falsely testified at trial

that IB accurately tracks BookTrader orders based on what tool is used to submit the order, when

in fact, IB tracks orders based on origination tool. In support of its position, TT cites (1)




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                                               Appx38
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Stetsenko’s trial testimony; (2) Brumfield’s investigation revealing IB credits orders to non-order

entry tools; (3) an email regarding ChartTrader and Blotter source code; and (4) other documents

uncovered post-trial.

       Beginning with Stetsenko’s trial testimony, Stetsenko testified:

       Q: Sir, you talked about IB having a mechanism to track commission—
       commissions attributable to Order Entry tools, right?
       A: Attributable to trading tools, not Order Entry tools.
       Q: To what?
       A: To trading tools.
       Q: Oh, it tracks more than just Order Entry tools. It’s just trading tools in general,
       right?
       A: So it tracks orders placed from trading tools.
       Q: Okay. But could a trading tool be something that doesn’t allow you to enter
       orders?
       A: Yeah.

(Trial Transcript at 2551–52). TT claims this is the first time IB disclosed that it does not track

orders by order entry tool. In his post-trial declaration, however, Stetsenko explains: “I was

making a distinction in my testimony between trading tool and the particular tool in TWS called

‘Order Entry’ which is a trading tool for placing orders.” (Dkt. 2162 at Ex. Q, fn. 3). TT provides

no reason to discredit this explanation and the transcript, which both parties had an opportunity to

review and correct, also capitalizes “Order Entry”, presumably referring to the specific tool, rather

than order entry tools in general.

       Next, Brumfield’s post-trial investigation of IB’s stat reports apparently revealed that of

the 38 order entry tools identified by IB, five tools were actually non-order entry tools that

nonetheless received credit for orders. (Dkt. 2146 at Ex. 24, ¶ 7) (Dkt. 2229 at ¶ 9). In his post-

trial declaration, however, Stetsenko maintains “Brumfield is wrong—all of the tools he says are

“non-order entry” tools are used by users to place orders. (Dkt. 2162 at Ex. Q, ¶ 22). Stetsenko

explains that there are two types of order entry tools in TWS: “(a) those that are self-contained (i.e.




                                                  11
                                                Appx39
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they have their own order entry mechanism); and (b) those that are intended for order placement

but do not have their own graphical order entry mechanism and thus use another IB tool for that

purpose[.]” (Id.) For both categories, “the order is correctly tagged with the originator tag of the

tool it originated from, not any other tool.” (Id.) TT accepts Stetsenko’s explanation, but argues

that it proves that IB tracks orders by origination tool rather than order entry tool. TT seemingly

ignores, however, that BookTrader is in the first category of tools, meaning that for orders placed

through BookTrader the origination tool and order entry tool are the same. (See id.) Brumfield

acknowledges this fact in his declaration: “A tool can both originate and submit an order, which is

the case for tools in category one.” (Dkt. 2229 at ¶ 10). Thus, even if TT is correct that tracking

by origination tool skews IB’s transaction data, any distinction between origination and order entry

tools does not impact BookTrader trades and consequently, cannot establish by clear and

convincing evidence that IB presented false trial testimony regarding the way it tracks such trades.

       Similarly, the ChartTrader email and Blotter code are irrelevant to the manner in which IB

tracks BookTrader trades. ChartTrader and Blotter are separate tools from BookTrader and

ChartTrader is on an entirely separate platform, IBKR Mobile. (Dkt. 2162 at Ex. Q, ¶¶ 11–12).

Further, unlike BookTrader, ChartTrader and Blotter operate akin to the second category of tools

described by Stetsenko in which orders are or can be routed through a separate order entry tool.

(Id. at fn. 5) (orders placed through IBKR Mobile are routed through the separate tool OrderEntry);

(id. at ¶ 12) (Blotter allows orders to be submitted through the separate tool OrderTicket) (see also

Dkt. 2162 at 8). Any discrepancies in order tracking suggested by this evidence cannot establish

by clear and convincing evidence that IB presented false testimony regarding BookTrader order

tracking at trial.   Moreover, as the Court has already explained herein, nothing prevented

Brumfield from performing his investigation or TT analyzing the ChartTrader email and Blotter




                                                 12
                                               Appx40
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code prior to trial and using them to cross IB’s witnesses. Consequently, TT cannot show by clear

and convincing evidence that its alleged inability to fully and fairly litigate its case was caused by

IB’s false testimony, as opposed to the shortcomings in its own trial preparation.

          Finally, TT maintains that since trial, it “has uncovered even more evidence in IB’s 3

million pages of production documents that further demonstrate the falsity of IB’s witnesses’

testimony.” (Dkt. 2228 at 10). By TT’s own admission, it had access to these documents prior to

trial and could have crossed IB’s witnesses regarding any perceived contradictions at trial. That

TT failed to uncover such documents or use them at trial is a result of its own failing, rather than

any misconduct by IB. TT fails to present clear and convincing evidence that IB does not track

BookTrader orders based on order entry tool, and thus, fails to demonstrate that IB presented false

testimony during trial. TT also fails to demonstrate by clear and convincing evidence that IB’s

misconduct, as opposed to it own actions, prejudiced TT. For these reasons, TT’s new trial motion

premised on IB’s false trial testimony is denied.

    II.   Reliance on Noncomparable Agreements

          TT also moves for judgment as a matter of law that because IB improperly relied on

noncomparable settlement agreements the jury’s low damages award was not supported by

substantial evidence. 3 TT maintains that prior to trial, IB’s damages expert Brett Reed, opined

that only three agreements were comparable to the July 2004 hypothetical negotiation (Patsystems,

NinjaTrader; and Strategy Runner), but during trial testified that as many as 35 agreements were

comparable to the hypothetical negotiation. (See Trial Transcript at 3198, 3208–13). According




3
  TT seemingly abandons this argument, as well as its argument regarding foreign damages addressed below, in its
reply brief. (See Dkt. 2228). Arguments abandoned in a reply brief are generally deemed waived. See e.g., United
States v. Farris, 532 F.3d 615, 619 (7th Cir. 2008). In an effort to be thorough, however, the Court briefly addresses
them nonetheless.


                                                         13
                                                       Appx41
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to TT, this “surprise attack was contrary to law, because IB never showed—before trial or during

trial—that any agreement but the three mentioned above were comparable.” (Dkt. 2138 at 13).

         TT raised this exact issue during trial. (See Dkt. 2092). Rejecting TT’s motion to prevent

Reed from relying on these alleged noncomparable agreements, the Court observed:

         TT argues Reed cannot rely on noncomparable licensing agreements, i.e., those
         other than the PatSystems, Strategy Runner, and NinjaTrader agreements, to
         support his reasonable royalty assessment. As a threshold matter, this issue should
         have been raised in a Daubert motion, the deadline for which has long passed.
         Regardless, Reed does not use the agreements to support his ultimate reasonable
         royalty assessment. Rather, the agreements are used to show that the $50 minimum
         and 10 cent royalty Lawton used in her royalty assessment are flawed. TT also
         argues that the manner in which Reed seeks to rely on the agreements was not
         disclosed in his report. Reed's demonstrative slides indicate he will use the
         agreements to show that other competitors did not agree to pay a $50
         minimum/monthly fee or a 10 cent royalty. These opinions were adequately
         disclosed in Reed's report. (See Dkt. 2099-2 at 194–196).

(Dkt. 2102).

         The Court reiterates that Reed disclosed the relevance of the 35 agreements in his expert

report, including tabs detailing the particulars of each agreement, well before trial. (Dkt. 2140 Ex.

21 at 194–96). Specifically, Reed used the agreements to provide context for his opinion that the

10 cent running royalty rate and $50 minimum monthly fee that Lawton used for her royalty rate

are flawed. Id. This testimony is consistent with Reed’s trial testimony. (See Trial Transcript at

3209–11, 3326–27, 3353–54). There was no surprise to TT here—it was on notice of Reed’s view

that other agreements were comparable and relevant for purposes of evaluating the competing

royalty rates advanced by the parties. 4



4
  It is notable that while the jury seemingly accepted Reed’s view that the $50 monthly minimum fee should not be
included as part of the royalty calculation, the jury rejected his view that a 5 cent royalty rate was appropriate, opting
instead to award damages at the 10 cent royalty rate advanced by Lawton. Compare (Dkt. 2134) (jury award of
$6,610,985) with (Trial Transcript at 3330, 3273) (Reed testifying that at a reasonable royalty rate of 10 cents per user
in the United States, based on the amount of IB customers who actually used Book Trader, the damages amount would
be $6,610,985). Thus, the effect of testimony about these other agreements was not as harmful to TT’s position as it
advances.


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                                                        Appx42
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       TT takes particular issue with IB’s use of the TD Ameritrade agreement at trial. TT moved

to prevent Reed from testifying about the TD Ameritrade agreement in a Daubert motion. (Dkt.

1666). The Court found the issue was moot given that Reed relied on the agreement to support his

conclusions regarding the 2010 hypothetical negotiation, which, at the time of the Court’s ruling,

was outside the scope of the case. (See Dkt. 1987 at 2). During trial, the Court prevented Reed

from discussing this agreement in the context of the 2004 hypothetical negotiation, finding Reed

had not adequately disclosed the relevance of the TD Ameritrade agreement to the 2004

negotiation. (See Trial Transcript at 3312). Notwithstanding this ruling, the Court allowed IB to

argue the TD Ameritrade agreement’s comparability during closing arguments given testimony

from other witnesses at trial about the agreement, including TT’s damages expert, Catherine

Lawton. (See id. at 4015) (see also id. at 1116, 1186, 1224–25, 1791–93). Testimony regarding

the comparability of the TD Ameritrade agreement, as well as the other licensing agreements, was

highly relevant to two of the four Georgia-Pacific factors used to determine a reasonable royalty:

“[t]he royalties received by the patent owner for the licensing of the patent-in-suit” and “[t]he

licensor’s established policy and marketing program to maintain its patent monopoly by not

licensing others to use the invention or by granting licenses under special conditions designed to

preserve that monopoly.” Georgia-Pac. Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120

(S.D.N.Y. 1970). Although TT disputed the comparability of these agreements, it did not present

evidence that the license agreements were “radically different from the hypothetical agreement

under consideration” such that they warranted exclusion. Uniloc USA, Inc. v. Microsoft Corp.,

632 F.3d 1292, 1316 (Fed. Cir. 2011) (internal quotations and citation omitted). TT had the

opportunity to, and did in fact, cross IB’s witnesses regarding these agreements and further

presented affirmative evidence regarding their noncomparability. (See Trial Transcript at 3353–




                                               15
                                             Appx43
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58, 3736–39). Contrary to TT’s assertion, IB’s reliance on the agreements was well disclosed and

the Court did not err in permitting such testimony at trial.

III.       Foreign Damages

           Finally, TT moves for judgment as a matter of law that TT may recover for foreign damages

proximately caused by IB’s domestic infringement. 5 TT’s damages expert, Catherine Lawton,

opined in her expert report that IB’s foreign conduct of distributing the infringing BookTrader tool

to customers outside the United States was the direct, foreseeable result of IB’s domestic acts of

infringements, i.e. making BookTrader at its headquarters in the United States. (Dkt. 2138 at Ex.

23, ¶ 768). In response to a Daubert motion filed by IB, the Court excluded Ms. Lawton’s opinion

on this issue:

           Generally, even after establishing one or more acts of infringement in the United
           States, a patentee may not recover damages for worldwide sales of the patented
           invention on the theory that “those foreign sales were the direct, foreseeable result
           of [the infringer’s] domestic infringement.” Power Integrations, Inc. v. Fairchild
           Semiconductor Int'l, Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013). In WesternGeco
           LLC v. ION Geophysical Corp., however, the Supreme Court held that a patent
           owner claiming infringement under 35 U.S.C. § 271(f)(2) may recover lost foreign
           profits proximately caused by domestic infringement. 138 S. Ct. 2129, 2139 (2018).
           As this Court has previously observed, however, the holding in WesternGeco, “is
           of limited value” to the present case involving infringement under § 271(a) and
           reasonable royalty damages. See Trading Techs. Int'l, Inc. v. IB LLC, No. 10 C 715,
           2020 WL 7408745, at n.2 (N.D. Ill. Dec. 17, 2020). The Supreme Court and Federal
           Circuit have not yet held that WesternGeco overruled PowerIntegrations with
           respect to infringement under § 271(a), and the Court declines to reach that
           conclusion in the absence of such precedent. Lawton’s inclusion of foreign users in
           her royalty base premised on a theory of foreseeable foreign consequences of
           infringement is premised on a misapplication of controlling law. To the extent her
           ultimate conclusion relies on this theory, it must be excluded.

(Dkt. 1984 at 3). TT argues the “Court’s Daubert ruling was harmful error because the jury was

precluded from hearing Ms. Lawton’s opinion that, under WesternGeco, the activities of foreign

residents caused foreseeable injury to TT arising from IB’s domestic infringement.” (Dkt. 2138 at


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    TT also abandoned this argument in its reply brief. (See Dkt. 2228); see supra note 3.


                                                           16
                                                         Appx44
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14). The legal landscape since this Court’s Daubert opinion, however, has not changed. While

some courts have extended the reasoning in WesternGeco to § 271(a) infringement, see e.g.,

CelaNova Biosciences Inc., No. 1:18-CV-303-LY, 2020 WL 1644003, at *3 (E.D. Tex. April 2,

2020), there is still no federal precedent holding that WesternGeco overruled previous Federal

Circuit precedent with respect to damages available for § 271(a) infringement.              Notably,

infringement under § 271(f), unlike infringement under § 271(a), explicitly contemplates limited

foreign activities that are actionable in the United States. (See 35 U.S.C. § 271(f)). Several courts

to consider the issue have agreed that Power Integrations and its progeny remain binding precedent

even after WesternGeco. See e.g., LC Intell. Prop. v. Micron Tech., Inc., No. 14-cv-03657, 2019

WL 2437073, at *3 (N.D. Cal. June 11, 2019) (“[W]hether … [WesternGeco] implicitly overruled

[Power Integrations] remains to be seen, but at this time controlling law holds that [plaintiff] may

not seek damages under § 271(a) based on [defendant]’s wholly foreign sales.”); Abbott

Cardiovascular Sys., Inc. v. Edwards Lifesciences Corp., No. CV 19-149 (MN), 2019 WL

2521305, at *18 (D. Del. June 6, 2019); Kajeet, Inc. v. Qustodio, LLC, No. SA CV 18-1519-JAK

(PLAX),2019 WL 8060078, at *13 (C.D. Cal. Oct. 22, 2019); California Inst. of Tech. v.

Broadcom Ltd., No. CV 16-3714-GW(AGRX), 2019 WL 11828237, at *5 (C.D. Cal. June 17,

2019). For these reasons, the Court’s Daubert ruling excluding testimony regarding entirely

foreign sales and resultant damages remains sound.

                                          CONCLUSION

       For the foregoing reasons, TT’s motion for new trial [2138] is denied.



                                              ____________________________________
                                              Virginia M. Kendall
                                              United States District Judge
Date: February 22, 2022



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                                               Appx45
                       Case: 22-1630                           Document: 18                                                Page: 144                    Filed: 08/27/2022


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             (12)    United States Patent                                                                                     (10) Patent No.:                   US 6,772,132 Bl
                     Kemp, II et al.                                                                                          (45) Date of Patent:                          Aug. 3, 2004


             (54)     CLICK BASED TRADING WITH INTUITIVE                                                                          5,845,266 A       12/1998 Lupien et al. ................ 705/37
                      GRID DISPLAY OF MARKET DEPTH                                                                                5,915,245 A        6/1999 Patterson, Jr. et al. ........ 705/35
                                                                                                                                  5,924,082 A        7/1999 Silverman et al. ............ 705/37
             (75)     Inventors: Gary Allan Kemp, II, Winnetka, IL
                                                                                                                                              (List continued on next page.)
                                 (US); Jens-Uwe Schluetter, Evanston,
                                 IL (US); Harris Brumfield, Chicago,                                                                        FOREIGN PATENT DOCUMENTS
                                 IL (US)
                                                                                                                         JP                 WO 99/30259    * 6/1999
             (73)     Assignee: Trading Technologies International,                                                      WO                 WO 95/26005 Al    9/1995
                                Inc., Chicago, IL (US)                                                                   WO                 WO 98/49639      11/1998
                                                                                                                         WO                 WO 99/19821       4/1999
             ( *)     Notice:       Subject to any disclaimer, the term of this                                          WO                 WO 99/30259 Al    6/1999
                                    patent is extended or adjusted under 35                                              WO                 WO 99/53424      10/1999
                                    U.S.C. 154(b) by 245 days.                                                           WO                 WO 00/52619       9/2000
                                                                                                                         WO                 WO 00/62187      10/2000
                                                                                                                         WO                 WO 00/65510      11/2000
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                                                                                                                         WO                 WO 01/16830       3/2001
             (22)     Filed:        Jun. 9, 2000                                                                         WO                 WO 01/16852       3/2001
                                                                                                                         WO                 WO 01/22315       3/2001
                                Related U.S. Application Data                                                            WO                 WO 01/88808      11/2001
             ( 60)    Provisional application No. 60/186,322, filed on Mar. 2,
                      2000.                                                                                                                     OTHER PUBLICATIONS
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             (51)     Int. Cl.7 ................................................ G06F 17/60
                                                                                                                         (viewed May 22, 2001), <Jun. 9, 2000.*
             (52)     U.S. Cl. ............................. 705/37; 705/35; 705/36;                                     Kharouf, A trading room with a view, Fututes, 27,11, Nov.
                                                                                                                         1998.*
                                               705/37; 705/10; 705/14; 345/814
                                                                                                                         USPTO Presentation, NASDAQ, Nov. 8, 2001, enclosed pp.
             (58)     Field of Search .............................. 705/35, 36, 37,                                     1-13.
                                                              705/10, 14; 345/814
                                                                                                                         Primary Examiner-Richard Weisberger
             (56)                       References Cited                                                                 (74) Attorney, Agent, or Firm-Foley & Lardner
                                U.S. PATENT DOCUMENTS                                                                    (57)                         ABSTRACT
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                                                                                                                         A method and system for reducing the time it takes for a
                     4,750,135 A         6/1988     Boilen ........................ 364/514
                     4,903,201 A         2/1990     Wagner                                                               trader to place a trade when electronically trading on an
                     5,038,284 A         8/1991     Kramer ...................... 364/408                                exchange, thus increasing the likelihood that the trader will
                     5,077,665 A        12/1991     Silverman et al.                                                     have orders filled at desirable prices and quantities. The
                     5,101,353 A         3/1992     Lupien et al.                                                        "Mercury" display and trading method of the present inven-
                     5,136,501 A         8/1992     Silverman et al.                                                     tion ensure fast and accurate execution of trades by display-
                     5,270,922 A        12/1993     Higgins ...................... 364/408                               ing market depth on a vertical or horizontal plane, which
                     5,297,031 A         3/1994     Gutterman et al. ......... 364/408                                   fluctuates logically up or down, left or right across the plane
                     5,297,032 A         3/1994     Trojan et al. ............... 364/408                                as the market prices fluctuates. This allows the trader to trade
                     5,689,651 A        11/1997     Lozman ...................... 395/237
                                                                                                                         quickly and efficiently.
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                     5,797,002 A         8/1998     Patterson, Jr. et al. ...... 395/611                                                      56 Claims, 6 Drawing Sheets


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TT v. IB (10-cv-715)                                                                                                                                                                           PTX00002.0001
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                  Case: 22-1630                    Document: 18                       Page: 145           Filed: 08/27/2022




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                 Case: 22-1630                        Document: 18                  Page: 146                    Filed: 08/27/2022




             U.S. Patent                           Aug. 3, 2004               Sheet 1 of 6                                        US 6,772,132 Bl




                         FIG. 1
                                                      CONNECTION TO MULTIPLE EXCHANGES

                                 HOST EXCHANGE                      HOST EXCHANGE                                HOST EXCHANGE
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TT v. IB (10-cv-715)                                                                                                                                                                                    PTX00002.0003
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             U.S. Patent                Aug. 3, 2004                    Sheet 3 of 6             US 6,772,132 Bl



                       FIG. 3
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TT v. IB (10-cv-715)                                                                                             PTX00002.0005
                                                               Appx409
                 Case: 22-1630      Document: 18             Page: 149     Filed: 08/27/2022




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                        FIG. 4
                            SYCOM FGBL DEC99                           EJ[O][KI

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TT v. IB (10-cv-715)                                                                           PTX00002.0006
                                                     Appx410
                 Case: 22-1630           Document: 18                Page: 150       Filed: 08/27/2022




             U.S. Patent               Aug. 3, 2004              Sheet 5 of 6             US 6,772,132 Bl


                                   FIG. 5
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TT v. IB (10-cv-715)                                                                                     PTX00002.0007
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          TT v. IB (10-cv-715)
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                                    FIG. 6                                             THIS WILL ADD UP THE QUANTITIES                                          ~
                                                                                       FOR EACH ORDER IN THE MARKET                                             ~
                                                                                       THAT WOULD FILL THE ORDER BEING         TRADER HAS MARKET                ......
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                                                             ALL QUANTITIES IN                                                 SET QUANTITY VALUES
                                                                                                                                                                         Case: 22-1630




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                     Case: 22-1630                    Document: 18                  Page: 152               Filed: 08/27/2022




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                 CLICK BASED TRADING WITH INTUITIVE                                The world's stock, bond, futures and options exchanges
                    GRID DISPLAY OF MARKET DEPTH                                have volatile products with prices that move rapidly. To
                                                                                profit in these markets, traders must be able to react quickly.
                                       PRIORITY                                 A skilled trader with the quickest software, the fastest
                The present application claims priority to a U.S. Provi-        communications, and the most sophisticated analytics can
             sional Patent Application No. 60/186,322 entitled "Market          significantly improve his own or his firm's bottom line. The
             Depth Display Click Based Trading and Mercury Display"             slightest speed advantage can generate significant returns in
             filed Mar. 2, 2000, the contents of which are incorporated         a fast moving market. In today's securities markets, a trader
             herein by reference.                                               lacking a technologically advanced interface is at a severe
                                                                             10 competitive disadvantage.
                                FIELD OF INVENTION
                                                                                   Irrespective of what interface a trader uses to enter orders
                The present invention is directed to the electronic trading     in the market, each market supplies and requires the same
             of commodities. Specifically, the invention provides a trader      information to and from every trader. The bids and asks in
             with a versatile and efficient tool for executing trades. It       the market make up the market data and everyone logged on
             facilitates the display of and the rapid placement of trade 15 to trade can receive this information if the exchange pro-
             orders within the market trading depth of a commodity,             vides it. Similarly, every exchange requires that certain
             where a commodity includes anything that can be traded             information be included in each order. For example, traders
             with quantities and/or prices.                                     must supply information like the name of the commodity,
                       BACKGROUND OF THE INVENTION                              quantity, restrictions, price and multiple other variables.
                                                                             20 Without all of this information, the market will not accept
                At least 60 exchanges throughout the world utilize elec-        the order. This input and output of information is the same
             tronic trading in varying degrees to trade stocks, bonds,          for every trader.
             futures, options and other products. These electronic
             exchanges are based on three components: mainframe com-               With these variables being constant, a competitive speed
             puters (host), communications servers, and the exchange 25 advantage must come from other aspects of the trading
             participants' computers (client). The host forms the elec-         cycle. When analyzing the time it takes to place a trade order
             tronic heart of the fully computerized electronic trading          for a given commodity, various steps contribute in different
             system. The system's operations cover order-matching,              amounts to the total time required. Approximately 8% of the
             maintaining order books and positions, price information,          total time it takes to enter an order elapses between the
             and managing and updating the database for the online 30 moment the host generates the price for the commodity and
             trading day as well as nightly batch runs. The host is also        the moment the client receives the price. The time it takes for
             equipped with external interfaces that maintain uninter-           the client application to display the price to the trader
             rupted online contact to quote vendors and other price             amounts to approximately 4%. The time it takes for a trade
             information systems.                                               order to be transmitted to the host amounts to approximately
                                                                                8%. The remainder of the total time it takes to place an order,
                Traders can link to the host through three types of 3 5
                                                                                approximately 80%, is attributable to the time required for
             structures: high speed data lines, high speed communica-
                                                                                the trader to read the prices displayed and to enter a trade
             tions servers and the Internet. High speed data lines establish
                                                                                order. The present invention provides a significant advan-
             direct connections between the client and the host. Another
                                                                                tage during the slowest portion of the trading cycle-while
             connection can be established by configuring high speed
                                                                                the trader manually enters his order. Traders recognize that
             networks or communications servers at strategic access 40
                                                                                the value of time savings in this portion may amount to
             points worldwide in locations where traders physically are
                                                                                millions of dollars annually.
             located. Data is transmitted in both directions between
             traders and exchanges via dedicated high speed communi-               In existing systems, multiple elements of an order must be
             cation lines. Most exchange participants install two lines         entered prior to an order being sent to market, which is time
             between the exchange and the client site or between the 4 5 consuming for the trader. Such elements include the com-
             communication server and the client site as a safety measure       modity symbol, the desired price, the quantity and whether
             against potential failures. An exchange's internal computer        a buy or a sell order is desired. The more time a trader takes
             system is also often installed with backups as a redundant         entering an order, the more likely the price on which he
             measure to secure system availability. The third connection        wanted to bid or offer will change or not be available in the
             utilizes the Internet. Here, the exchange and the traders 5 0 market. The market is fluid as many traders are sending
             con_1municate back and forth through high speed data lines,        orders to the market simultaneously. It fact, successful
             which are connected to the Internet. This allows traders to be     markets strive to have such a high volume of trading that any
             located anywhere they can establish a connection to the            trader who wishes to enter an order will find a match and
             Internet.                                                          have the order filled quickly, if not immediately. In such
                Irrespective of the way in which a connection is 55 liquid markets, the prices of the commodities fluctuate
             established, the exchange participants' computers allow            rapidly. On a trading screen, this results in rapid changes in
             traders to participate in the market. They use software that       the price and quantity fields within the market grid. If a
             creates specialized interactive trading screens on the traders'    trader intends to enter an order at a particular price, but
             desktops. The trading screens enable traders to enter and          misses the price because the market prices moved before he
             execute orders, obtain market quotes, and monitor positions. 60 could enter the order, he may lose hundreds, thousands, even
             The range and quality of features available to traders on their    millions of dollars. The faster a trader can trade the less
                                                                                likely it will be that he will miss his price and the m;re likely
             screens varies according to the specific software application
             being run. The installation of open interfaces in the devel-       he will make money.
             opment of an exchange's electronic strategy means users can
                                                                                   SUMMARY OF THE INVENTION
             choose, depending on their trading style and internal 65
             requirements, the means by which they will access the         The inventors have developed the present invention which
             exchange.                                                   overcomes the drawbacks of the existing trading systems




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             and dramatically reduces the time it takes for a trader to           and transmit market, commodity, and trading order infor-
             place a trade when electronically trading on an exchange.            mation. It is able to interact with the trader and to generate
             This, in turn, increases the likelihood that the trader will         contents and characteristics of a trade order to be sent to the
             have orders filled at desirable prices and quantities.               exchange. It is envisioned that the system of the present
                The "Mercury" display and trading method of the present           invention can be implemented on any existing or future
                                                                                  terminal or device with the processing capability to perform
             invention ensure fast and accurate execution of trades by
                                                                                  the functions described herein. The scope of the present
             displaying market depth on a vertical or horizontal plane,
                                                                                  invention is not limited by the type of terminal or device
             which fluctuates logically up or down, left or right across the
                                                                                  used. Further, the specification refers to a single click of a
             plane as the market prices fluctuates. This allows the trader
             to trade quickly and efficiently.                                 10 mouse as a means for user input and interaction with the
                                                                                  terminal display as an example of a single action of the user.
                Specifically, the present invention is directed to a graphi-      While this describes a preferred mode of interaction, the
             cal user interface for displaying the market depth of a              scope of the present invention is not limited to the use of a
             commodity traded in a market, including a dynamic display            mouse as the input device or to the click of a mouse button
             for a plurality of bids and for a plurality of asks in the market    as the user's single action. Rather, any action by a user
             for the commodity and a static display of prices correspond- 15 within a short period of time, whether comprising one or
             ing to the plurality of bids and asks. In this embodiment the        more clicks of a mouse button or other input device, is
             pluralities of bids and asks are dynamically displayed in            considered a single action of the user for the purposes of the
             alignment with the prices corresponding thereto. Also                present invention.
             described herein is a method and system for placing trade               The system can be configured to allow for trading in a
                                                                               20
             orders using such displays.                                          single or in multiple exchanges simultaneously. Connection
                These embodiments, and others described in greater detail         of the system of the present invention with multiple
             herein, provide the trader with improved efficiency and              exchanges is illustrated in FIG. 1. This figure shows multiple
             versatility in placing, and thus executing, trade orders for         host exchanges 101-103 connected through routers 104--106
             commodities in an electronic exchange. Other features and 25 to gateways 107-109. Multiple client terminals 110-116 for
             advantages of the present invention will become apparent to          use as trading stations can then trade in the multiple
             those skilled in the art from the following detailed descrip-        exchanges through their connection to the gateways
             tion. It should be understood, however, that the detailed            107-109. When the system is configured to receive data
             description and specific examples, while indicating pre-             from multiple exchanges, then the preferred implementation
             ferred embodiments of the present invention, are given by 30 is to translate the data from various exchanges into a simple
             way of illustration and not limitation. Many changes and             format. This "translation" function is described below with
             modifications within the scope of the present invention may          reference to FIG. 1. An applications program interface ("TT
             be made without departing from the spirit thereof, and the           API" as depicted in the figure) translates the incoming data
             invention includes all such modifications.                           formats from the different exchanges to a simple preferred
                                                                               35 data format. This translation function may be disposed
                    BRIEF DESCRIPTION OF THE DRAWINGS
                                                                                  anywhere in the network, for example, at the gateway server,
                FIG. 1 illustrates the network connections between mul-           at the individual workstations or at both. In addition, the
             tiple exchanges and client sites;                                    storage at gateway servers and at the client workstations,
                FIG. 2 illustrates screen display showing the inside mar-         and/or other external storage cache historical data such as
             ket and the market depth of a given commodity being traded; 40 order books which list the client's active orders in the
                                                                                  market; that is, those orders that have neither been filled nor
                FIG. 3 illustrates the Mercury display of the present
                                                                                  cancelled. Information from different exchanges can be
             invention;
                                                                                  displayed at one or in multiple windows at the client
                FIG. 4 illustrates the Mercury display at a later time            workstation. Accordingly, while reference is made through
             showing the movement of values when compared to FIG. 3;
                                                                               45 the remainder of the specification to a single exchange to
                FIG. 5 illustrates a Mercury display with parameters set in       which a trading terminal is connected, the scope of the
             order to exemplify the Mercury trading method; and                   invention includes the ability to trade, in accordance with the
                FIG. 6 is a flowchart illustrating the process for Mercury        trading methods described herein, in multiple exchanges
             display and trading.                                                 using a single trading terminal.
                                                                               50    The preferred embodiments of the present invention
                         DETAILED DESCRIPTION OF THE
                                                                                  include the display of "Market Depth" and allow traders to
                            PREFERRED EMBODIMENTS
                                                                                  view the market depth of a commodity and to execute trades
                As described with reference to the accompanying figures,          within the market depth with a single click of a computer
             the present invention provides a display and trading method          mouse button. Market Depth represents the order book with
             to ensure fast and accurate execution of trades by displaying 55 the current bid and ask prices and quantities in the market.
             market depth on a vertical or horizontal plane, which fluc-          In other words, Market Depth is each bid and ask that was
             tuates logically up or down, left or right across the plane as       entered into the market, subject to the limits noted below, in
             the market prices fluctuates. This allows the trader to place        addition to the inside market. For a commodity being traded,
             trade orders quickly and efficiently. A commodity's market           the "inside market" is the highest bid price and the lowest
             depth is the current bid and ask prices and quantities in the 60 ask price.
             market. The display and trading method of the invention                 The exchange sends the price, order and fill information
             increase the likelihood that the trader will be able to execute      to each trader on the exchange. The present invention
             orders at desirable prices and quantities.                           processes this information and maps it through simple
                In the preferred embodiment, the present invention is             algorithms and mapping tables to positions in a theoretical
             implemented on a computer or electronic terminal. The 65 grid program or any other comparable mapping technique
             computer is able to communicate either directly or indirectly        for mapping data to a screen. The physical mapping of such
             (using intermediate devices) with the exchange to receive            information to a screen grid can be done by any technique




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             known to those skilled in the art. The present invention is not    reproduced herein. Some abbreviations have been discussed
             limited by the method used to map the data to the screen           above. A list of common abbreviations and their meanings is
             display.                                                           provided in Table 1.
                How far into the market depth the present invention can
             display depends on how much of the market depth the                                          TABLE I
             exchange provides. Some exchanges supply an infinite mar-
             ket depth, while others provide no market depth or only a                                   Abbreviations
             few orders away from the inside market. The user of the
                                                                                      COLUMN                DESCRIPTION
             present invention can also chose how far into the market
             depth to display on his screen.                                 10       Month                 Expiration Month/Year
                FIG. 2 illustrates a screen display of an invention                   Bid Mbr(i)            Bid Member ID
             described in a commonly owned co-pending application                     WrkBuys(2 )           Working Buys for entire Group
                                                                                                            ID
             entitled "Click Based Trading with Market Depth Display"                 BidQty                Bid Quantity
             Ser. No. 09/589,751, filed on Jun. 9, 2000, the contents of              ThrshBid(o)           Threshold Bid Price
             which are incorporated herein by reference. This display                 BidPrc                Bid Price
                                                                             15
             shows the inside market and the market depth of a given                  Bid Qty Accum         Accumulated Bid Quantity
             commodity being traded. Row 1 represents the "inside                     BidPrc   Avg          Bid Price Average
                                                                                      AskPrcAvg             Ask Price Average
             market" for the commodity being traded which is the best                 AskQty Accum          Accumulated Ask Quantity
             (highest) bid price and quantity and the best (lowest) ask               AskPrc                Ask Price
             price and quantity. Rows 2-5 represent the "market depth"                ThrshAsk(o)           Threshold Ask Price
             for the commodity being traded. In the preferred embodi- 20              AskQty                Ask Quantity
             ment of the present invention, the display of market depth               WrkSells( 2 )         Working Sells for entire Group
             (rows 2-5) lists the available next-best bids, in column 203,                                  ID
                                                                                      AskMbr(i)             Ask Member ID
             and asks, in column 204. The working bid and ask quantity                NetPos                Net Position
             for each price level is also displayed in columns 202 and 205            FFNetPos              Fast Fill Net Position
             respectively (inside market-row 1). Prices and quantities 25             LastPrc               Last Price
             for the inside market and market depth update dynamically                LastQty               Last Quantity
             on a real time basis as such information is relayed from the             Total                 Total Traded Quantity
                                                                                      High                  High Price
             market.                                                                  Low                   Low Price
                In the screen display shown in FIG. 2, the commodity                  Open                  Opening Price
             ( contract) being traded is represented in row 1 by the 30               Close                 Closing Price
             character string "CDHO". The Depth column 208 will                       Chng                  Last Price-Last Close
                                                                                      TheoPrc               Theoretical Price
             inform the trader of a status by displaying different colors.            TheoBid               Theoretical Bid Price
             Yellow indicates that the program application is waiting for             TheoAsk               Theoretical Ask Price
             data. Red indicates that the Market Depth has failed to                  QAct                  Quote Action (Sends
             receive the data from the server and has "timed out." Green 35                                 individual quotes)
                                                                                      BQQ                   Test Bid Quote Quantity
             indicates that the data has just been updated. The other                 BQP                   Test Bid Quote Price
             column headings in this and all of the other figures, are                MktBQQ                Market Bid Quote Quantity
             defined as follows. BidQty (Bid Quantity): the quantity for              MktBQP                Market Bid Quote Price
             each working bid, BidPrc (Bid Price): the price for each                 Quote                 Checkbox activates/deactivates
                                                                                                            contract for quoting
             working bid, AskPrc (Ask Price): the price for each working 40           MktAQQ                Market Ask Quote Quantity
             ask, AskQty (Ask Quantity): the quantity for each working                MktAQP                Market Ask Quote Price
             ask, LastPrc (Last Price): the price for the last bid and ask            AQP                   Ask Quote Price
             that were matched in the market and LastQty (Last                        AQQ                   Ask  Quote Quantity
                                                                                      Imp BidQty(s)         Implied Bid Quantity
             Quantity): the quantity traded at the last price. Total repre-           Imp BidPrc(s)         Implied Bid Price
             sents the total quantity traded of the given commodity.         45       Imp AskQty(s)         Implied Ask Quantity
                The configuration of the screen display itself informs the            Imp AskPrc(s)         Implied Ask Price
             user in a more convenient and efficient manner than existing             Gamma(3)              Change   in Delta given 1 pt
                                                                                                            change in underlying
             systems. Traders gain a significant advantage by seeing the                                    Change in price given 1 pt
             market depth because they can see trends in the orders in the                                  change in underlying
             market. The market depth display shows the trader the 50                                       Percent volatility
             interest the market has in a given commodity at different                                      Price change given 1 %
                                                                                                            change in Vala
             price levels. If a large amount of bids or asks are in the                                     Price change given 1 %
             market near the trader's position, he may feel he should sell                                  change in interest rate
             or buy before the inside market reaches the morass of orders.            Theta(3 )             Price change for every day
                                                                                                            that elapses
             A lack of orders above or below the inside market might 55
                                                                                      ClickTrd              Activate/deactivate click
             prompt a trader to enter orders near the inside market.                                        trading by contract
             Without seeing the market depth, no such strategies could be             S(Status)             Auction, Closed, FastMkt, Not
             utilized. Having the dynamic market depth, including the bid                                   Tradable, Pre-trading, Tradable, S -
                                                                                                            post-trading
             and ask quantities and prices of a traded commodity aligned
                                                                                      Expiry                Expiration Month/Year
             with and displayed below the current inside market of the 60
             commodity conveys the information to the user in a more
             intuitive and easily understandable manner. Trends in the             As described herein, the display and trading method of the
             trading of the commodity and other relevant characteristics        present invention provide the user with certain advantages
             are more easily identifiable by the user through the use of the    over systems in which a display of market depth, as shown
             present invention.                                              65 in FIG. 2, is used. The Mercury display and trading method
                Various abbreviations are used in the screen displays, and      of the present invention ensure fast and accurate execution
             specifically, in the column headings of the screen displays        of trades by displaying market depth on a vertical or




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             horizontal plane, which fluctuates logically up or down, left       the trader's ordered lots that are in the market, but have not
             or right across the plane as the market prices fluctuates. This     been filled-i.e. the system is working on filling the order.
             allows the trader to trade quickly and efficiently. An example         Various parameters are set and information is provided in
             of such a Mercury display is illustrated in the screen display      column 1002. For example, "10:48:44" in cell 1009 shows
             of FIG. 3.                                                          the actual time of day. The L and R fields in cell 1010
                The display of market depth and the manner in which              indicate a quantity value, which may be added to the order
             traders trade within the market depth can be effected in            quantity entered. This process is explained below with
             different manners, which many traders will find materially          respect to trading under Mercury. Below the L and R fields,
             better, faster and more accurate. In addition, some traders         in cell 1011, a number appears which represents the current
             may find the display of market depth to be difficult to follow. 10 market volume. This is the number of lots that have been
             In the display shown in FIG. 2, the market depth is displayed       traded for the chosen contract. Cell 1012, "X 10", displays
             vertically so that both Bid and Ask prices descend the grid.        the Net Quantity, the current position of the trader on the
             The Bid prices descend the market grid as the prices                chosen contract. The number "10" represents the trader's
             decrease. Ask prices also descend the market grid as these          buys minus sells. Cell 1013 is the "Current Quantity"; this
             prices actually increase. This combination may be consid- 15 field represents the quantity for the next order that the trader
             ered counterintuitive and difficult to follow by some traders.      will send to market. This can be adjusted with right and left
                The Mercury display overcomes this problem in an inno-           clicks (up and down) or by clicking the buttons which appear
             vative and logical manner. Mercury also provides an order           below the Current Quantity in cells 1014. These buttons
             entry system, market grid, fill window and summary of               increase the current quantity by the indicated amount; for
             market orders in one simple window. Such a condensed 20 example, "10" will increase it by 10; "lH" will increase it
             display materially simplifies the trading system by entering        by 100; "lK" will increase it by 1000. Cell 1015 is the Clear
             and tracking trades in an extremely efficient manner. Mer-          button; clicking this button will clear the Current Quantity
             cury displays market depth in a logical, vertical fashion or        field. Cell 1016 is the Quantity Description; this is a pull
             horizontally or at some other convenient angle or configu-          down menu allowing the trader to chose from three Quantity
             ration. A vertical field is shown in the figures and described 25 Descriptions. The pull down menu is displayed when the
             for convenience, but the field could be horizontal or at an         arrow button in the window is clicked. The window includes
             angle. In turn, Mercury further increases the speed of trading      NetPos, Offset and a field allowing the trader to enter
             and the likelihood of entering orders at desired prices with        numbers. Placing a number in this field will set a default buy
             desired quantities. In the preferred embodiment of the              or sell quantity. Choosing "Offset" in this field will enable
             invention, the Mercury display is a static vertical column of 30 the L/R buttons of cell 1010. Choosing "NetPos" in this field
             prices with the bid and ask quantities displayed in vertical        will set the current Net Quantity (trader's net position) as the
             columns to the side of the price column and aligned with the        trader's quantity for his next trade. Cell 1017 are +/-buttons;
             corresponding bid and ask prices. An example of this display        these buttons will alter the size of the screen--either larger
             is shown in FIG. 3.                                                 (+)or smaller(-). Cell 1018 is used to invoke Net O; clicking
                Bid quantities are in the column 1003 labeled BidQ and 35 this button will reset the Net Quantity (cell 1011) to zero.
             ask quantities are in column 1004 labeled AskQ. The rep-            Cell 1019 is used to invoke Net Real; clicking this button
             resentative ticks from prices for the given commodity are           will reset the Net Quantity (cell 1011) to its actual position.
             shown in column 1005. The column does not list the whole               The inside market and market depth ascend and descend
             prices (e.g. 95.89), but rather, just the last two digits (e.g.     as prices in the market increase and decrease. For example,
             89). In the example shown, the inside market, cells 1020, is 40 FIG. 4 shows a screen displaying the same market as that of
             18 (best bid quantity) at 89 (best bid price) and 20 (best ask      FIG. 3 but at a later interval where the inside market, cells
             quantity) at 90 (best ask price). In the preferred embodiment       1101, has risen three ticks. Here, the inside market for the
             of the invention, these three columns are shown in different        commodity is 43 (best bid quantity) at 92 (best bid price) and
             colors so that the trader can quickly distinguish between           63 (best ask quantity) at 93 (best ask price). In comparing
             them.                                                           4 5 FIGS. 3 and 4, it can be seen that the price column remained
                The values in the price column are static; that is, they do      static, but the corresponding bids and asks rose up the price
             not normally change positions unless a re-centering com-            column. Market Depth similarly ascends and descends the
             mand is received (discussed in detail later). The values in the     price column, leaving a vertical history of the market.
             Bid and Ask columns however, are dynamic; that is, they                As the market ascends or descends the price column, the
             move up and down (in the vertical example) to reflect the 50 inside market might go above or below the price column
             market depth for the given commodity. The LTQ column                displayed on a trader's screen. Usually a trader will want to
             1006 shows the last traded quantity of the commodity. The           be able to see the inside market to assess future trades. The
             relative position of the quantity value with respect to the         system of the present invention addresses this problem with
             Price values reflects the price at which that quantity was          a one click centering feature. With a single click at any point
             traded. Column 1001 labeled E/W (entered/working) dis- 55 within the gray area, 1021, below the "Net Real" button, the
             plays the current status of the trader's orders. The status of      system will re-center the inside market on the trader's
             each order is displayed in the price row where it was entered.      screen. Also, when using a three-button mouse, a click of the
             For example, in cells 1007, the number next to S indicates          middle mouse button, irrespective of the location of the
             the number of the trader's ordered lots that have been sold         mouse pointer, will re-center the inside market on the
             at the price in the specific row. The number next to W 60 trader's screen.
             indicates the number of the trader's ordered lots that are in          The same information and features can be displayed and
             the market, but have not been filled-i.e. the system is             enabled in a horizontal fashion. Just as the market ascends
             working on filling the order. Blanks in this column indicate        and descends the vertical Mercury display shown in FIGS.
             that no orders are entered or working at that price. In cells       3 and 4, the market will move left and right in the horizontal
             1008, the number next to B indicates the number of the 65 Mercury display. The same data and the same information
             trader's ordered lots that have been bought at the price in the     gleaned from the dynamical display of the data is provided.
             specific row. The number next to W indicates the number of          It is envisioned that other orientations can be used to




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             dynamically display the data and such orientations are               1203). Similarly, a left click on the 20 in the AskQ column
             intended to come within the scope of the present invention.          1202 will send an order to market to buy 17 lots at a price
                Next, trading commodities, and specifically, the place-           of 90.
             ment of trade orders using the Mercury display is described.            Using the right mouse button, an order would be sent to
             Using the Mercury display and trading method, a trader               market at the price that corresponds to the row clicked for
             would first designate the desired commodity and, if                  the total quantity of orders in the market that equal or better
             applicable, the default quantities. Then he can trade with           the price in that row plus the quantity in the R field 1205.
             single clicks of the right or left mouse button. The following       Thus, a right click in the AskQ column 1202 in the 87 price
             equations are used by the system to generate trade orders and        row will send a sell order to market at a price of 87 and a
             to determine the quantity and price to be associated with the 10 quantity of 150. 150 is the sum of all the quantities 30, 97,
             trade order. The following abbreviations are used in these           18 and 5. 30, 97 and 18 are all of the quantities in the market
             formulas: P=Price value of row clicked, R= Value in R field,         that would meet or better the trader's sell order price of 87.
             L= Value in L field, Q=Current Quantity, Qa= Total of all            These quantities are displayed in the BidQ column 1201
             quantities in AskQ column at an equal or better price than P,        because this column represents the orders outstanding in the
             Qb=Total of all quantities in BidQ column at an equal or 15 market to purchase the commodity at each corresponding
             better price than P, N=Current Net Position, Bo=Buy order            price. The quantity 5 is the quantity pre-set in the R field
             sent to market and So=Sell order sent to market.                     1205.
                Any order entered using right mouse button                           Similarly, a right click in the BidQ column 1201 at the
                                                                                  same price level of 87 would send a buy limit order to
                                                                       (Eq. 1) 20 market for a quantity of 5 at a price of 87. The quantity is
                                                                                  determined in the same manner as above. In this example,
                If BidQ field clicked.                                            though, there are no orders in the market that equal or better
                                                                                  the chosen price-there are no quantities in the AskQ
                                                                       (Eq. 2)    column 1202 that equal or better this price. Therefore, the
                                                                               25 sum of the equal or better quantities is zero ("O"). The total
                If AskQ field clicked.                                            order entered by the trader will be the value in the R field,
                Orders entered using the left mouse button                        which is 5.
                If "Offset" mode chosen in Quantity Description field                An order entered with the left mouse button and the
             then:                                                                "Offset" option chosen in the quantity description field 1204
                                                                               30 will be calculated in the same way as above, but the quantity
                                                                       (Eq. 3)    in the L field 1206 will be added instead of the quantity in
                                                                                  the R field 1205. Thus, a left click in the BidQ column 1201
                If BidQ field clicked.                                            in the 92 price row will send a buy order to market at a price
                                                                                  of 92 and a quantity of 96. 96 is the sum of all the quantities
                                                                       (Eq. 4) 35 45, 28, 20 and 3. 45, 28 and 20 are all quantities in the
                                                                                  market that would meet or better the trader's buy order price
                If AskQ field clicked.                                            of 92. These quantities are displayed in the AskQ column
                If "number" mode chosen in Quantity Description field             1202 because this column represents the orders outstanding
             then:                                                                in the market to sell the commodity at each corresponding
                                                                               40 price. The quantity 3 is the quantity pre-set in the L field
                    Bo-QP                                              (Eq. 5)    1206.
                    So-QP                                              (Eq. 6)
                                                                                     The values in the Lor R fields may be negative numbers.
                                                                                  This would effectively decrease the total quantity sent to
                If "NetPos" mode chosen in Quantity Description field             market. In other words, in the example of a right click in the
             then:                                                             45 AskQ column 1202 in the 87 price row, if the R field was -5,
                                                                                  the total quantity sent to market would be 140 (30+97+18+
                    Bo-NP                                              (Eq. 7)    (-5)).
                    So-NP                                              (Eq. 8)       If a trader chose the "NetPos" option in the quantity
                                                                                  description field 1204, a right click would still work as
                Orders can also be sent to market for quantities that vary 50 explained above. A left click would enter an order with a
             according to the quantities available in the market; quantities      price corresponding to the price row clicked and a quantity
             preset by the trader; and which mouse button the trader              equal to the current Net position of the trader. The Net
             clicks. Using this feature, a trader can buy or sell all of the      position of the trader is the the trader's current position on
             bids or asks in the market at or better than a chosen price          the chosen contract. In other words, if the trader has bought
             with one click. The trader could also add or subtract a preset 55 10 more contracts than he has sold, this value would be 10.
             quantity from the quantities outstanding in the market. If the       NetPos would not affect the quantity of an order sent with a
             trader clicks in a trading cell-i.e. in the BidQ or AskQ             right click.
             column, he will enter an order in the market. The parameters            If the trader chose a number value in the quantity
             of the order depend on which mouse button he clicks and              description, a left click would send an order to market for the
             what preset values he set.                                        60 current quantity chosen by the trader. The default value of
                Using the screen display and values from FIG. 5, the              the current quantity will be the number entered in the
             placement of trade orders using the Mercury display and              quantity description field, but it could be changed by adjust-
             trading method is now described using examples. A left click         ing the figure in the current quantity field 1204.
             on the 18 in the BidQ column 1201 will send an order to                 This embodiment of the invention also allows a trader to
             market to sell 17 lots (quantity # chosen on the Quantity 65 delete all of his working trades with a single click of either
             Description pull down menu cell 1204) of the commodity at            the right or left mouse button anywhere in the last traded
             a price of 89 (the corresponding price in the Pre column             quantity (LTQ) column 1207. This allows a trader to exit the




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                                                                  US 6,772,132 Bl
                                           11                                                                   12
             market immediately. Traders will use this feature when they            We claim:
             are losing money and want to stop the losses from pilling up.          1. A method of placing a trade order for a commodity on
             Traders may also use this feature to quickly exit the market        an electronic exchange having an inside market with a
             upon making a desired profit. The invention also allows a           highest bid price and a lowest ask price, using a graphical
             trader to delete all of his orders from the market at a             user interface and a user input device, said method com-
             particular price level. A click with either mouse button in the     prising:
             Entered/Working (E/W) column 1208 will delete all work-                setting a preset parameter for the trade order
             ing orders in the cell that was clicked. Thus, if a trader             displaying market depth of the commodity, through a
             believes that previously sent orders at a particular price that           dynamic display of a plurality of bids and a plurality of
                                                                              10
             have not been filled would be poor trades, he can delete these            asks in the market for the commodity, including at least
             orders with a single click.                                               a portion of the bid and ask quantities of the
                The process for placing trade orders using the Mercury                 commodity, the dynamic display being aligned with a
             display and trading method of the present invention as                    static display of prices corresponding thereto, wherein
                                                                                       the static display of prices does not move in response
             described above is shown in the flowchart of FIG. 6. First, 15
                                                                                       to a change in the inside market;
             in step 1301, the trader has the Mercury display on the
             trading terminal screen showing the market for a given                 displaying an order entry region aligned with the static
                                                                                       display prices comprising a plurality of areas for
             commodity. In step 1302, the parameters are set in the
                                                                                       receiving commands from the user input devices to
             appropriate fields, such as the Land R fields and the Current
                                                                                       send trade orders, each area corresponding to a price of
             Quantity, NetPos or Offset fields from the pull down menu. 20
                                                                                       the static display of prices; and
             In step 1303, the mouse pointer is positioned and clicked
                                                                                    selecting a particular area in the order entry region
             over a cell in the Mercury display by the trader. In step 1304,
                                                                                       through single action of the user input device with a
             the system determines whether the cell clicked is a tradeable
                                                                                       pointer of the user input device positioned over the
             cell (i.e. in the AskQ column or BidQ column). If not, then               particular area to set a plurality of additional param-
             in step 1305, no trade order is created or sent and, rather, 25           eters for the trade order and send the trade order to the
             other quantities are adjusted or functions are performed                  electronic exchange.
             based upon the cell selected. Otherwise, in step 1306, the             2. A method of placing a trade order according to claim 1,
             system determines whether it was the left or the right button       wherein said trade order is a buy order if the position of the
             of the mouse that was clicked. If it was the right, then in step
                                                                              30 pointer at the time of said single action is within a bid order
             1307, the system will use the quantity in the R field when it       entry region and wherein said trade order is a sell order if the
             determines the total quantity of the order in step 1310. If the     position of the pointer at the time of said single action is
             left button was clicked, then in step 1308, the system              within an ask order entry region.
             determines which quantity description was chosen: Offset,              3. A method of placing a trade order according to claim 2,
             NetPos or an actual number.                                      35 wherein the trade order is for a pre-determined fixed quan-
                If Offset was chosen, then the system, in step 1309, will        tity and for a price corresponding to the position of the
             use the quantity in the L field when it determines the total        pointer at the time of said single action.
                                                                                    4. A method of placing a trade order according to claim 2,
             quantity of the order in step 1310. If NetPos was chosen,
                                                                                 wherein the trade order is for a quantity equal to a current net
             then the system, in step 1312, will determine that the total
                                                                                 position of the user in the commodity and for a price
             quantity for the trade order will be current NetPos value, i.e. 40
                                                                                 corresponding to the position of the pointer at the time of
             the net position of the trader in the given commodity. If an        said single action.
             actual number was used as the quantity description, then, in           5. A method of placing a trade order according to claim 2,
             step 1311, the system will determine that the total quantity        wherein the trade order is for a quantity equal to a pre-
             for the trade order will be the current quantity entered. In
                                                                              45 determined fixed offset plus the sum of all quantities in the
             step 1310, the system will determine that the total quantity        market at prices better than or equal to a price corresponding
             for the trade order will be the value of the R field (if step       to the position of the pointer at the time of said single action
             1307 was taken) or the value of the L field (if step 1309 was       and for a price corresponding to said position.
             taken) plus all quantities in the market for prices better than        6. A method of placing a trade order according to claim 2,
             or equal to the price in the row clicked. This will add up the 50 wherein said offset is equal to a first pre-determined value if
             quantities for each order in the market that will fill the order    a single action of a first type is taken and said offset is equal
             being entered by the trader (plus the Lor R value).                 to a second pre-determined value if a single action of a
                After either steps 1310, 1311 or 1312, the system, in step       second type is taken.
             1313, determines which column was clicked, BidQ or AskQ.               7. A method of placing a trade order according to claim 2,
             IfAskQ was clicked, then, in step 1314, the system sends a 55 further comprising canceling said trade order in response to
             sell limit order to the market at the price corresponding to        a subsequent single action of the user input device.
             the row for the total quantity as already determined. If BidQ          8. A computer readable medium having program code
             was clicked, then, in step 1315, the system sends a buy limit       recorded thereon, for execution on a computer having a
             order to the market at the price corresponding to the row for       graphical user interface and a user input device, to place a
             the total quantity as already determined.                        60
                                                                                 trade order for a commodity on an electronic exchange
                It should be understood that the above description of the        having an inside market with a highest bid price and a lowest
             invention and specific examples, while indicating preferred         ask price, comprising:
             embodiments of the present invention, are given by way of              a first program code for setting a preset parameter for the
             illustration and not limitation. Many changes and modifica-               trade order;
             tions within the scope of the present invention may be made 65         a second program code displaying market depth of a
             without departing from the spirit thereof, and the present                commodity, through a dynamic display of a plurality of
             invention includes all such changes and modifications.                    bids and a plurality of asks in the market for the




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                                                                  US 6,772,132 Bl
                                           13                                                                   14
                   commodity, including the bid and ask quantities of the              and for displaying an order entry region aligned with
                   commodity, aligned with a static display of prices                  the static display of prices, comprising a plurality of
                   corresponding thereto, wherein the static display of                areas for receiving commands to send trade orders,
                   prices does not move in response to a change in the                 each area corresponding to a price of the static display
                   inside market;                                                      of prices;
                a third program code for displaying an order entry region           a user input device for positioning a pointer thereof over
                   comprising a plurality of areas for receiving commands              an area in the order entry region; and
                   from the user input device to send trade orders, aligned         a trade order sending component for receiving a command
                   with the static display of prices, each area correspond-            as a result of a selection of the area in the order entry
                   ing to a price of the static display of prices; and        10       region by a single action of the user input device with
                a fourth program code for receiving a command as a result              a pointer of the user input device positioned over the
                   of a selection of a particular area in the order entry              area, to set a plurality of additional parameters for the
                   region by a single action of the user input device with             trade order and send the trade order to the electronic
                   a pointer of the user input device positioned over the              exchange.
                   particular area, to set a plurality of additional param- 15      15. A client system for placing a trade order for a
                   eters for the trade order and send the trade order to the     commodity according to claim 14, wherein said trade order
                   electronic exchange.                                          sending component establishes that said trade order is a buy
                                                                                 order if the position of the pointer at the time of said single
                9. A computer readable medium having program code
                                                                                 action is within a bid order entry region and that said trade
             recorded thereon, for execution on a computer to place a
                                                                                 order is a sell order if the position of the pointer at the time
             trade order according to claim 8, further comprising program 20 of said single action is within an ask order entry region.
             code for establishing that said trade order is a buy order if          16. A client system for placing a trade order for a
             the position of the pointer at the time of said single action is    commodity according to claim 15, wherein said trade order
             within a bid order entry region and that said trade order is a      sending component establishes that the trade order is for a
             sell order if the position of the pointer at the time of said       pre-determined fixed quantity and for a price corresponding
             single action is within an ask order entry region.               25 to the position of the pointer at the time of said single action.
                10. A computer readable medium having program code                  17. A client system for placing a trade order for a
             recorded thereon, for execution on a computer to place a            commodity according to claim 15, wherein said trade order
             trade order according to claim 9, further comprising program        sending component establishes that the trade order is for a
             code for establishing that the trade order is for a pre-            quantity equal to a current net position of the user in the
             determined fixed quantity and for a price corresponding to 30 commodity and for a price corresponding to the position of
             the position of the pointer at the time of said single action.      the pointer at the time of said single action.
                11. A computer readable medium having program code                  18. A client system for placing a trade order for a
             recorded thereon, for execution on a computer to place a            commodity according to claim 15, wherein said trade order
             trade order according to claim 9, further comprising program        sending component establishes that the trade order is for a
             code for establishing that the trade order is for a quantity 35 quantity equal to a predetermined fixed offset plus the sum
             equal to a current net position of the user in the commodity        of all quantities in the market at prices better than or equal
             and for a price corresponding to the position of the pointer        to a price corresponding to the position of the pointer at the
             at the time of said single action.                                  time of said single action and for a price corresponding to
                12. A computer readable medium having program code               said position.
             recorded thereon, for execution on a computer to place a 40            19. A client system for placing a trade order for a
             trade order according to claim 9, further comprising program        commodity according to claim 18, wherein said trade order
             code for establishing that the trade order is for a quantity        sending component establishes that said offset is equal to a
             equal to a pre-determined fixed offset plus the sum of all          first pre-determined value if a single action of a first type is
             quantities in the market at prices better than or equal to a        taken and said offset is equal to a second predetermined
             price corresponding to the position of the pointer at the time 45 value if a single action of a second type is taken.
             of said single action and for a price corresponding to said            20. A method according to claim 1, wherein said display-
             position.                                                           ing the market depth of a commodity traded in a market
                13. A computer readable medium having program code               further comprises displaying said bids and asks in a vertical
             recorded thereon, for execution on a computer to place a            orientation.
             trade order according to claim 12, further comprising pro- 5 0         21. A method according to claim 1, wherein said display-
             gram code for establishing that said offset is equal to a first     ing the market depth of a commodity traded in a market
             pre-determined value if a single action of a first type is taken    further comprises displaying said bids and asks in a hori-
             and said offset is equal to a second pre-determined value if        zontal orientation.
             a single action of a second type is taken.                             22. A method according to claim 1, wherein a plurality of
                14. A client system for placing a trade order for a 55 said displayed bids and asks in the market include bid and
             commodity on an electronic exchange having an inside                ask quantities of the commodity.
             market with a highest bid price and a lowest ask price, the            23. A method according to claim 1, wherein said display-
             system comprising:                                                  ing the market depth of a commodity traded in a market
                a parameter setting component for setting a preset param-        further comprises displaying said bids and asks in different
                   eter for the trade order;                                  60 colors.
                a display device for displaying market depth of a                   24. A method according to claim 1, further comprising
                   commodity, through a dynamic display of a plurality of        re-centering said prices corresponding to the bids and asks
                   bids and a plurality of asks in the market for the            about an inside market price upon receipt of a re-centering
                   commodity, including the bid and ask quantities of the        instruction.
                   commodity, aligned with a static display of prices 65            25. A method according to claim 1, further comprising
                   corresponding thereto, wherein the static display of          dynamically displaying working orders in alignment with
                   prices does not move when the inside market changes,          the prices corresponding thereto.




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                                                                 US 6,772,132 Bl
                                          15                                                                 16
                26. A method of displaying according to claim 1, further          40. A client system according to claim 14, wherein said
             comprising dynamically displaying entered orders in align-        displays are oriented vertically.
             ment with the prices corresponding thereto, wherein said             41. A client system according to claim 14, wherein said
             entered orders indicate a quantity of said commodity for          displays are oriented horizontally.
             which a trader's orders have been filled at said correspond-         42. A client system according to claim 14, wherein said
             ing prices.                                                       displays of the pluralities of bids and asks in the market
                27. A method according to claim 1, wherein said display-       include bid and ask quantities of the commodity.
             ing the market depth of a commodity traded in a market               43. A client system according to claim 14, wherein said
             further comprises displaying said statically displayed prices     displays are displayed in different colors.
             in at least one direction in numerical order.                  10    44. A client system according to claim 14, wherein said
                28. A method according to claim 1, wherein said display-       display of prices corresponding to the bids and asks is
             ing the market depth of a commodity traded in a market            re-centered about an inside market price upon re-centering
             further comprises displaying said statically displayed prices     instruction from a user.
             along a single line in numerical order.                              45. A client system according to claim 14, further com-
                29. A method of displaying according to claim 1, wherein 15 prising a display of working orders displayed in alignment
             said displaying the market depth of a commodity traded in         with the prices corresponding thereto.
             a market further comprises dynamically displaying a last             46. A client system according to claim 14, wherein said
             traded quantity for said commodity in alignment with the          display device displays entered orders in alignment with the
             price corresponding thereto.                                      prices corresponding thereto and wherein said entered orders
                30. A computer readable medium according to claim 8, 20 indicate a quantity of said commodity for which a trader's
             further comprising program code to ensure that said dis-          orders have been filled at said corresponding prices.
             played bids, asks and prices are oriented vertically.                47. A client system according to claim 14, wherein said
                31. A computer readable medium according to claim 8,           static display of prices is displayed in at least one direction
             further comprising program code to ensure that said dis-          in numerical order.
             played bids, asks and prices are oriented horizontally.        25    48. A client system according to claim 14, wherein said
                32. A computer readable medium according to claim 8,           static display of prices is displayed along a single line in
             further comprising program code to ensure that a plurality of     numerical order.
             bids and asks in the market include bid and ask quantities of        49. A client system according to claim 14, wherein said
             the commodity.                                                    display device displays a last traded quantity for said com-
                33. A computer readable medium according to claim 8, 30 modity in alignment with the price corresponding thereto.
             further comprising program code to ensure that bids and              50. The method of claim 2, wherein the bid order entry
             asks are displayed in different colors.                           region overlaps with a bid display region and the ask order
                34. A computer readable medium according to claim 8,           entry region overlaps with an ask display region.
             further comprising program code to ensure that said dis-             51. A computer readable medium having program code
             played prices corresponding to the bids and asks are 35 recorded thereon, for execution on a computer to place a
             re-centered about an inside market price upon receipt of a        trade order according to claim 9, wherein the bid order entry
             re-centering instruction.                                         region overlaps with a bid display region and the ask order
                35. A computer readable medium according to claim 8,           entry region overlaps with an ask display region.
             further comprising program code for dynamically displaying           52. A client system for placing a trade order for a
             working orders in alignment with the prices corresponding 40 commodity according to claim 15, wherein the bid order
             thereto.                                                          entry region overlaps with a bid display region and the ask
                36. A computer readable medium according to claim 8,           order entry region overlaps with an ask display region.
             further comprising program code for dynamically displaying           53. The method of claim 1 wherein the market depth is
             entered orders in alignment with the prices corresponding         based on an exchange order book and wherein the static
             thereto, wherein said entered orders indicate a quantity of 45 display of prices does not move in response to the addition
             said commodity for which a trader's orders have been filled       of a price to the exchange order book, the additional price
             at said corresponding prices.                                     comprising a displayed price.
                37. A computer readable medium according to claim 8,              54. The method of claim 53 wherein the static display of
             further comprising program code to ensure that said stati-        prices does not move in response to the removal of a price
             cally displayed prices are displayed in at least one direction 50 from the exchange order book, the removed price compris-
             in numerical order.                                               ing a displayed price.
                38. A computer readable medium according to claim 8,              55. The method of claim 1 wherein the market depth is
             further comprising program code to ensure that said stati-        based on an exchange order book and the static display of
             cally displayed prices are displayed along a single line in       prices never moves in response to a price change in the
             numerical order.                                               55 exchange order book relating to a price which is displayed.
                39. A computer readable medium according to claim 8,              56. The method of claim 1 wherein the plurality of
             further comprising program code for dynamically displaying        additional parameters comprises a price and type of order.
             a last traded quantity for said commodity in alignment with
             the price corresponding thereto.                                                         * * * * *




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                                                                     Appx420
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                        UNITED STATES PATENT AND TRADEMARK OFFICE
                              CERTIFICATE OF CORRECTION

        PATENT NO.  : 6,772,132 Bl                                                                         Page 1 of 1
        DATED       : August 3, 2004
        INVENTOR(S) : Gary Allan Kemp II, Jens-Uwe Schluetter and Harris Brumfield


                It is certified that error appears in the above-identified patent and that said Letters Patent is
                hereby corrected as shown below:



               Title page,
               Item [56], References Cited, OTHER PUBLICATIONS, after the last entry, insert
               -- Patsystems News Release, PATSYSTEMS LAUNCHES J TRADER,
               November 06, 2001 --.

               Column 9,
               Line 65, delete "sell" and insert -- buy--.

               Column 10,
               Line 2, delete "buy" and insert -- sell--.




                                                                            Signed and Sealed this

                                                                      Second Day of August, 2005




                                                                                       JONW.DUDAS
                                                                  Director of the United States Patent and Trademark Office




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                                                                   Appx421
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                                                                                                                                            US006772132Cl

                    c12)   EX PARTE REEXAMINATION CERTIFICATE (6740th)
             United States Patent                                                                                       (10) Number:                     us 6,772,132 Cl
             Kemp, II et al.                                                                                            (45) Certificate Issued:                  Mar. 31, 2009

             (54)    CLICK BASED TRADING WITH INTUITIVE                                                           2003/0097325 Al             5/2003 Friesen et al.
                     GRID DISPLAY OF MARKET DEPTH
                                                                                                                                    FOREIGN PATENT DOCUMENTS
             (75)    Inventors: Gary Allan Kemp, II, Winnetka, IL                                                EP                   1315 211 Bl       2/2001
                                (US); Jens-Uwe Schluetter, Evanston,                                             WO                 WO 91/14231         9/1991
                                IL (US); Harris Brumfield, Chicago, IL                                           WO                 WO 98/49639         4/1998
                                (US)                                                                             WO                 WO99/19821          4/1999
                                                                                                                 WO                 WO 99/53424         4/1999
             (73)    Assignee: Trading Technologies International,                                                                         OTHER PUBLICATIONS
                               Inc., Evanston, IL (US)
                                                                                                                 eSpeed's Supplemental Invalidity Contentions, May 25,
             Reexamination Request:                                                                              2007.
                  No. 90/008,576, May 25, 2007                                                                   eSpeed's Disclosure of Invalidity Contentions Pursuant to
                                                                                                                 35 USC 282, May 25, 2007.
             Reexamination Certificate for:                                                                      Invalidity Contentions Re: TradePad Module (Letter Dated
                  Patent No.:      6,772,132                                                                     May 25, 2007).
                  Issued:         Aug. 3, 2004                                                                   Supplemental Invalidity Contentions Pursuant to 35 U.S.C.
                  Appl. No.:       09/590,692                                                                    282, Aug. 10, 2007.
                  Filed:          Jun. 9, 2000                                                                   eSpeed's and Ecco's Answers to Plaintiff's Eighth Set of
                                                                                                                 Interrogatories, Aug. 4, 2006.
             Certificate of Correction issued Aug. 2, 2005.                                                      eSpeed and Ecco's Supplemental Answers to Plaintiffs
                                                                                                                 First, Third, Seventh, Eighth, and Ninth Set of Interrogato-
                             Related U.S. Application Data                                                       ries, May 25, 2007.
             (60)    Provisional application No. 60/186,322, filed on Mar. 2,
                                                                                                                 eSpeed' s Objections and Answers to Plaintiffs Third Set of
                     2000.
                                                                                                                 Interrogatories to Defendant eSpeed, May 12, 2005.
             (51)    Int. Cl.                                                                                    LIFFE Connect for Futures User Guide V4.50 Beta, Jan.
                     G06Q 40100                (2006.01)                                                         1999, DX 384, G 025623-G 025626, DTX 384.
                     G06F 3/048                (2006.01)
                                                                                                                                               (Continued)
             (52)    U.S. Cl. .......................... 705/36 R; 705/35; 705/10;                               Primary Examiner-Jeanne M. Clark
                                                                  705/14; 715/814
             (58)    Field of Classification Search ........................ None                                (57)                          ABSTRACT
                     See application file for complete search history.
                                                                                                                 A method and system for reducing the time it takes for a
             (56)                    References Cited                                                            trader to place a trade when electronically trading on an
                                                                                                                 exchange, thus increasing the likelihood that the trader will
                              U.S. PATENT DOCUMENTS                                                              have orders filled at desirable prices and quantities. The
                                                                                                                 "Mercury" display and trading method of the present inven-
                    5,243,331 A       9/1993    McCausland et al.
                                                                                                                 tion ensure fast and accurate execution of trades by display-
                    5,297,031 A       3/1994    Gutterman et al.
                    5,960,411 A       9/1999    Hartman et al.                                                   ing market depth on a vertical or horizontal plane, which
                    6,115,698 A       9/2000    Tuck et al.                                                      fluctuates logically up or down, left or right across the plane
                    6,343,278 Bl      1/2002    Jain et al.                                                      as the market prices fluctuates. This allows the trader to trade
                    6,421,653 Bl      7/2002    May et al.                                                       quickly and efficiently.

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                         EXPARTE                      AS A RESULT OF REEXAMINATION, IT HAS BEEN
                                                        DETERMINED THAT:
               REEXAMINATION CERTIFICATE
                 ISSUED UNDER 35 U.S.C. 307            The patentability of claims 1-56 is confirmed.
                NO AMENDMENTS HAVE BEEN MADE TO
                          THE PATENT                                      * * * * *




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             (12)   United States Patent                                                                                     (10) Patent No.:                  US 6,766,304 B2
                    Kemp, II et al.                                                                                          (45) Date of Patent:                         Jul. 20, 2004


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             (75)    Inventors: Gary Allan Kemp, II, Winnetka, IL                                                                            (List continued on next page.)
                                (US); Jens-Uwe Schluetter, Evanston,                                                                       FOREIGN PATENT DOCUMENTS
                                IL (US); Harris Brumfield, Chicago,
                                IL (US)                                                                               WO                   WO 98/49639        11/1998
                                                                                                                      WO                   WO 99/19821         4/1999
             (73)    Assignee: Trading Technologies International,                                                    WO                   WO 99/30259         6/1999
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                                                                                                                      WO                   WO 00/65510        11/2000
                                    patent is extended or adjusted under 35                                           WO                   WO 01/16830         3/2001
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                                                                                                                      Nov. 6, 2001.*
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                                                                                                                      Kharouf,Atrading room with a view, Fututes, 27, 11-Nov.
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                     2000.
             (51)    Int. Cl.7 ................................................ G06F 17/60                            Primary Examiner-Richard Weisberger
             (52)    U.S. Cl. .............................. 705/37; 705/36; 705/35                                   (74) Attorney, Agent, or Firm-Foley & Lardner
             (58)    Field of Search .............................. 705/35, 36, 37;                                   (57)                           ABSTRACT
                                                                                   345/814
                                                                                                                      A method and system for reducing the time it takes for a
             (56)                      References Cited                                                               trader to place a trade when electronically trading on an
                                                                                                                      exchange, thus increasing the likelihood that the trader will
                               U.S. PATENT DOCUMENTS
                                                                                                                      have orders filled at desirable prices and quantities. The
                    4,674,044 A         6/1987     Kalmus et al. ............. 364/408                                "Mercury" display and trading method of the present inven-
                    4,750,135 A         6/1988     Boilen ........................ 364/514                            tion ensure fast and accurate execution of trades by display-
                    5,038,284 A         8/1991     Kramer                                                             ing market depth on a vertical or horizontal plane, which
                    5,077,665 A        12/1991     Silverman et al. .......... 364/408                                fluctuates logically up or down, left or right across the plane
                    5,136,501 A         8/1992     Silverman et al. .......... 364/408                                as the market prices fluctuates. This allows the trader to trade
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                                                                                                                      quickly and efficiently.
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                    5,689,651 A        11/1997     Lozman                                                                                    40 Claims, 6 Drawing Sheets


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                        FIG. 1
                                                        CONNECTION TO MULTIPLE EXCHANGES

                                 HOST EXCHANGE                         HOST EXCHANGE                               HOST EXCHANGE
                101-,              A FACILITIES 102--,                   B FACILITIES                103-,           C FACILITIES
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                                 HOST EXCHANGE                            =====
                                                                      HOST EXCHANGE B                        i HO~GE



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                             '         GATEWAY                               GATEWAY                                        GATEWAY                           '




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TT v. IB (10-cv-715)                                                                                                                                                     PTX00001.0003
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                                  FIG. 2
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                       FIG. 3
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                                                                                Appx1751
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                       FIG. 4
                            SYCOM FGBL DEC99          E][gj[R]

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                                      CLR          43              92
                                    X      10      125             91
                                    17      Iv 97                  90
                         B0           CXL          18              89
                         W 15
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                                    GD             97              88
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                         B0                        43              86
                         W 17      NET REAL
                                                   110             85
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TT v. IB (10-cv-715)                                                                        PTX00001.0006
                                                 Appx1752
                 Case: 22-1630     Document: 18                Page: 175        Filed: 08/27/2022




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                              FIG. 5
                                   SYCOM FGBL DEC99                E][bj][BJ

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                                                                                                                                       START              1301    ~
                                      FIG. 6                                           THIS WILL ADD UP THE QUANTITIES                                            ~
                                                                                       FOR EACH ORDER IN THE MARKET                                               ......
                                                                                       THAT WOULD FILL THE ORDER BEING          TRADER HAS MARKET                 ~
                                                                                       ENTERED BY THE TRADER - I.E. THE         DISPLAYED ON HIS
                                                                                       SUM OF ALL QUANTITIES THAT "BETTER"      COMPUTER SCREEN                   ......
                                                                                                                                                                  =
                                                                                       THE ORDER BEING ENTERED                                            1302
                                                              ALL QUANTITIES IN
                                                                                                                                                                           Case: 22-1630




                                                              THE MARKET FOR                                                   SET QUANTITY VALUES
                                                              PRICES BETTER                                                    IN APPROPRIATE                    ~
                                                              THAN OR EQUAL TO                                                 FIELDS (R/L FIELD§...,
                                                              THE PRICE IN T H E ~ -                                           CURRENT QUANTI I r                F-
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                                  SEND BUY ORDER TO                                                                                                       1303    0
                                                                                                                                                                  ,i;;..
                                  MARKET FOR PREDEFINED                                QUANTITY OF        QUANTITY OF           POSITION CURSOR
                                  QUANTITY AT THE PRICE                                ORDER= VALUE       ORDER= VALUE          OVER DESIRED CELL
                                  OF THE ROW CLICKED                                   IN L FIELD         IN R FIELD            ON THE MERCURY
                                                                                                                                DISPLAY
                                                                                                                                                                           Document: 18




                                                                                                                                                                  'JJ.
                                         BidQ                                  1311                                                                               ~
                                                                                                                                                                  =-
                                                                                                                                                                  ~
                                                 1313                                                                                                             ....
                                                                                                                                                                  O'I




Appx1754
                                                                QUANTITY OF
                                                                                                                                                                  0
                                                     I                                                                                                            ....,
                                                          1    1ORDER=
                                                 ~              CURRENT                                                                                           O'I
                                                                QUANTITY
                                                                                                                                                                           Page: 176




                                        AskQ     1314                                                                                                1305
                                                                                                                              NO ORDER SENT (MAY
                                  SEND SELL ORDER TO                                                                          ADJUST QUANTITIES OR
                                  MARKET FOR DEFINED                                                                          OTHER RESTRICTIONS
                                  QUANTITY AT THE PRICE                        1312          NetPos                           DEPENDING ON CELL                   e
                                                                                                                                                                  rJ'J.
                                  OF THE ROW CLICKED                                                                          SELECTED)
                                                                                                                                                                  O'I
                                                              QUANTITY                                                                 END                       ':...l
                                         END                  OF ORDER=                                                                                           O'I
                                                                                                                                                                  O'I
                                                              CURRENT NetPos                                                                                     ~
                                                                                                        TRADING WITH MERCURY                                      Q
                                                                                                                                                                  ,I;;..
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                                                                                                                                                                  ~
                                                                                                                                                                  N




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                                                                  US 6,766,304 B2
                                           1                                                                    2
                 CLICK BASED TRADING WITH INTUITIVE                             screens varies according to the specific software application
                    GRID DISPLAY OF MARKET DEPTH                                being run. The installation of open interfaces in the devel-
                                                                                opment of an exchange's electronic strategy means users can
                 This application is a divisional application of Ser. No.       choose, depending on their trading style and internal
             09/590,692 filed Jun. 09, 2000 which claims benefit of             requirements, the means by which they will access the
             60/186,322, filed Mar. 2, 2000.                                    exchange.
                                                                                   The world's stock, bond, futures and options exchanges
                                       PRIORITY                                 have volatile products with prices that move rapidly. To
                                                                                profit in these markets, traders must be able to react quickly.
                The present application claims priority to a U.S. Provi- 10 A skilled trader with the quickest software, the fastest
             sional Patent Application entitled "Market Depth Display           communications, and the most sophisticated analytics can
             Click Based Trading and Mercury Display" filed Mar. 2,             significantly improve his own or his firm's bottom line. The
             2000, the contents of which are incorporated herein by             slightest speed advantage can generate significant returns in
             reference.                                                         a fast moving market. In today's securities markets, a trader
                                                                                lacking a technologically advanced interface is at 4 severe
                                                                             15 competitive disadvantage.
                                FIELD OF INVENTION
                                                                                   Irrespective of what interface a trader uses to enter orders
                The present invention is directed to the electronic trading     in the market, each market supplies and requires the same
             of commodities. Specifically, the invention provides a trader      information to and from every trader. The bids and asks in
             with a versatile and efficient tool for executing trades. It       the market make up the market data and everyone logged on
             facilitates the display of and the rapid placement of trade 20 to trade can receive this information if the exchange pro-
             orders within the market trading depth of a commodity,             vides it. Similarly, every exchange requires that certain
             where a commodity includes anything that can be traded             information be included in each order. For example, traders
             with quantities and/or prices.                                     must supply information like the name of the commodity,
                                                                                quantity, restrictions, price and multiple other variables.
                       BACKGROUND OF THE INVENTION                           2s Without all of this information, the market will not accept
                                                                                the order. This input and output of information the same for
                At least 60 exchanges throughout the world utilize elec-        every trader.
             tronic trading in varying degrees to trade stocks, bonds,             With these variables being constant, a competitive speed
             futures, options and other products. These electronic              advantage must come from other aspects of the trading
             exchanges are based on three components: mainframe com- 30 cycle. When analyzing the time it takes to place a trade order
             puters (host), communications servers, and the exchange            for a given commodity, various steps contribute in different
             participants' computers (client). The host forms the elec-         amounts to the total time required. Approximately 8% of the
             tronic heart of the fully computerized electronic trading          total time it takes to enter an order elapses between the
             system. The system's operations cover order-matching,              moment the host generates the price for the commodity and
             maintaining order books and positions, price information, 35 the moment the client receives the price. The time it takes for
             and managing and updating the database for the online              the client application to display the price to the trader
             trading day as well as nightly batch runs. The host is also        amounts to approximately 4%. The time it takes for a trade
             equipped with external interfaces that maintain uninter-           order to be transmitted to the host amounts to approximately
             rupted online contact to quote vendors and other price             8%. The remainder of the total time it takes to place an order,
             information systems.                                            40 approximately 80%, is attributable to the time required for
                Traders can link to the host through three types of             the trader to read the prices displayed and to enter a trade
             structures: high speed data lines, high speed communica-           order. The present invention provides a significant advan-
             tions servers and the Internet. High speed data lines establish    tage during the slowest portion of the trading cycle-while
             direct connections between the client and the host. Another        the trader manually enters his order. Traders recognize that
             connection can be established by configuring high speed 45 the value of time savings in this portion may amount to
             networks or communications servers at strategic access             millions of dollars annually.
             points worldwide in locations where traders physically are            In existing systems, multiple elements of an order must be
             located. Data is transmitted in both directions between            entered prior to an order being sent to market, which is time
             traders and exchanges via dedicated high speed communi-            consuming for the trader. Such elements include the com-
             cation lines. Most exchange participants install two lines so modity symbol, the desired price, the quantity and whether
             between the exchange and the client site or between the            a buy or a sell order is desired. The more time a trader takes
             communication server and the client site as a safety measure       entering an order, the more likely the price on which he
             against potential failures. An exchange's internal computer        wanted to bid or offer will change or not be available in the
             system is Also often installed with backups as a redundant         market. The market is fluid as many traders are sending
             measure to secure system availability. The third connection ss orders to the market simultaneously. It fact, successful
             utilizes the Internet. Here, the exchange and the traders          markets strive to have such a high volume of trading that any
             communicate back and forth through high speed data lines,          trader who wishes to enter an order will find a match and
             which are connected to the Internet. This allows traders to be     have the order filled quickly, if not immediately. In such
             located anywhere they can establish a connection to the            liquid markets, the prices of the commodities fluctuate
             Internet.                                                       60 rapidly. On a trading screen, this results in rapid changes in
                Irrespective of the way in which a connection is                the price and quantity fields within the market grid. If a
             established, the exchange participants' computers allow            trader intends to enter an order at a particular price, but
             traders to participate in the market. They use software that       misses the price because the market prices moved before he
             creates specialized interactive trading screens on the traders'    could enter the order, he may lose hundreds, thousands, even
             desktops. The trading screens enable traders to enter and 65 millions of dollars. The faster a trader can trade, the less
             execute orders, obtain market quotes, and monitor positions.       likely it will be that he will miss his price and the more likely
             The range and quality of features available to traders on their    he will make money.




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                         SUMMARY OF THE INVENTION                                    In the preferred embodiment, the present invention is
                                                                                  implemented on a computer or electronic terminal. The
                The inventors have developed the present invention which          computer is able to communicate either directly or indirectly
             overcomes the drawbacks of the existing trading systems              (using intermediate devices) with the exchange to receive
             and dramatically reduces the time it takes for a trader to           and transmit market, commodity, and trading order infor-
             place a trade when electronically trading on an exchange.            mation. It is able to interact with the trader and to generate
             This, in turn, increases the likelihood that the trader will         contents and characteristics of a trade order to be sent to the
             have orders filled at desirable prices and quantities.               exchange. It is envisioned that the system of the present
                The "Mercury" display and trading method of the present           invention can be implemented on any existing or future
             invention ensure fast and accurate execution of trades by 10 terminal or device with the processing capability to perform
             displaying market depth on a vertical or horizontal plane,           the functions described herein. The scope of the present
             which fluctuates logically up or down, left or right across the      invention is not limited by the type of terminal or device
             plane as the market prices fluctuates. This allows the trader        used. Further, the specification refers to a single click of a
             to trade quickly and efficiently.                                    mouse as a means for user input and interaction with the
                Specifically, the present invention is directed to a graphi- 15 terminal display as an example of a single action of the user.
             cal user interface for displaying the market depth of a              While this describes a preferred mode of interaction, the
             commodity traded in a market, including a dynamic display            scope of the present invention is not limited to the use of a
             for a plurality of bids and for a plurality of asks in the market    mouse as the input device or to the click of a mouse button
             for the commodity and a static display of prices correspond-         as the user's single action. Rather, any action by a user
             ing to the plurality of bids and asks. In this embodiment the 20 within a short period of time, whether comprising one or
             pluralities of bids and asks are dynamically displayed in            more clicks of a mouse button or other input device, is
             alignment with the prices corresponding thereto. Also                considered a single action of the user for the purposes of the
             described herein is a method and system for placing trade            present invention.
             orders using such displays.                                             The system can be configured to allow for trading in a
                These embodiments, and others described in greater detail 25 single or in multiple exchanges simultaneously. Connection
             herein, provide the trader with improved efficiency and              of the system of the present invention with multiple
             versatility in placing, and thus executing, trade orders for         exchanges is illustrated in FIG. 1. This figure shows multiple
             commodities in an electronic exchange. Other features and            host exchanges 101-103 connected through routers 104--106
             advantages of the present invention will become apparent to          to gateways 107-109. Multiple client terminals 110-116 for
             those skilled in the art from the following detailed descrip- 30 use as trading stations can then trade in the multiple
             tion. It should be understood, however, that the detailed            exchanges through their connection to the gateways
             description and specific examples, while indicating pre-             107-109. When the system is configured to receive data
             ferred embodiments of the present invention, are given by            from multiple exchanges, then the preferred implementation
             way of illustration and not limitation. Many changes and             is to translate the data from various exchanges into a simple
                                                                                  format. This. "translation" function is described below with
             modifications within the scope of the present invention may 35
             be made without departing from the spirit thereof, and the           reference to FIG. 1. An applications program interface ("TT
             invention includes all such modifications.                           API" as depicted in the figure) translates the incoming data
                                                                                  formats from the different exchanges to a simple preferred
                    BRIEF DESCRIPTION OF THE DRAWINGS                             data format. This translation function may be disposed
                                                                               40 anywhere in the network, for example, at the gateway server,
                FIG. 1 illustrates the network connections between mul-           at the individual workstations or at both. In addition, the
             tiple exchanges and client sites;                                    storage at gateway servers and at the client workstations,
                FIG. 2 illustrates screen display showing the inside mar-         and/or other external storage cache historical data such as
             ket and the market depth of a given commodity being traded;          order books which list the client's active orders in the
                FIG. 3 illustrates the Mercury display of the present 45 market; that is, those orders that have neither been filled nor
             invention;                                                           cancelled. Information from different exchanges can be
                                                                                  displayed at one or in multiple windows at the client
                FIG. 4 illustrates the Mercury display at a later time
                                                                                  workstation. Accordingly, 'while reference is made through
             showing the movement of values when compared to FIG. 3;
                                                                                  the remainder of the specification to a single exchange to
                FIG. 5 illustrates a Mercury display with parameters set in
                                                                               50 which a trading terminal is connected, the scope of the
             order to exemplify the Mercury trading method; and                   invention includes the ability to trade, in accordance with the
                FIG. 6 is a flowchart illustrating the process for Mercury        trading methods described herein, in multiple exchanges
             display and trading.                                                 using a single trading terminal.
                                                                                     The preferred embodiments of the present invention
                         DETAILED DESCRIPTION OF THE                           55 include the display of "Market Depth" and allow trader to
                            PREFERRED EMBODIMENTS                                 view the market depth of a commodity and to execute trades
                As described with reference to the accompanying figures,          within the market depth with a single click of a computer
             the present invention provides a display and trading method          mouse button. Market Depth represents the order book with
             to ensure fast and accurate execution of trades by displaying        the current bid and ask prices and quantities in the market.
             market depth on a vertical or horizontal plane, which fluc- 60 In other words, Market Depth is each bid and ask that was
             tuates logically up or down, left or right across the plane as       entered into the market, subject to the limits noted below, in
             the market prices fluctuates. This allows the trader to place        addition to the inside market. For a commodity being traded,
             trade orders quickly and efficiently. A commodity's market           the "inside market" is the highest bid price and the lowest
             depth is the current bid and ask prices and quantities in the        ask price.
             market. The display and trading method of the invention 65              The exchange sends the price, order and fill information
             increase the likelihood that the trader will be able to execute      to each trader on the exchange. The present invention
             orders at desirable prices and quantities.                           processes this information and maps it through simple




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             algorithms and mapping tables to positions in a theoretical        receive the data from the server and has "timed out." Green
             grid program or any other comparable mapping technique             indicates that the data has just been updated. The other
             for mapping data to a screen. The physical mapping of such         column headings in this and all of the other figures, are
             information to a screen grid can be done by any technique          defined as follows. BidQty (Bid Quantity): the quantity for
             known to those skilled in the art. The present invention is not    each working bid, BidPrc (Bid Price): the price for each
             limited by the method used to map the data to the screen
                                                                                working bid, AskPrc (Ask Price): the price for each working
             display.
                                                                                ask, AskQty (Ask Quantity): the quantity for each working
                How far into the market depth the present invention can
             display depends on how much of the market depth the                ask, LastPrc (Last Price): the price for the last bid and ask
             exchange provides. Some exchanges supply an infinite mar- 10 that were matched in the market and LastQty (Last
             ket depth, while others provide no market depth or only a          Quantity): the quantity added at the last price. Total repre-
             few orders away from the inside market. The user of the            sents the total quantity traded of the given commodity.
             present invention can also chose how far into the market
             depth to display on his screen. FIG. 2 illustrates a screen           The configuration of the screen display itself informs the
             display of an invention described in a commonly owned              user in a more convenient and efficient manner than existing
                                                                             15 systems. Traders gain a significant advantage by seeing the
             co-pending application entitled "Click Based Trading with
             Market Depth Display" Ser. No. 09/589,751, filed on Jun. 9,        market depth because they can see trends in the orders in the
             2000, the contents of which are incorporated herein by             market. The market depth display shows the trader the
             reference. This display shows the inside market and the            interest the market has in a given commodity at different
             market depth of a given commodity being traded. Row 1              price levels. If a large amount of bids or asks are in the
                                                                             20 market near the trader's position, he may feel he should sell
             represents the "inside market" for the commodity being
             traded which is the best (highest) bid price and quantity and      or buy before the inside market reaches the morass of orders.
             the best (lowest) ask price and quantity. Rows 2-5 represent       A lack of orders above or below the inside market might
             the "market depth" for the commodity being traded. In the          prompt a trader to enter orders near the inside market.
                                                                                Without seeing the market depth, no such strategies could be
             ~~e::;:~t ~::i~dtr~::t2~5)~~si:~::n:v:~::i~:~x:~:e~~sfu~[, 25 utilized. Having the dynamic market depth, including the bid
             in column 203, and asks, in column 204. The working bid            and ask quantities and prices of a traded commodity aligned
             and ask quantity for each price level is also displayed in         with and displayed below the current inside market of the
             columns 202 and 205 respectively (inside market-row 1).            commodity conveys the information to the user in a more
             Prices and quantities for the inside market and market depth       intuitive and easily understandable manner. Trends in the
                                                                             30 trading of, the commodity and other relevant characteristics
             update dynamically on a real time basis as such information
             is relayed from the market.                                        are more easily identifiable by the user through the use of the
                                                                                present invention.
                In the screen display shown in FIG. 2, the commodity
             ( contract) being traded is represented in row 1 by the               Various abbreviations are used in the screen displays, and
             character string "CDHO". The Depth column 208 will                 specifically, in the column headings of the screen displays
                                                                             35
             inform the trader of a status by displaying different colors.      reproduced herein. Some abbreviations have been discussed
             Yellow indicates that the program application is waiting for       above. A list of common abbreviations and their meanings is
             data. Red indicates that the Market Depth has failed to            provided in Table 1.


                                                                                                TABLE I
                                                                                               Abbreviations.

                                                      COLUMN          DESCRIPTION                       COLUMN           DESCRIPTION

                                                     Month            Expiration Month/Year            TheoBid         Theoretical Bid Price
                                                     Bid Mbr(l)       Bid Member ID                    TheoAsk         Theoretical Ask Price
                                                     WrkBuys(2)       Working Buys for entire Group ID Qact            Quote Action (Sends
                                                                                                                       individual quotes)
                                                     BidQty           Bid Quantity                      BQQ            Test Bid Quote Quantity
                                                     ThrshBid(6)      Threshold Bid Price               BQP            Test Bid Quote Price
                                                     BidPrc           Bid Price                         MktBQQ         Market Bid Quote Quantity
                                                     Bid Qty Accurn   Accumulated Bid Quantity          Mkt BQP        Market Bid Quote Price
                                                     BidPrc Avg       Bid Price Average                 Quote          Checkbox activates/
                                                                                                                       deactivates contract for quoting
                                                     AskPrcAvg        Ask Price Average                 MktAQQ         Market Ask Quote Quantity
                                                     AskQty Accurn    Accumulated Ask Quantity          MktAQP         Market Ask Quote Price
                                                     AskPrc           Ask Price                         AQP            Ask Quote Price
                                                     ThrshAsk(6)      Threshold Ask Price               AQQ            Ask Quote Quantity
                                                     AskQty           Ask Quantity                      Imp BidQty(5) Implied Bid Quantity
                                                     WrkSells(2)      Working Sells for entire Group ID Imp BidPrc(5) Implied Bid Price
                                                     Ask Mbr(l)       Ask Member ID                     Imp AskQty( 5) Implied Ask Quantity
                                                     NetPos           Net Position                      Imp AskPrc( 5) Implied Ask Price
                                                     FFNetPos         Fast Fill Net Position            Gamma(3)       Change in Delta given 1 pt
                                                                                                                       change in underlying
                                                      LastPrc         Last Price                        Delta (3)      Change in price given 1 pt
                                                                                                                       change in underlying
                                                     LastQty          Last Quantity                     Vala (3)       Percent volatility
                                                     Total            Total Traded Quantity             Vega (3)       Price change given I%
                                                                                                                       change in Vala
                                                      High            High Price                        Rhop (3)       Price change given I%
                                                                                                                       change in interest rate




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                                                     TABLE I-continued
                                                        Abbreviations.

             COLUMN          DESCRIPTION                         COLUMN        DESCRIPTION

             Low             Low Price                           Theta(3)      Price change for every day
                                                                               that elapses
             Open            Opening Price                       Click Trd     Activate/deactivate click
                                                                               trading by contract
             Close           Closing Price                       S (Status)    Auction, Closed, FastMkt, Not
                                                                               Tradable, Pre-trading,
                                                                               Tradable, S - post-trading
             Chng            Last Price-Last Close               Expiry        Expiration Month/Year
             TheoPrc         Theoretical Price

                                                                                  15

                As described herein, the display and trading method of the      Bid and Ask columns however, are dynamic; that is, they
             present invention provide the user with certain advantages         move up and down (in the vertical example) to reflect the
             over systems in which a display of market depth, as shown          market depth for the given commodity. The LTQ column
             in FIG. 2, is used. The Mercury display and trading method         1006 shows the last traded quantity of the commodity. The
             of the present invention ensure fast and accurate execution 20 relative position of the quantity value with respect to the
             of trades by displaying market depth on a vertical or              Price values reflects the price at which that quantity was
             horizontal plane, which fluctuates logically up or down, left      traded. Column 1001 labeled E/W (entered/working) dis-
             or right across the plane as the market prices fluctuates. This    plays the current status of the trader's orders. The status of
             allows the trader to trade quickly and efficiently. An example     each order is displayed in the price row where it was entered.
             of such a Mercury display is illustrated in the screen display 25 For example, in cells 1007, the number next to S indicates
             of FIG. 3.                                                         the number of the trader's ordered lots that have been sold
                The display of market depth and the manner in which             at the price in the specific row. The number next to W
             traders trade within the market depth can be effected in           indicates the number of the trader's ordered lots that are in
             different manners, which many traders will find materially         the market, but have not been filled-i.e. the system is
             better, faster and more accurate. In addition, some traders 30 working on filling the order. Blanks in this column indicate
             may find the display of market depth to be difficult to follow.    that no orders are entered or working at that price. In cells
             In the display shown in FIG. 2, the market depth is displayed      1008, the number next to B indicates the number of the
             vertically so that both Bid and Ask prices descend the grid.       trader's ordered lots that have been bought at the price in the
             The Bid prices descend the market grid as the prices               specific row. The number next to W indicates the number of
             decrease. Ask prices also descend the market grid as these
             prices actually increase. This combination may be consid- 35 ~~:~rl~f
             ered counterintuitive and difficult to follow by some traders.
                                                                                                :~~f  1
                                                                                              :~~~:ds;;:e:aisa;o~~i~;     !tti~:~;~~~~~~~t
                                                                                   Various parameters are set and information is provided in
                The Mercury display overcomes this problem in an inno-          column 1002. For example, "10:48:44" in cell 1009 shows
             vative and logical manner. Mercury also provides an order          the actual time of day. The L and R fields in cell 1010
             entry system, market grid, fill window and summary of              indicate a quantity value, which may be added to the order
             market orders in one simple window. Such a condensed 40 quantity entered. This process is explained below with
             display materially simplifies the trading system by entering       respect to trading under Mercury. Below the L and R fields,
             and tracking trades in an extremely efficient manner. Mer-         in cell 1011, a number appears which represents the current
             cury displays market depth in a logical, vertical fashion or       market volume. This is the number of lots that have been
             horizontally or at some other convenient angle or configu-         traded for the chosen contract. Cell 1012, "X 10", displays
             ration. A vertical field is shown in the figures and described 45 the Net Quantity, the current position of the trader on the
             for convenience, but the field could be horizontal or at an        chosen contract. The number "10" represents the trader's
             angle. In turn, Mercury further increases the speed of trading     buys minus sells. Cell 1013 is the "Current Quantity"; this
             and the likelihood of entering orders at desired prices with       field represents the quantity for the next order that the trader
             desired quantities. In the preferred embodiment of the             will send to market. This can be adjusted with right and left
             invention, the Mercury display is a static vertical column of 50 clicks (up and down) or by clicking the buttons which appear
             prices with the bid and ask quantities displayed in vertical       below the Current Quantity in cells 1014. These buttons
             columns to the side of the price column and aligned with the       increase the current quantity by the indicated amount; for
             corresponding bid and ask prices. An example of this display       example, "10" will increase it by 10; "lH" will increase it
             is shown in FIG. 3.                                                by 100; "lK" will increase it by 1000. Cell 1015 is the Clear
                Bid quantities are in the column 1003 labeled BidQ and          button; clicking this button will clear the Current Quantity
                                                                             55
             ask quantities are in column 1004 labeled AskQ. The rep-           field. Cell 1016 is the Quantity Description; this is a pull
             resentative ticks from prices for the given commodity are          down menu allowing the trader to chose from three Quantity
             shown in column 1005. The column, does not list the whole          Descriptions. The pull down menu is displayed when the
             prices (e.g. 95.89), but rather, just the last two digits (e.g.    arrow button in the window is clicked. The window includes
             89). In the example shown, the inside market, cells 1020, is       NetPos, Offset and a field allowing the trader to enter
             18 (best bid quantity) at 89 (best bid price) and 20 (best ask 60 numbers .. Placing a number in this field will set a default
             quantity) at 90 (best ask price). In the preferred embodiment      buy or sell quantity. Choosing "Offset" in this field will
             of the invention, these three columns are shown in different       enable the L/R buttons of cell 1010. Choosing "NetPos" in
             colors so that the trader can quickly distinguish between          this field will set the current Net Quantity (trader's net
             them.                                                              position) as the trader's quantity for his next trade. Cell 1017
                The values in the price column are static; that is, they do 65 are +/- buttons; these buttons will alter the size of the
             not normally change positions unless a re-centering com-           screen-either larger ( +) or smaller (-). Cell 1018 is used to
             mand is received (discussed in detail later). The values in the    invoke Net O; clicking this button will reset the Net Quantity




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             (cell 1011) to zero. Cell 1019 is used to invoke Net Real;           If BidQ field clicked.
             clicking this button will reset the Net Quantity (cell 10 11)
             to its actual position.
                The inside market and market depth ascend and descend                                                                       (Eq. 4)
             as prices in the market increase and decrease. For example,
             FIG. 4 shows a screen displaying the same market as that of          If AskQ field clicked.
             FIG. 3 but at a later interval where the inside market, cells           If "number" mode chosen in Quantity Description field
             1101, has risen three ticks. Here, the inside market for the         then:
             commodity is 43 (best bid quantity) at 92 (best bid price) and
             63 (best ask quantity) at 93 (best ask price). In comparing 10
             FIGS. 3 and 4, it can be seen that the price column remained                Bo-QP                                              (Eq. 5)
             static, but the corresponding bids and asks rose up the price               So-QP                                              (Eq. 6)
             column. Market Depth similarly ascends, and descends the
             price column, leaving a vertical history of the market.                 If "NetPos" mode chosen in Quantity Description field
                As the market ascends or descends the price column, the 15 then:
             inside market, might go above or below the price column
             displayed on a trader's screen. Usually a trader will want to
             be able to see the inside market to assess future trades. The               Bo-NP                                              (Eq. 7)
             system of the present invention addresses this problem with
             a one click centering feature. With a single click at any point             So-NP                                              (Eq. 8)
             within the gray area, 1021, below the "Net Real" button, the 20
             system will re-center the inside market on the trader's                 Orders can also be sent to market for quantities that vary
             screen. Also, when using a three-button mouse, a click of the        according to the quantities available in the market; quantities
             middle mouse button, irrespective of the location of the             preset by the trader; and which mouse button the trader
             mouse pointer, will re-center the inside market on the               clicks. Using this feature, a trader can buy or sell all of the
             trader's screen.                                                  25 bids or asks in the market at or better than a chosen price

                The same information and features can be displayed and            with one click. The trader could also add or subtract a preset
             enabled in a horizontal fashion. Just as -the market ascends         quantity from the quantities outstanding in the market. If the
             and descends the vertical Mercury display shown in FIGS.             trader clicks in a trading cell-i.e. in the BidQ or AskQ
             3 and 4, the market will move left and right in the horizontal       column, he will enter an order in the market. The parameters
             Mercury display. The same data and the same information 30 of the order depend on which mouse button he clicks and
             gleaned from the dynamical display of the data is provided.          what preset values he set.
             It is envisioned that other orientations can be used to                 Using the screen display and values from FIG. 5, the
             dynamically display the data and such orientations are               placement of trade orders using the Mercury display and
             intended to come within the scope of the present invention.          trading method is now described using examples. A left click
                Next, trading commodities, and specifically, the place- 35 on the 18 in the BidQ column 1201 will send an order to
             ment of trade orders using the Mercury display is described.         market to buy 17 lots (quantity #chosen on the Quantity
             Using the Mercury display and trading method, a trader               Description pull down menu cell 1204) of the commodity at
             would first designate the desired commodity and, if                  a price of 89 (the corresponding price in the Pre column
             applicable, the default quantities. Then he can trade with           1203). Similarly, a left click on the 20 in the AskQ column
             single clicks of the right or left mouse button. The following 40 1202 will send an order to market to sell 17 lots at a price
             equations are used by the system to generate trade orders and        of 90.
             to determine the quantity and price to be associated with the           Using the right mouse button, an order would be sent to
             trade order. The following abbreviations are used in these           market at the price that corresponds to the row clicked for
             formulas: P=Price value of row clicked, R= Value in R field,         the total quantity of orders in the market that equal or better
             L= Value in L field, Q=Current Quantity, Qa= Total of all 45 the price in that row plus the quantity in the R field 1205.
             quantities in AskQ column at an equal or better price than P,        Thus, a right click in the AskQ column 1202 in the 87 price
             Qb=Total of all quantities in BidQ column at an equal or
                                                                                  row will send a sell order to market at a price of 87 and a
             better price than P, N=Current Net Position, Bo=Buy order
                                                                                  quantity of 150. 150 is the sum of all the quantities 30, 97,
             sent to market and So=Sell order-sent to market.
                                                                                  18 and 5. 30, 97 and 18 are all of the quantities in the market
                Apy order entered using right mouse button                     50 that would meet or better the trader's sell order price of 87.
                                                                                  These quantities are displayed in the BidQ column 1201
                                                                                  because this column represents the orders outstanding in the
                     Bo-(Qa+R)P                                        (Eq. 1)
                                                                                  market to purchase the commodity at each corresponding
             If BidQ field clicked.                                               price. The quantity 5 is the quantity pre-set in the R field
                                                                               55 1205.
                                                                                     Similarly, a right click in the BidQ column 1201 at the
                     So-(Q 6 +R)P                                      (Eq. 2)    same price level of 87 would send a buy limit order to
                                                                                  market for a quantity of 5 at a price of 87. The quantity is
             If AskQ field clicked.                                               determined in the game manner as above. In this example,
                                                                               60 though, there are no orders in the market that equal or better
                Orders entered using the left mouse button                        the chosen price-there are no quantities in the AskQ
                If "Offset" mode chosen in Quantity Description field             column 1202 that equal or better this price. Therefore, the
                   then:                                                          sum of the equal or better quantities is zero ("O"). The total
                                                                                  order entered by the trader will be the value in the R field,
                                                                               65 which is 5.
                     Bo-(Qa+L)P                                        (Eq. 3)       An order entered with the left mouse button and the
                                                                                  "Offset" option chosen in the quantity description field 1204




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             will be calculated in the same way as above, but the quantity      determines the total quantity of the order in step 1310. If the
             in the L field 1206 will be added instead of the quantity in       left button was clicked, then in step 1308, the system
             the R field 1205. Thus, a left click in the BidQ column 1201       determines which quantity description was chosen: Offset,
             in the 92 price row will send a buy order to market at a price     NetPos or an actual number.
             of 92 and a quantity of 96. 96 is the sum of all the quantities       If Offset was chosen, then the system, in step 1309, will
             45, 28, 20 and 3. 45, 28 and 20 are all quantities in the          use the quantity in the L field when it determines the total
             market that would meet or better the trader's buy order price      quantity of the. order in step 1310. If NetPos was chosen,
             of 92. These quantities are displayed in the AskQ column           then the system, in step 1312, will determine that the total
             1202 because this column represents the orders outstanding         quantity for the trade order will be current NetPos value, i.e.
                                                                                the net position of the trader in the given commodity. If an
             in the market to sell the commodity at each corresponding 10
                                                                                actual number was used as the quantity description, then, in
             price. The quantity 3 is the quantity pre-set in the L field
                                                                                step 1311, the system will determine that the total quantity
             1206.                                                              for the trade order will be the current quantity entered. In
                The values in the Lor R fields may be negative numbers.         step 1310, the system will determine that the total quantity
             This would effectively decrease the total quantity sent to         for the trade order will be the value of the R field (if step
             market. In other words, in the example of a right click in the 15 1307 was taken) or the value of the L field (if step 1309 was
             AskQ column 1202 in the 87 price row, if the R field was -5,       taken) plus all quantities in the market for prices better than
             the total quantity sent to market would be 140 (30+97+18+          or equal to the price in the row clicked. This will add up the
             (-5)).                                                             quantities for each order in, the market that will fill the order
                If a trader chose the "NetPos" option in the quantity           being entered by the trader (plus the Lor R value).
             description field 1204, a right click would still work as 20          After either steps 1310, 1311 or 1312, the system, in step
             explained above. A left click would enter an order with a          1313, determines which column was clicked, BidQ or AskQ.
             price corresponding to the price row clicked and a quantity        If AskQ was clicked, then, in step 1314, the system sends a
             equal to the current Net position of the trader. The Net           sell limit order to the market at the price corresponding to
             position of the trader is the trader's current position on the     the row for the total quantity as already determined. If BidQ
             chosen contract. In other words, if the trader has bought 10 25 was clicked, then, in-step 1315, the system sends a buy limit
             more contracts than he has sold, this value would be 10.           order to the market at the price corresponding to the row for
             NetPos would not affect the quantity of an order sent with a       the total quantity as already determined.
             right click.                                                          It should be understood that the above description of the
                                                                                invention and specific examples, while indicating preferred
                If the trader chose a number value in the quantity
                                                                                embodiments of the present invention, are given by way of
             description, a left click would send an order to market for the 30
                                                                                illustration and not limitation. Many changes and modifica-
             current quantity chosen by the trader. The default value of
                                                                                tions within the scope of the present invention may be made
             the current quantity will be the number entered in the
                                                                                without departing from the spirit thereof, and the present
             quantity description field, but it could be changed by adjust-
                                                                                invention includes all such changes and modifications.
             ing the figure in the current quantity field 1204.
                                                                                   We claim:
                This embodiment of the invention also allows a trader to 35
                                                                                   1. A method for displaying market information relating to
             delete all of his working trades with a single click of either
                                                                                and facilitating trading of a commodity being traded in an
             the right or left mouse button anywhere in the last traded
                                                                                electronic exchange having an inside market with a highest
             quantity (LTQ) column 1207. This allows a trader to exit the
                                                                                bid price and a lowest ask price on a graphical user interface,
             market immediately. Traders will use this feature when they
                                                                                the method comprising:
             are losing money and want to stop the losses from pilling up. 40
             Traders may also use this feature to quickly exit the market          dynamically displaying a first indicator in one of a plu-
             upon making a desired profit. The invention also allows a                rality of locations in a bid display region, each location
             trader to delete all of his. orders from the market at a                 in the bid display region corresponding to a price level
             particular price level. A click with either mouse button in the          along a common static price axis, the first indicator
             Entered/Working (E/W) column 1208 will delete all work- 45               representing quantity associated with at least one order
             ing orders in the cell that was clicked. Thus, if a trader               to buy the commodity at the highest bid price currently
             believes that previously sent orders at a particular price that          available in the market;
             have not been filled would be poor trades, he can delete these        dynamically displaying a second indicator in one of a
             orders with a single click.                                              plurality of locations in an ask display region, each
                The process for placing trade orders using the Mercury 50             location in the ask display region corresponding to a
             display and trading method of the present invention as                   price level along the common static price axis, the
             described above is shown in the flowchart of FIG. 6. First,              second indicator representing quantity associated with
             in step 1301, the trader has the Mercury display on the                  at least one order to sell the commodity at the lowest
             trading terminal screen showing the market for a given                   ask price currently available in the market;
             commodity. In step 1302, the parameters are set in the 55             displaying the bid and ask display regions in relation to
             appropriate fields, such as the Land R fields and the Current            fixed price levels positioned along the common static
             Quantity, NetPos or Offset fields from the pull down menu.               price axis such that when the inside market changes, the
             In step 1303, the mouse pointer is positioned and clicked                price levels along the common static price axis do not
             over a cell in the Mercury display by the trader. In step 1304,          move and at least one of the first and second indicators
             the system determines whether the cell clicked is a tradable 60          moves in the bid or ask display regions relative to the
             cell (i.e. in the AskQ column or BidQ column). If not, then              common static price axis;
             in step 1305, no trade order is created or sent and, rather,          displaying an order entry region comprising a plurality of
             other quantities are adjusted or functions are performed                 locations for receiving commands to send trade orders,
             based upon the cell selected. Otherwise, in step 1306, the               each location corresponding to a price level along the
             system determines whether it was the left or the right button 65         common static price axis; and
             of the mouse that was clicked. If it was the right, then in step      in response to a selection of a particular location of the
             1307, the system will use the quantity in the R field when it            order entry region by a single action of a user input




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                   device, setting a plurality of parameters for a trade             17. The method of claim 16 wherein the entered order
                   order relating to the commodity and sending the trade          indicator is displayed in an entered order region.
                   order to the electronic exchange.                                 18. The method of claim 1 further comprising dynami-
                2. The method of claim 1 wherein the bid and ask display          cally displaying a last trade indicator in association with the
             regions and the order entry region comprise columns with a           common static price axis.
             plurality of cells that are displayed as a grid such that the           19. The method of claim 18 wherein the last trade
             cells of each column are aligned.                                    indicator is displayed in a last trade region.
                3. The method of claim 1 wherein the bid and ask display             20. The method of claim 1 further comprising the steps of:
             regions and the order entry region are oriented vertically.             displaying the first indicator at a first location associated
                4. The method of claim 1 wherein the bid and ask display                with a first price level on the common static price axis
                                                                               10
             regions and the order entry region are oriented horizontally.              at a first time; and
                5. The method of claim 1 wherein one of the plurality of             displaying the first indicator at a second location associ-
             locations of bid display region comprises a blank region in                ated with a different price level on the common static
             which there is no first indicator displayed.                               price axis at a second time subsequent to the first time.
                6. The method of claim 1 wherein one of the plurality of             21. The method of claim 1 further comprising the steps of:
             locations of the ask display region comprises a blank region 15         displaying the second indicator at a first location associ-
             in which there is no first indicator displayed.                            ated with a first price level on the common static price
                7. The method of claim 1 comprising the step of display-                axis at a first time; and
             ing at least a portion of the common static price axis in a             displaying the second indicator at a second location
             price display region.
                                                                                        associated with a different price level on the common
                8. The method of claim 7 wherein the bid display region, 20
                                                                                        static price axis at a second time subsequent to the first
             the ask display region, the order entry region and the price
             display region comprise columns with a plurality of cells                  time.
             that are displayed as a grid such that the cells of each column         22. The method of claim 1 further comprising the steps of:
             are aligned.                                                            displaying the first indicator at a first location associated
                9. The method of claim 7 wherein the bid display region, 25             with a particular price level on the common static price
             the ask display region, the order entry region and the price               axis; and
             display region are oriented vertically.                                 repositioning the common static price axis such that the
                10. The method of claim 7 wherein the bid display region,               first indicator is displayed at a second location associ-
             the ask display region, the order entry region and the price               ated with the particular price level on the common
             display region are oriented horizontally.                                  static price axis.
                                                                               30
                11. The method of claim 1 further comprising the steps of:           23. The method of claim 1 further comprising the steps of:
                dynamically displaying a third indicator at one of the            displaying the second indicator at a first location associated
                   plurality of locations in the bid display region, the third    with a particular price level on the common static price axis;
                   indicator representing quantity associated with at least       and
                   one order to buy the commodity at a price different than
                                                                                     repositioning the common static price axis such that the
                   the highest bid price currently available in the market; 35
                                                                                        second indicator is displayed at a second location
                   and
                                                                                        associated with the particular price level on the com-
                dynamically displaying a fourth indicator at one of the
                                                                                        mon static price axis.
                   plurality of locations in the ask display region, the
                   fourth indicator representing quantity associated with            24. The method of claim 1 wherein the bid and ask display
                   at least one order to sell the commodity at a price 40 regions are displayed in different colors.
                   different than the lowest ask price currently available in        25. The method of claim 1 wherein the first and second
                   the market.                                                    indicators are displayed in different colors.
                12. The method of claim 11 wherein a location of the                 26. The method of claim 1 wherein the bid and ask display
             plurality of locations of the bid display region comprises a         regions are displayed in a window further comprising cen-
             blank region in which there is no first or third indicator 45 tering the display of the first and second indicators in the
             displayed.                                                           window upon receipt of a centering instruction.
                13. The method of claim 1 wherein a location of the                  27. A computer readable medium having program code
             plurality of locations of the ask display region comprises a         recorded thereon for execution on a computer for displaying
             blank region in which there is no second or fourth indicator         market information relating to and facilitating trading of a
             displayed.                                                        50 commodity being traded in an electronic exchange having an
                14. The method of claim 1 wherein the order entry region          inside market with a highest bid price and a lowest ask price
             comprises:                                                           on a graphical user interface, the program code causing a
                a bid order entry region comprising a plurality of loca-          machine to perform the following method steps:
                   tions for receiving commands to send buy orders, each             dynamically displaying a first indicator in one of a plu-
                   location corresponding to a price level along the com- 55            rality of locations in a bid display region, each location
                   mon static price axis; and                                           in the bid display region corresponding to a price level
                an ask order entry region comprising a plurality of loca-               along a common static price axis, the first indicator
                   tions for receiving commands to send sell orders, each               representing quantity associated with at least one order
                   location corresponding to a price level along the com-               to buy the commodity at the highest bid price currently
                   mon static price axis.                                      60       available in the market;
                15. The method of claim 14 wherein the bid order entry               dynamically displaying a second indicator in one of a
             region overlaps with the bid display region and the ask order              plurality of locations in an ask display region, each
             entry region overlaps with the ask display region.                         location in the ask display region corresponding to a the
                16. The method of claim 1 further comprising dynami-                    price level along the common Static price axis, the
             cally displaying an entered order indicator in association 65              second indicator representing quantity associated with
             with the price levels arranged along the common static price               at least one order to sell the commodity at the lowest
             axis.                                                                      ask price currently available in the market;




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                displaying the bid and ask display regions in relation to           33. The method of claim 11 comprising the steps of:
                   fixed price levels positioned along the common static            displaying the second indicator at a first location associ-
                   price axis such that when the inside market changes, the            ated with a first price level on the common static price
                   price levels along the common static price axis do not              axis at a first time; and
                   move and at least one of the first and second indicators         displaying the second indicator at a second location
                   moves in the bid or ask display regions relative to the             associated with a different price level on the common
                   common static price axis;                                           static price axis at a second time subsequent to the first
                displaying an order entry region comprising a plurality of             time.
                   locations for receiving commands to send trade orders, 10        34. The method of claim 33 wherein the third and fourth
                   each location corresponding to a price level along the        indicators remain in the same location in the bid an ask
                   common static price axis; and                                 display regions, respectively, before and after the second
                                                                                 indicator is displayed at the second location.
                in response to a selection of a particular location of the
                                                                                    35. The method of claim 34 wherein each location of the
                   order entry region by a single action of a user input         bid display region corresponds to a different price level
                   device, setting a plurality of parameters for a trade 15 along the common static price axis and each location of the
                   order relating to the commodity and sending the trade         ask display region corresponds to a different price level
                   order to the electronic exchange.                             along the common static price.
                28. The method of claim 11 wherein the first and third              36. The method of claim 1 wherein the bid and ask display
             indicators are displayed in locations of the bid display region     regions are displayed separately.
             that are arranged along an axis which is parallel to the 20            37. The method of claim 1 wherein the first and second
             common static price axis.                                           indicators are based on an exchange order book and wherein
                29. The method of claim 11 wherein the second and fourth         the price levels along the common static price axis do not
             indicators are displayed in locations of the ask display            move in response to the addition of a price to the exchange
             region that are arranged along an axis which is parallel to the     order book, the additional price comprising a price for which
                                                                              25
             common static price axis.                                           there is a corresponding displayed location in at least one of
                30. The method of claim 11 comprising the steps of:              the bid and ask display regions.
                                                                                    38. The method of claim 37 wherein the price levels along
                displaying the first indicator at a first location associated
                                                                                 the common static price axis do not move in response to the
                   with a first price level on the common static price axis
                   at a first time; and
                displaying the first indicator at a second location associ-
                                                                              30 ;::~~:1                                     ::i~ t~~~:,
                                                                                            ~ri~e p~~c~p;:~i~g t~e p:;c~haf:~e
                                                                                 corresponding displayed location in at least one of the bid
                                                                                                                                            it:

                   ated with a different price level on the common static        and ask display regions.
                   price axis at a second time subsequent to the first time.        39. The method of claim 1 wherein the first and second
                31. The method of claim 30 wherein the third and fourth
             indicators remain in the same location in the bid and ask 35        ~~~~~:t~~~:~e   t~:s~!:::ine:~:i:i~r::d:x~~:~~~~      !~J2~:
             display regions, respectively, before and after the first indi-     response to a price change in the exchange order book
             cator is displayed at the second location.                          relating to a price which corresponds to a displayed location
                32. The method of claim 31 wherein each location of the          in at least one of the bid and ask display regions.
             bid display region corresponds to a different price level              40. The method of claim 1 the plurality of parameters
             along the common static price axis and each location of the 40 comprises a price and type of order.
             ask display region corresponds to a different price level
             along the common static price.




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                        UNITED STATES PATENT AND TRADEMARK OFFICE
                              CERTIFICATE OF CORRECTION

        PATENT NO.  : 6,766,304 B2                                                                        Page 1 of 1
        DATED       : July 20, 2004
        INVENTOR(S) : Gary Allan Kemp II, Jens-Uwe Schluetter and Harris Brumfield


                It is certified that error appears in the above-identified patent and that said Letters Patent is
                hereby corrected as shown below:




               Title page,
               Item [56], References Cited, U.S. PATENT DOCUMENTS, add the following:
               -- 4,903,201    A      2/1990         Wagner
                  5,101,353    A      3/1992         Lupien et al.
                  5,946,667    A      8/1999         Tull, Jr., et al.
                  6,035,287    A      3/2000         Stallaert et al.
                  2002/0138401 Al     9/2002         Allen et al. --
               FOREIGN PATENT DOCUMENTS, add the following:
               -- WO           WO 95/35005           9/1995 --

               Column 14,
               Line 64, the word "Static" should be -- static --.

               Column 15,
               Line 26, after "claim 11" add the word -- further--.

               Column 16,
               Line 1, after "claim 11" add the word -- further --.
               Line 10, the word "an" should be -- and--.
               Line 40, after "claim 1" add -- wherein--.




                                                                            Signed and Sealed this

                                                                   Sixteenth Day of November, 2004




                                                                                     JONW.DUDAS
                                                                    Director of the United States Patent and Trademark Office




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                                                                                                                                                 US006766304Cl

                    c12)   EX PARTE REEXAMINATION CERTIFICATE (6739th)
             United States Patent                                                                                             (10) Number:                     us 6,766,304 Cl
             Kemp, II et al.                                                                                                  (45) Certificate Issued:                   Mar. 31, 2009

             (54)    CLICK BASED TRADING WITH INTUITIVE                                                                     6,343,278 Bl           1/2002 Jain et al.
                     GRID DISPLAY OF MARKET DEPTH                                                                           6,421,653 Bl           7/2002 May
                                                                                                                        2003/0097325 Al            5/2003 Friesen et al.
             (75)    Inventors: Gary Allan Kemp, II, Winnetka, IL                                                                        FOREIGN PATENT DOCUMENTS
                                (US); Jens-Uwe Schluetter, Evanston,
                                IL (US); Harris Brumfield, Chicago, IL                                                 EP                    1319211 Bl       2/2001
                                (US)                                                                                   WO                WO 91/14231          9/1991
                                                                                                                       WO                WO/99/19821          4/1999
             (73)    Assignee: Trading Technologies International,                                                     WO                WO 99/53424          4/1999
                               Inc., Evanston, IL (US)                                                                                          OTHER PUBLICATIONS
             Reexamination Request:                                                                                    Defendant GL Trade Americas, Inc's Supplemental
                  No. 90/008,577, May 25, 2007                                                                         Responses and Objections to Interrogatory Nos. 5, 17, and
                                                                                                                       18, Jul. 24, 2006.
             Reexamination Certificate for:                                                                            User Guide V4.51 LIFFE Connect for Futures by GL Trade,
                  Patent No.:      6,766,304                                                                           Jun. 1999, DX 385, G 025751-G 025806, DTX 385.
                  Issued:         Jul. 20, 2004                                                                        CAC and STOXX Futures on MATIF NSC VF Launch: Mar.
                  Appl. No.:       09/894,637                                                                          15, 1999, DX 537, G 107561-G 107574, DTX 537.
                  Filed:          Jun. 27, 2001                                                                        GL WIN Version 4.50, Mar. 3, 1999, DX 538, G 107459-G
                                                                                                                       107480, DTX 538.
             Certificate of Correction issued Nov. 16, 2004.                                                           Trading Pad User Manual, Aug. 10, 1999, DX 539, G
                                                                                                                       112123-G 112131, DTX 539.
                             Related U.S. Application Data                                                             Email from Wattier to M. Cartier attaching MatifVF: V 4.50
                                                                                                                       manual, Mar. 30, 1998, DX 592, MC000046-MC000116,
             (62)    Division of application No. 09/590,692, filed on Jun. 9,
                                                                                                                       DTX 592.
                     2000, now Pat. No. 6,772,132.
             (60)    Provisional application No. 60/186,322, filed on Mar. 2,                                          LIFFE Connect for Futures User Guide V4.50, Feb. 1999,
                     2000.                                                                                             DX 593, G 122900--G 122938, DTX 593.
             (51)    Int. Cl.                                                                                                                        (Continued)
                     G06Q 40100                (2006.01)
                                                                                                                       Primary Examiner-Jeanne M. Clark
                     G06F 3/048                (2006.01)
                                                                                                                       (57)                         ABSTRACT
             (52)    U.S. Cl. ......................... 705/36 R; 705/35; 715/814
             (58)    Field of Classification Search ........................ None                                      A method and system for reducing the time it takes for a
                     See application file for complete search history.                                                 trader to place a trade when electronically trading on an
                                                                                                                       exchange, thus increasing the likelihood that the trader will
             (56)                    References Cited                                                                  have orders filled at desirable prices and quantities. The
                                                                                                                       "Mercury" display and trading method of the present inven-
                              U.S. PATENT DOCUMENTS                                                                    tion ensure fast and accurate execution of trades by display-
                    5,243,331 A       9/1993    McCausland et al.                                                      ing market depth on a vertical or horizontal plane, which
                    5,297,031 A       3/1994    Gutterman et al.                                                       fluctuates logically up or down, left or right across the plane
                    5,960,411 A       9/1999    Hartman et al.                                                         as the market prices fluctuates. This allows the trader to trade
                    6,115,698 A       9/2000    Tuck et al.                                                            quickly and efficiently.

                                                                                       SYCOM FGBL DEC89
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                         EXPARTE                      AS A RESULT OF REEXAMINATION, IT HAS BEEN
                                                        DETERMINED THAT:
               REEXAMINATION CERTIFICATE
                 ISSUED UNDER 35 U.S.C. 307            The patentability of claims 1-40 is confirmed.
                NO AMENDMENTS HAVE BEEN MADE TO
                          THE PATENT                                      * * * * *




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                (73)     Assignee: Trading Technologies International,
                                   Inc., Chicago, IL (US)
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                                      patent is extended or adjus ted under 35                                 FOREIGN PATENT DOCUMENTS
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                                                                                                to place a trade when electronically trading on an exchange,
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                                                                                                thus increasing the likelihood that the trader will have orders
                (58)    Field of Classification Search .............. 705/35-45
                                                                                                filled at desirable prices and quantities. The "Mercury" dis-
                        See application file for complete search history.
                                                                                                play and trading method of the present invention ensure fast
                (56)                     References Cited                                       and accurate execution of trades by displaying market depth
                                                                                                on a vertical or horizontal plane, which fluctuates logically up
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                           FIG. 1
                                                            CONNECTION TO MULTIPLE EXCHANGES

                                    HOST EXCHANGE             HOST EXCHANGE                                                          HOST EXCHANGE
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                       FIG. 3
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                         FIG. 4
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                                   FIG. 5
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                                   FIG. 6                                             THIS WILL ADD UP THE QUANTITIES                                              !'"'I--
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                                                                                                                              DISPLAYED ON HIS                     !'"'I--
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                                                                                      SUM OF ALL QUANTITIES THAT "BETTER"     COMPUTER SCREEN
                                                                                      THE ORDER BEING ENTERED                1
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Appx2472
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                               MARKET FOR DEFINED                                                                            OTHER RESTRICTIONS                    d['1
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                      CLICK BASED TRADING WITH INTUITIVE                                     The world's stock, bond, futures and options exchanges
                         GRID DISPLAY OF MARKET DEPTH                                    have volatile products witli prices that move rapidly. To profit
                                                                                         in these markets, traders must be able to react quickly. A
                                              PRIORITY                                   skilled trader with !he quickest software, the fastest co=u-
                                                                                     5 nications, and tile mos! sophisticated analytics can signifi-
                      ·n1e present application claims priority to a U.S. Provi-          cantly improve his own or his finn' s bottom line. The slightest
                  sional Patent Application 60/186,322 entitled "Market Depth            speed advantage can generate significant returns in a fast
                  Display Click Based Trading and Mercury Display" filed                 moving market. In today's securities markets, a trader lacking
                  Mar. 2, 2000, the contents of which are incorporated herein by         a technologically advanced interface is at a severe competi-
                  reference.                                                        10  tive   disadvantage.
                                                                                             Irrespective of what interface a trader uses to enter orders in
                                   FIELD OF THE INVENTION                                tile market, each market supplies and requires tile same infor-
                                                                                        mation to and from every trader. The bids and asks in the
                      The present invention is directed to tl1e electronic trading      market make up the market data and everyone logged on to
                  of coll1ll1odities. Specifically, the invention provides a trader I 5 trade can receive this information if the exchange provides it.
                  with a versatile and efficient tool for executing trades. It           Similarly, every exchange requires that certain information be
                  facilitates the display of and the rapid placement of trade            included in each order. For example, traders must supply
                 orders within the market trading depth of a coll1ll1odity, where       information like the name of the commodity, quantity, restric-
                 a commodity includes anytl1ing that can be traded witl1 quan-          tions, price and multiple other variables. Without all of this
                  tities and/or prices.                                             20 information, the market wi 11 not accept the order. This input
                                                                                        and output of information is the san1e for every trader.
                             BACKGROUND OF THE INVENTION                                    Witli these variables being constant, a competitive speed
                                                                                        advantage must come from oilier aspects of the trading cycle.
                      At least 60 exchanges tlrroughout tile world utilize elec-        When analyzing tile time it takes to place a trade order for a
                 tronic trading in varying degrees to trade stocks, bonds, 25 given commodity, various steps contribute in different
                 futures. options and oilier products. These electronic                 amounts to the total time required. Approximately 8% of the
                 exchanges are based on three components: mainframe com-                total time it takes to enter an order elapses between tile
                 puters (host), co11U1mnications servers, and the exchange par-         moment tile host generates tl1e price for tl1e commodity and
                 ticipants' computers (client). The host forms ilie electronic          the moment the client receives tile price. The time it takes for
                 heart oftl1e fully computerized electronic trading system. The 30 the client application to display the price to the trader amounts
                 system's operations cover order-matching, maintaining order            to approximately 4%. The tinle it takes for a trade order to be
                 books and positions, price information, and managing and               transmitted to the host amounts to approximately 8%. The
                 updating the database for the online trading day as well as            remainder of tile total time it takes to place an order, approxi-
                 nightly batch runs. The host is also equipped with external            mately 80%,, is attributable to the time required for tile trader
                 interfaces that maintain uninterrupted online contact to quote 35 to read the prices displayed and to enter a trade order. The
                 vendors and other price information systems.                           present invention provides a significant advantage during the
                     Traders can link to the host through tlrree types of struc-        slowest portion of the trading cycle--while the trader manu-
                 tures: high speed data lines, high speed colllll1unications serv-      ally enters his order. Traders recognize that the value of time
                 ers and the Internet. High speed data lines establish direct           savings in this portion may amount to millions of dollars
                 connections between the client and the host. Another connec- 40 annually.
                 tion can be established by configuring high speed networks or              In existing systems, multiple elements of an order must be
                communications servers at strategic access points worldwide             entered prior to an order being sent to market, which is time
                 in locations where traders physically are located. Data is             consllllling for the trader. Such elements include tile com-
                transmitted in both directions between traders and exchanges            modity symbol, the desired price, the quantity and whetlier a
                 via dedicated high speed colllll1unication lines. Most 45 buy or a sell order is desired. The more tinle a trader takes
                exchange participants install two lines between the exchange            entering an order, tile more likely the price on which he
                and the client site or between tl1e communication server and            wanted to bid or offer will change or not be available in the
                the client site as a safety measure against potential failures.         market. The market is fluid as many traders are sending orders
                An cxchangc's internal computer system is also often                    to the market simultaneously. It fact, successful markets strive
                installed with backups as a redundant measure to secure sys- 50 to have such a high volllllle of trading that any trader who
                tem availabilitv. The third connection utilizes the Internet.           wishes to enter an order will find a match and have tile order
                Here, the exchange and the traders colllll1unicate back and             filled quickly, if not immediately. In such liquid markets, the
                forth through high speed data lines, which are connected to             prices of ilie colllll1odities fluctuate rapidly. On a trading
                the Internet. This allows traders to be located anywhere they           screen, tliis results in rapid changes in the price and quantity
                can establish a connection to the Inlemet.                          55 fields witliin tl1e market grid. If a trader intends to enter an
                     Irrespective of the way in which a connection is estab-            order at a particular price, but misses the price because the
                lished, the exchange participants' computers allow traders to           market prices moved before he could enter the order, he may
                participate in the market. They use software that creates spe-          lose hundreds, thousands, even millions of dollars. TI1e faster
                cialized interactive trading screens on the traders' desktops.          a trader can trade, the less likely it will be that he will miss his
                The trading screens enable traders to enter and execute orders, 60 price and the more likely he will make money.
                obtain market quotes, and monitor positions. The range and
                quality of fean1res available to traders on their screens varies                      SUMMARY or THE INVENTION
                according to the specific software application being rw1. The
                installation of open interfaces in the development of an                    The inventors have developed the present invention which
                exchange's electronic strategy means users can choose, 65 overcomes the drawbacks ofilic existing trading systems and
                depending on their trading sty le and internal requirements,            dramatically reduces the time it takes for a trader to place a
                the means by which they will access the exchange.                       trade when electronically trading on an exchange. This, in




                                                                                                                                                       TTX03548157
                                                                            Appx368



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               turn. increases the likelihood that the trader will have orders       and characteristics of a trade order to be sent to the exchange.
               filled at desirable prices and quantities.                            It is envisioned that the system of the present invention can be
                   'Ihe "Mercury" di.splay and trading method of the present         implemented on any existing or fuh1re tenninal or device with
               invention ensure fast and accurate execution of trades by             the processing capability to perfonn the functions described
               displaying market depth on a vertical or horizontal plane, 5 herein. The scope of the present invention is not limited by the
               which fluctuates logically up or down, left or right across the       type of terminal or device used. Further, the specification
               plane as the market prices fluctuates. This allows the trader to      refers to a single click of a mouse as a means for user input and
               trade quickly and efficiently.                                        interaction with the terminal display as an example of a single
                   Specifically, the present invention is directed to a graphical    action of the user. While this describes a preferred mode of
               user interface for displaying the market depth of a commodity 1o interaction, the scope of the present invention is not limited to
               traded in a market, including a dynamic display for a plurality       the use of a mouse as the input device or to the click of a
               of bids and for a plurality of asks in the markel for the             mouse button as the user's single action. Rather, any action by
               commodity and a static display of prices corresponding to the         a user within a short period of time, whether comprising one
               plurality of bids and asks. In this embodiment the pluralities        or more clicks of a mouse button or other input device, is
               of bids and asks are dynamicalJy displayed in alignment with 15 considered a single action of the user for the purposes of the
               the prices corresponding thereto. Also described herein is a          present invention.
               method and system for placing trade orders using such di.s-               The system can be configured to alJow for trading in a
               plays.                                                                single or in multiple exchanges simultaneously. Com1ection
                   "111ese embodiments, and others described in greater detail       of the system of the present invention with multiple
               herein, provide the trader with improved efficiency and ver- 20 exchanges is ilJustrated in FIG. 1. This figure shows multiple
               satility in placing, and thus executing, trade orders for com-        host exchanges 101-103 connected through routers 104-106
               modities in an electronic exchange. Other features and advan-         to gateways 107-109. Multiple client terminals 110-116 for
               tages of the present invention wilJ become apparent to those          use as trading stations can then trade in the multiple
               skilled in the art from the following detailed description. It        exchanges through their connection to the gateways 107-109.
               should be understood, however, thal the delailed description 25 When the system is configured to receive data from multiple
               and specific examples, while indicating preferred embodi-             exchanges, then the preferred implementation is to translate
               ments of the present invention, are given by way of illustra-         the data from various exchanges into a simple format. This
               tion and not limitation. Many changes and modifications               "translation" function is described below with reference to
               within the scope of the present invention may be made with-           FIG. l. An applications program interface ("TT AP!" as
               out departing from the spirit thereof, and the invention 30 depicted in the figure) translates the incoming data formats
               includes all such modifications.                                      from the different exchanges to a simple preferred data for-
                                                                                     mat. This translation function may be disposed anywhere in
                        BRIEF DESCRIPTION OF THE DRAWINGS                            the network, for example, at the gateway server, at the indi-
                                                                                     vidual workstations or at both. In addition, the storage at
                   FIG. 1 illustrates the network connections between mu]- 35 gateway servers and at the client workstations, and/or other
               tiple exchanges and client sites;                                     external storage cache historical data such as order books
                   FIG. 2 illustrates screen display showing the inside market       which list the client's active orders in the market; that is, those
               and the market depth of a given commodity being traded;               orders that have neither been filled nor cancelJed. Infonnation
                   FIG. 3 illustrates the Mercury display of the present inven-      from different exchanges can be displayed at one or in mul-
               tion;                                                              40 ti.pie windows at the client workstation. Accordingly, while
                   FIG. 4 illustrates the Mercury display at a later time show-      reference is made through the remainder of the specification
               ing the movement of values when compared to FIG. 3;                   to a single exchange to which a trading terminal is connected,
                   FIG. 5 iJJustrates a Mercury display with parameters set in       the scope of the invention includes the ability to trade, in
               order to exemplify the Mercury trading method; and                    accordance with the trading methods described herein, in
                   FIG. 6 is a flowchart illustrating the process for Mercury 45 multiple exchanges using a single trading tenninal.
               display and trading.                                                      The preferred embodiments of the present invention
                                                                                     include the display of "Market Depth" and allow traders to
                    DETAILED DESCRIPTION OF THE PREFERRED                            view the market depth of a commodity and to execute trades
                                       EMBODIMENTS                                   within the market depth with a single click of a computer
                                                                                  50 mouse button. Market Depth represents the order book with
                  As described with reference to the accompanying figures,           the current bid and ask prices and quantities in the market. In
               the present invention provides a display and trading method to        other words, Market Depth is each bid and ask that was
               ensure fast and accurate execution of trades by displaying            entered into the market, subject to the limits noted below, in
               market depth on a vertical or horizontal plane, which fluctu-         addition to the inside market. For a conm1odity being traded,
               ates logically up or down, left or right across the plane as the 55 the "inside market" is the highest bid price and the lowest ask
               market prices fluctuates. This alJows the trader to place trade       price.
               orders quickly and efficiently.A conunodity's market depth is             The exchange sends the price, order and fill infomiation to
               the current bid and ask prices and quantities in the market.          each trader on the exchange. The present invention processes
               The display and trading method of the invention increase the          th.is infom1ation and maps it through simple algorithms and
               likelihood that the trader will be able to execute orders at 60 mapping tables to positions in a theoretical grid program or
               desirable prices and quantities.                                      any other comparable mapping technique for mapping data to
                   In the preferred embodin1ent, the present invention is            a screen. The physical mapping of such information to a
               implemented on a computer or electronic tem1inal. The com-            screen grid can be done by any technique known to those
               puter is able to communicate either directly or indirectly            skilled in the art. The present invention is not limited hy the
               (using intermediate devices) with tl1c exchange to receive and 65 method used to map the data to the screen display.
               transmit market. commodity, and trading order information.                How far into the market depth the present invention can
               It is able to interact with the trader and to generate contents       display depends on how much of the market depth the




                                                                                                                                                   TTX03548158
                                                                          Appx369




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                  exchange provides. Some exchanges supply an infinite mar-
                  ket depth, while others provide no market depth or only a few                                   TABLE I
                  orders away from the inside market. The user of the present
                                                                                                                Abbreviations
                  invention can also chose how far into the market depth to
                  display on his screen.                                                  COLUMN               DESCRIPTION
                     FIG. 2 illustrates a screen display of an invention described         Month               Expiration Month/Year
                  in a commonly owned co-pending application entitled "Click               Bid Mbr(l)          Bid Member ID
                  Based Trading with Market Depth Display" Ser. No. 11/061,                WrkBuys(2)          Working Buys for entire Group
                                                                                                               ID
                  554, filed on Feb. 18, 2005, the contents of which are incor- 10         BidQty              Bid Quantity
                  porated herein by reference. This display shows the inside              ThrshBid,6)          Threshold Bid Price
                  market and the market depth of a given commodity being                  BidPrc               Bid  Price
                                                                                           BidQtyAccum         Accumulated Bid Quantity
                  traded. Row 1 represents the "inside market" for the com-                BidPrcAvg           Bid Price Average
                  modity being traded which is the best (highest) bid price and            AskPrcAvg          Ask Price Average
                  quantity and the best (lowest) ask price and quantity. Rows 15           AskQty Accum        Accumulated Ask Quantity
                                                                                          AskPrc              Ask Price
                  2-5 represent the "market depth" for the commodity being                                    Threshold   Ask Price
                                                                                          ThrshAskc6 )
                 traded. In the preferred embodiment of the present invention,            AskQty              Ask Quantity
                 the display of market depth (rows 2-5) lists the available               WrkSellsc 2 )       Working Sells for entire Group
                 next-best bids, in colulllll 203, and asks, in column 204. The                               ID
                                                                                          AskMbr(J)           Ask Member ID
                 working bid and ask quantity for each price level is also 20             NetPos               Net Position
                 displayed in colUllllls 202 and 205 respectively (inside mar-            FFNctPos             Fast Fill Net Position
                 ket-row 1). Prices and quantities for the inside market and              LastPrc              Last Price
                                                                                          LastQty              Last Quantity
                 market depth update dynamically on a real time basis as such             Total               Total Traded Quantity
                 information is relayed from the market.                                  High                 High Price
                                                                                   25     Low                 Low Price
                     In the screen display shown in FIG. 2, the commodity                 Open                Opening Price
                 (contract) being traded is represented in row 1 by the charac-           Close               Closing Price
                 ter string "CDH0". The Depth column 208 will inform the                  Chng                 Last Price - Last Close
                 trader of a status by displaying different colors. Yellow indi-          ThcoPrc             Theoretical Price
                                                                                          TheoBid             Theoretical Bid Price
                 cates that the program application is waiting for data. Red 30           TheoAsk             Theoretical Ask Price
                 indicates that the Market Depth has failed to receive the data           QAct                Quote Action (Sends
                 from the server and has "timed out." Green indicates that the                                Uldividual quotes)
                                                                                          BQQ                 Test Bid Quote Quantity
                 data has just been updated. The other column headings in this            BQP                 Test Bid Quote Price
                 and all of the other figures, are defined as follows. BidQty             MktBQQ               Market Bid Quote Quantity
                 (Bid Quantity): the quantity for each working bid, BidPrc 35             MktBQP              Market Bid Quote Price
                                                                                          Quote               Checkbox activates/deactivates
                 (Bid Price): the price for each working bid, AskPrc (Ask                                     contract for quoting
                 Price): the price for each working ask, AskQty (Ask Quan-                MktAQQ              Market Ask Quote Quantity
                 tity): the quantity for each working ask, LastPrc (Last Price):          Ml-tAQP             Market Ask Quote Price
                                                                                          AQP                 Ask Quote Price
                 the price for the last bid and ask that were matched in the              AQQ                 Ask Quote Quantity
                 market and LastQty (Last Quantity): the quantity traded al the 40        Imp BidQty,,,       Implied Bid Quantity
                last price. Total represents the total quantity traded of the             Imp BidPrc(S)       Implied Bid Price
                                                                                          Imp AskQty,,,       Implied Ask Quantity
                given commodity.                                                          Imp AskPrccs)       Implied Ask Price
                    The configuration of the screen display itself informs the            Gamma(J)            Change in Delta given 1 pt
                user in a more convenient and efficient manner than existing 45                               change   in underlying
                                                                                          Delt.ac3)           Change in price given 1 pt
                systems. Traders gain a significant advantage by seeing the                                   change in underlying
                market depth because they can see trends in the orders in the                                 Percent volatility
                market. The market depth display shows the trader the interest                                Price change given 1%
                                                                                                              change in Vola
                the market has in a given commodity at different price levels.                                Price change given 1%
                If a large amount of bids or asks are in the market near the 50                               change in interest rate
                trader's position, he may feel he should sell or buy before the                               Price change for every da.y
                inside market reaches the morass of orders. A lack of orders                                  that elapses
                                                                                          Click T.n:i         Activate/deactivate click
                above or below the inside market might prompt a trader to                                     trading by contract
                enter orders nearthe inside market. Without seeing the market             S (Stanis)          Auction, Closed, FastMkt, Not
                depth, no such strategies could be utili7ed. Having the 5 5                                   Tradable, Pre-trading, Tradablc, S =
                dynamic market depth, including tl1e bid and ask quantities                                   post-trading
                and prices of a traded commodity aligned with and displayed               Expiry              Expiration Month/Year
                below the current inside market of the commodity conveys
                the information to the user in a more intuitive and easily
                                                                                         As described herein, the display and trading method of the
                understandable manner. Trends in the trading of the commod- 60
                ity and other relevant characteristics are more easily identifi-      present invention provide the user with certain advantages
                able by the user through the use of the present invention.            over systems in which a display of market depth, as shown in
                    Various abbreviations are used in the screen displays, and        FIG. 2, is used. The Mercury display and trading method of
                specifically, in the column headings of the screen displays           the present invention ensure fast and accurate execution of
                reproduced herein. Some abbreviations have been discussed 65 trades by displaying market depth on a vertical or horizontal
                above. A list of common abbreviations and their meanings is           plane, which fluctuates logically up or down, left or right
                provided in Table I.                                                  across the plane as the market prices fluctuates. This allows




                                                                                                                                               TTX03548159
                                                                         Appx370



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              the trader to trade quickly and efficiently. An example of such     quantity value, which may be added to the order quantity
              a Mercury display is illustrated in the screen display of FIG.      entered. This process is explained below with respect to trad-
              3.                                                                  ing under Mercury. Below the Land R fields, in cell 1011, a
                  TI1e display of market depth and the manner in which            number appears which represents the current market volume.
              traders trade within the market depth can be effected in dif- 5     This  is the number oflots that have been traded for the chosen
              ferent manners, which many traders will find materially bet-        contract. Cell 1012, "xl0", displays the Net Quantity, the
              ter, faster and more accurate. In addition, some traders may        current position of the trader on the chosen contract. The
              find the display of market depth to be difficult to follow. In the  number "10" represents the trndcr's buys minus sells. Cell
              display sh.own in FIG. 2, the market depth is displayed verti-      1013 is the "Current Quantity"; this field represents the quan-
              cally so that both Bid and Ask prices descend the grid. The 10 tity for the next order that the trader will send to market. Tllis
              Bid prices descend the market grid as the prices decrease. Ask      can be adjusted with right and leti clicks (up and down) or by
              prices also descend the market grid as these prices actually        clicking the buttons wllich appear below the Current Quantity
              increase. This combination may be considered counterintui-          in cells 1014. These buttons increase the current quantity by
              tive and difficult to follow by some traders.                       the indicated amount; for example, "10" will increase it by
                  TI1e Mercury display overcomes this problem in an inno- 15 10; "111" will increase it by 100: "]K" will increase it by
              vative and logical manner. Mercury also provides an order           1000. Cell 1015 is the Clear button; clicking this button will
              entry system, market grid, fill window and summary of mar-          clear the Current Quantity field. Cell 1016 is the Quantity
              ket orders in one simple window. Such a condensed display           Description; this is a pull down menu allowing the trader to
              materially simplifies the trading system by entering and            chose from three Quantity Descriptions. TI1e pull down menu
              tracking trades in an extremely efficient manner. Mercury 20 is displayed when the arrow button in the window is clicked.
              displays market depth in a logical, vertical fashion or hori-       The window includes NetPos, Offaet and a field allowing the
              zontally or at some other convenient angle or configuration. A      trader to enter numbers. Placing a number in this field will set
              vertical field is shown in the figures and described for convc-     a default buy or sell quantity. Choosing "Offset" in this field
              1lience, but the field could be horizontal or at an angle. In tum,  will enable the L/R buttons of cell 1010. Choosing "Netl'os"
              Mercury further increases the speed of trading and the like- 25 in this field will set the current Net Quantity (trader's net
              lihood of entering orders at desired prices with desired quan-      position) as the trader's quantity for his next trade. Cell 1017
              tities. In the preferred embodiment of the invention, the Mer-      are-/+buttons; these buttons will alter the size of the screen-
              cury display is a static vertical column of prices with the bid     either larger (+)or smaller ( - ). Cell 1018 is used to invoke Net
              and ask quantities displayed in vertical columns to the side of     O; clicking this button will reset the Net Quantity (cell 1011)
              the price column and aligned with the corresponding bid and 30 to zero. Cell 1019 is used to invoke Net Real; clicking this
              ask prices. An example of this display is sh.own in FIG. 3.         button will reset the Net Quantity (cell 1011) to its actual
                  Bid quantities are in the column 1003 labeled BidQ and ask      position.
              quantities are in column 1004 labeledAskQ. The representa-             The inside market and market depth ascend and descend as
              tive ticks from prices for the given commodity are shown in         prices in the market increase and decrease. For example, FIG.
              column 1005. The column does not list the whole prices (e.g. 35 4 shows a screen displaying the same market as that of FIG. 3
              95.89), but rather, just the last two digits (e.g. 89). In the      but at a later interval where the inside market, cells 1101, has
              example shown, the inside market, cells 1020, is 18 (best bid       risen three ticks. Here, the inside market for the commodity is
              quantity) at 89 (best bid price) and 20 (best ask quantity) at 90   43 (best bid quantity) at 92 (best bid price) and 63 (best ask
              (best ask price). In the preferred embodiment of the invention,     quantity) at 93 (best ask price). In comparing FIGS. 3 and 4,
              these three columns are shown in different colors so that the 40 it can be seen that the price column remained static, but the
              trader can quickly distinguish between them.                        corresponding bids and asks rose up the price column. Market
                  The values in the price column are static; that is, they do not Depth similarly ascends and descends the price column, leav-
              normally change positions unless a re-centering conunand is         ing a vertical history of the market.
              received (discussed in detail later). The values in the Bid and        As the market ascends or descends the price column, the
              Ask columns however, are dynamic; that is, they move up and 45 inside market might go above or below the price column
              down (in the vertical example) to reflect the market depth for      displayed on a trader's screen. Usually a trader will want to be
              the given conm10dity. The LTQ column 1006 shows the last            able to sec the inside market to assess future trades. The
              traded quantity of the commodity. The relative position of the      system of the present invention addresses this problem with a
              quantity value with respect to the Price values reflects the        one click centering feature. With a single click at any point
              price at which that quantity was traded. Column 1001 labclcd so within the gray area, 1021, below the "Net Real" button, the
              E/W (entered/working) displays the current status of the trad-      svstem will re-center the inside market on the trader's screen.
              er's orders. The status of each order is displayed in the price     Also, when using a three-button mouse, a click of the middle
              row where it was entered. For example, in cells 1007, the           mouse button, irrespective of the location of the mouse
              number next to S indicates the number of the trader's ordered       pointer, will re-center the inside market on the trader's screen.
              lots that have been sold at the price in the specific row. The 55      The same information and features can be displayed and
              number next to \Vindicates the number of the trader's ordered       enabled in a horizontal fashion. Just as the market ascends and
              lots that arc in the market, but have not been fillcd-i.e. the      descends the vertical Mercury display shown in FIGS. 3 and
              system is working on filling the order. Blanks in tllis column      4, the market will move left and rigln in the horizontal Mer-
              indicate that orders are entered or working at that price. In       cury display. The same data and the san1e infonnation
              cells 1008, the number next to B indicates the number of the 60 gleaned from the dynamical display of the data is provided. It
              trader's ordered lots that have been bought at the price in the     is envisioned that other orientations can be used to dynami-
              specific row. The number next to W indicates the number of          cally display the data and such orientations are intended to
              the trader's ordered lots that are in the market, but have not      come within the scope of the present invention.
              been filled-i.e. the system is working on filling the order.           Next, trading commodities, and specifically, the placement
                  Various parameters arc set and information is provided in 65 of trade orders using the Mercury display is described. Using
              colunm1002. For example, "10:48:44" incell 1009 shows the           the Mercury display and trading method, a trader would first
              actual time of day. TI1e L and R fields in cell 1010 indicate a     designate the desired commodity and, if applicable, the




                                                                                                                                                TTX03548160
                                                                        Appx371




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                  default quantities. Then he can trade with single clicks oftl1e               Similarly, a right click in tl1e BidQ column 1201 at the same
                  right or left mouse button. The following equations are used               price level of 87 would send a buy limit order to market for a
                  by the system to generate trade orders and to determine the                quantity of 5 at a price of 87. The quantity is detennined in the
                  quantity and price to be associated with the trade order. The              same manner as above. In this example, though, there are no
                  following abbreviations are used in these formulas: P=Price 5 orders in the market that equal or better ilie chosen price-
                  value of row clicked, R=Va]ue in R field, L=Value in L field,              there are no quantities in theAskQ column 1202 that equal or
                  Q =Current Quantity, Q=Total of all quantities in AskQ col-                better this price. Therefore, the sum of the equal or better
                  umn at an equal or better price than P, Q. =Total of all quan-             quantities is zero ("O''). The total order entered by the trader
                  tities in BidQ column at an equal or better price than P,                  will be the value in the R field, which is 5.
                  N=Current Net Position, Bo=Buy order sent to market and 10                    An order entered with the left mouse button and the "Off-
                  So=Sell order sent to market.                                              set" option chosen in the quantity description field 1204 will
                      Any order entered using right mouse button                            be  calculated in the same way as above, but the quantity in the
                                                                                             L field 1206 will be added instead of the quantity in ilie R field
                                                           (Eq. I) lfBidQ field clicked.
                                                                                             1205. Thus, a left click in tl1e BidQ column 1201 in the 92
                                                                                         15 price row will send a buy order to market at a price of 92 and
                         So~(Q.+R)P                       (Eq. 2) If AskQ field clicked.
                                                                                             a quantity of 96. 96 is the sum of all the quantities 45, 28, 20
                     Orders entered using the left mouse button                              and 3. 45, 28 and 20 are all quantities in the market that would
                     If"Offset" mode chosen in Quantity Description field then:             meet or better the trader's buy order price of 92. These quan-
                                                                                            tities are displayed in the AskQ column 1202 because this
                         Bo-(Q +L)P                       (Eq. 3) IfBidQ field clicked.
                             0
                                                                                         20 column represents the orders outstanding in the market to sell
                                                                                            the connnodity at each corresponding price. The quantity 3 is
                                                          (Eq. 4) If AskQ field clicked.
                                                                                            tl1e quantity pre-set in ilie L field 1206.
                     If "number" mode chosen in Quantity Description field                      The values in the L or R fields may be negative numbers.
                 then:                                                                      This would effectively decrease the total quantity sent to
                                                                                         25 market. In other words, in the example of a right click in the
                                                                                 (Eq. 5)
                                                                                            AskQ column 1202 in the 87 price row, if the R field was -5,
                         So-QP                                                   (Eq. 6)
                                                                                            the total quantity sent to market would be 140 (30+97+18+
                                                                                            (-5)).
                     If "NetPos" mode chosen in Quantity Description field                      If a trader chose the "NetPos" option in the quantity
                 then:                                                                   30 description field 1204, a right click would still work as
                                                                                            explained above. A left click would enter an order with a price
                                                                                 (Eq. 7)
                                                                                            corresponding to the price row clicked and a quantity equal to
                         So~NP                                                   (Eq. 8)    the current Net position of the trader. The Net position of the
                                                                                            trader is the trader's current position on the chosen contract.
                     Orders can also be sent to market for quantities that vary 35 In other words, if the trader has bought IO more contracts ilian
                 according to the quantities available in the market; quantities            he has sold, this value would be 10. NetPos would not affect
                 preset by the trader; and which mouse button the trader clicks.            the quantity of an order sent wiili a right click.
                 Using this feature, a trader can buy or sell all of the bids or               If the trader chose a number value in ilie quantity descrip-
                 asks in the market at or better than a chosen price with one               tion, a left click would send an order to market for the current
                 click. The trader could also add or subtract a preset quantity 40 quantity chosen by the trader. TI1e default value of the current
                 from the quantities outstanding in the market. If the trader               quantity will be the number entered in the quantity descrip-
                 clicks in a trading cell-i.e. in tl1e BidQ or AskQ column, he              tion field, but it could be changed by adjusting the figure in the
                will enter an order in the market. The parameters of the order              current quantity field 1204.
                depend on which mouse button he clicks and what preset                         This embodiment of the invention also allows a trader to
                values he set.                                                           45 delete all of his working trades with a single click of either the
                     Using the screen display and values from FIG. 5, the place-            right or left mouse button anywhere in the last traded quantity
                ment of trade orders using the Mercury display and trading                  (LTQ) column 1207. This allows a trader to exit the market
                metl1od is now described using examples. A left click on tl1e               immediately. Traders will use this feature when they are los-
                 18 in tl1e BidQ colunm 1201 will send an order to market to                ing money and want to stop the losses from pilling up. Traders
                sell 17 lots (quantity # chosen on the Quantity Description 50 may also use this feature to quickly exit the market upon
                pull down menu cell 1204) of the conunodity at a price of 89                making a desired profit. The invention also allows a trader to
                (the corresponding price in the Pre column 1203). Sinlilarly,               delete all of his orders from the market at a particular price
                a left click on the 20 in the AskQ colunm 1202 will send an                 level. A click with either mouse button in the Entered/Work-
                order to market to buy 17 lots at a price of 90.                            ing (E/W) column 1208 will delete all working orders in the
                     Using the right mouse button, an order would be sent to 55 cell that was clicked. Thus, if a trader believes that previously
                market at the price that corresponds to the row clicked for the             sent  orders at a particular price that have not been filled would
                total quantity of orders in the market that equal or better the             be poor trades, he can delete these orders with a single click.
                price in that row plus the quantity in the R field 1205. Thus, a               The process for placing trade orders using the Mercury
                right click in the AskQ colunm 1202 in the 87 price row will                display and trading method of the present invention as
                send a sell order to market at a price of 87 and a quantity of 60 described above is shown in the flowchart of FIG. 6. First, in
                150. 150 is the sum of all the quantities 30, 97, 18 and 5. 30,             step 1301, the trader has the Mercury display on the trading
                97 and I 8 are all of the quantities in tl1e market that would              tenninal screen showing the market for a given commodity. In
                meet or better the trader's sell order price of 87. These quan-             step 1302, the parameters are set in the appropriate fields,
                tities are displayed in the BidQ column 1201 because this                   such as the Land R fields and the Current Quantity, NetPos or
                column represents the orders outstanding in the market to 65 Offset fields from the pull down menu. In step 1303, the
                purchase the comn10dity at each corresponding price. The                    mouse pointer is positioned and clicked over a cell in the
                quantity 5 is the quantity pre-set in the R field 1205.                     Mercury display by the trader. In step 1304, the system deter-




                                                                                                                                                          TTX03548161
                                                                              Appx372



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              mines whether the cell clicked is a tradeable cell (i.e. in the           displaying the bid and ask display regions in relation to a
              AskQ column or BidQ column). If not. then in step 1305. no                   plurality of price levels arranged along the static price
              trade order is created or sent and, rather, other quantities are             axis such that when the inside market changes, the price
              adjusted or functions arc perfonned based upon the cell                      levels along the static price axis do not change positions
              selected. Otherwise, in step 1306, the system determines 5                   and at least one of the first and second indicators moves
              whether it was the left or the right button of the mouse that                in the bid or ask display regions relative to the static price
              was clicked. !fit was the right, then in step 1307, the system               axis:
              will use the quantity in the R field when it determines the total         displaying an order entry region aligned with the static
              quantity of the order in step 1310. If the left button was                   price axis comprising a plurality of areas for receiving
              clicked, then instep 1308, the system determines which quan- 10              commands from the user input device to send trade
              tity description was chosen: Offset, NetPos or an achrnl mun-                orders. each area corresponding lo a price level of the
              ber.                                                                         static price axis; and
                 If Offset was chosen, then the system, instep 1309, will use           receiving a plurality of commands from a user, each com-
              the quantity in the L field when it detennines the total quantity            mand sending a trade order to the electronic exchange,
              of the order in step 1310. If NetPos was chosen, then the 11                 each trade order h,iving an order quantity based on the
              system, in step 1312, will detem1ine that the total quantity for             default quantity without the user designating the default
              the trade order will be current NetPos value, i.e. the net                   quantity between connnands, wherein each command
              position of the trader in the given connnodity. If an actual                 results from selecting a particular area in the order entry
              number was used as the quantity description, then, in step                   region corresponding to a desired price level as part of a
              1311, the system will determine that the total quantity forthe 20            single action of the user input device with a pointer of the
              trade order will be the current quantity entered. In step 1310.              user input device positioned over the particular area to
              the system will determine that the total quantity for the trade              both set an order price parameter for the trade order
              order will be the value of the R field (if step 1307 was taken)              based on the desired price level and send the trade order
              or the value of the L field (if step 1309 was taken) plus all                to the electronic exchange.
              quantities in the market for prices better than or equal to 1he 25        2. The computer readable medium of claim 1, wherein the
              price in the row clicked. This will add up the quantities for          trade orders comprise a combination of trade orders to buy
              each order in the market that will fill the order being entered        and sell the connnodity.
              by the trader (plus the Lor R value).                                     3. The computer readable medium of clain11, wherein the
                 After either steps 1310, 1311 or 1312, the system, in step          order entry region further comprises:
              1313, determines which column was clicked, BidQ or AskQ. Jo               a bid order entry region comprising a plurality of areas for
              If AskQ was clicked, then, in step 1314, the system sends a                  receiving connnands to send trade orders to buy the
              sell lin1it order to the market at the price corresponding to the            conm1odity. each area corresponding to a price level
              row for the total quantity as already determined. IfBidQ was                 along the static price axis; and
              clicked, then, in step 1315, the system sends a buy limit order           an ask order entry region comprising a plurality of areas for
              to the market at the price corresponding to the row for the total 35         receiving commands to send trade orders to sell the
              quantity as already determined.                                              commodity, each area corresponding to a price level
                 It should be understood that the above description of the                 along the static price axis.
              invention and specific examples, while indicating preferred
                                                                                        4. "The computer readable medium of clain1 3, wherein the
              embodiments of the present invention, are given by way of
                                                                                     plurality of commands from the user comprises a command
              illustration and not limitation. Many changes and modifica- 40
                                                                                     sending a trade order to buy the commodity and a co111111and
              tions within the scope of the present invention may be made
                                                                                     sending a trade order to sell the commodity, and wherein each
              without departing from the spirit thereof, and the present
                                                                                     of the trade orders to buy and to sell have an order quantity
              invention includes all such changes and modifications.
                                                                                     based on the default quantity.
                 We claim:
                                                                                        5. The computer readable medium of clain1 3, wherein the
                 1. A computer readable medium having program code 45
              recorded thereon for ex~'Cution on a computer having a                 plurality of connnands from the user comprises commands
              graphical user interface and a user input device, the program          sending at least two trade orders to buy.
              code causing a machine to perform the following method                    6. The computer readable mediwn of clain13, wherein the
              steps:                                                                 plurality of commands from the user comprises commands
                 receiving market information for a commodity from an 50 sending at least two trade orders to sell.
                     electronic exchange, the market information comprising             7. The computer readable medium of clain1 3, wherein the
                     an inside market with a current highest bid price and a         bid order entry region, the ask order entry region, the bid
                     current !owes t ask price;                                      display region, the ask display region, and the static price axis
                 receiving an input from a user that designates a default            are all displayed in a single window on the graphical user
                     quantity to be used for a plurality of trade orders;         55 interface.
                 dynamically displaying a first indicator in one of a plurality         8. The computer readable medium of claim 7, wherein
                     oflocations in a bid display region, each location in the       within the single window, the bid order entry region overlaps
                     bid display region corresponding to a price level along a       with the bid display region, and the ask order entry region
                     static price axis, the first indicator representing quantity    overlaps with the ask display region.
                     associated with at least one order to buy the commodity 60         9. TI1e computer readable medium of claim 8, wherein the
                     at the current highest bid price;                               overlapping ofthc bid order entry region with the bid display
                 dynamically displaying a second indicator in one of a plu-          region allows the user to send trade orders to buy the com-
                     rality oflocations in an ask display region, each location      modity by positioning the pointer over the first indicator and
                     in the ask display region corresponding to a price level        selecting an area corresponding to the current highest bid
                     along the static price axis, the second indicator repre- 65 price, and wherein the overlapping of the ask order entry
                     senting quantity associated with at least one order to sell     region with the ask display region allows the user to send
                     the commodity at the current lowest ask price;                  trade orders to sell the conunodity by positioning the pointer




                                                                                                                                                     TTX03548162
                                                                          Appx373




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                                                                      US 7,813,996 B2
                                              13                                                                   14
                 over the second indicator and selecting an area corresponding            canceling the trade order in response to a subsequent single
                 to the current lowest ask price.                                            action of the user input device with the pointer of the
                    10. The computer readable medium of claim 1, wherein the                 user input device positioned over the entered order indi-
                 single action of the user input device sets the desired price               cator.
                 level based on the particular area and determines whether the 5          16. The computer readable medium of claim 1, further
                 trade order is a trade order to buy or to sell the co=odity          comprising program code causing the machine to perfonn the
                 before sending the trade order to the electronic exchange.           following method step:
                    11. The computer readable medium of claim 1, wherein the             receiving a re-centering command to center the inside mar-
                 trade order is a buy order if the position of the pointer at the            ket in a window of the graphical user interface.
                time of said single action is within a bid order entry region, 10         17. The computer readable medium of claim 1, wherein the
                and wherein the trade order is a sell order if the position of the    bid and ask display regions are displayed separately.
                pointer at the time of said single action is within an ask order          18. TI1e computer readable medium of claim 1, wherein the
                entry region.                                                         bid and ask display regions and the order entry region com-
                    12. The computer readable medium of claim 1, wherein the          prise columns with a plurality of cells that are displayed as a
                single action of the user input device consists of a single click 15 grid such that the cells of each column are aligned.
                of the user input device.
                                                                                         19. The computer readable medium of claim 1, further
                    13. The computer readable medium of claim 1, wherein the
                                                                                      comprising program code causing the machine to perfonn the
                single action of the user input device consists of a double click
                                                                                      following method step:
                of the user input device.
                    14. The computer readable medium of claim 1, further 20              displaying the price levels of the static price axis on the
                comprising program code causing the machine to perform the                   graphical user interface.
                following method step:                                                   20. The computer readable medium of claim 1, wherein the
                    dynamically displaying an entered order indicator in asso-        first and second indicators go outside ofa viewable portion of
                      ciation with the price levels arranged along the static         the static price axis due to changes in the inside market, and
                      price axis.                                                  25 wherein the first and second indicators are placed back into
                    15. The computer readable medium of claim 14, further             view by receipt of a re-centering command.
                comprising program code causing the machine to perform the
                following method step:




                                                                                                                                                 TTX03548163
                                                                          Appx374



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                 c12i    United States Patent                                                                      (]OJ Patent No.:                         US 7,676,411 B2
                         Kemp, II et al.                                                                           (45) Date of Patent:                             *Mar. 9, 2010

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                                     JL (US); Harris Brumfield, Chicago, JL
                                     (US)

                (73)      Assignee: Trading Technologies International,                                                                          (Continued)
                                    Inc., Chicago, JL (US)
                                                                                                                                FOREJGN PATENT DOCUMENTS
                ( •)      Notice:     Subject to any disclaimer, the term of this                          EP                            I 319 211 Bl     4/1998
                                      patent is extended or adjusted under 35
                                      U.S.C. 154(b) by 288 days.

                                      This patent is subject to a tenninal dis-
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                                      claimer.
                                                                                                                                          OTHER PUBLICATJONS
                (21)     Appl. No.: 11/585,907
                                                                                                           Non-final Office Action mailed Oct 17, 2008 for U.S. Appl. No.
                (22)     Filed:       Oct. 25, 2006                                                        11/415,163.

                (65)                     Prior Publication Data                                                                                  (Continued)
                         US 2007/0038556 Al            Feb. 15, 2007
                                                                                                           Primary Examiner-Richard Weisberger
                                  Related U.S. Application Data                                            (7 4) Allorney, Agent, or Firm-McDollllell Boehnen Hulbert
                                                                                                           & BerghoffLLP
                (63)     Continuation of application No. 11/415,163, filed on
                         May 2, 2006, which is a continuation of application                               (57)                                 ABSTRACT
                         No. 10/237,131, filed on Sep. 9, 2002,now abandoned,
                         which is a continuation of application No. 09/590,692,
                         filed on Jun. 9, 2000, now Pat. No. 6,772,132.
                                                                                                           A method and system for reducing the time it takes for a trader
                (60)     Provisional application No. 60/186,322, filed on Mar.                             to place a trade when electronically trading on an exchange,
                         2,2000.                                                                           thus increasing the likelihood that the trader will have orders
                                                                                                           filled at desirable prices and quantities. The "Mercury" dis-
                (51)     Int. Cl.
                                                                                                           play and trading method of the present invention ensure fast
                         G06Q 40100             (2006.01)
                                                                                                           and accurate execution of trades by displaying market depth
                (52)     U.S. Cl.                       ...................... 705/35
                                                                                                           on a vertical or horizontal plane, which fluctuates logically up
                (58)     Field of Classification Search .............. 705/35-45
                                                                                                           or down, left or right across the plane as the market prices
                         See application file for complete search history.
                                                                                                           fluctuates. 1fis allows the trader to trade quickly and effi-
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                             FIG. 1
                                                          CONNECTION TO MULTIPLE EXCHANGES

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                                                                                                                            Page: 217




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                       FIG. 3
                                                SYCOM FGBL DEC99                                                   E][g][R]
                                               E/W                   1 10:48:44             BidQ AskQ Pre             LTQ
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                         101 1
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                           1007 ◄
                                           l 24                          1K ,I 5H                       63    93
                                           S0                    /           CLR                        45    92
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                        1016                           -                 17         Iv                  20    90       10
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                                                        □                                    97               88
                                                                             NETO
                        1017 ,,.,,..- I_ __...                                               30               87
                        1018I,......
                                           i o17 NET REAL 43     1
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                                                    ___,,/                                   110              85
                        1019,,.....-
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                                                                                             23               84
                                                               ...                           31               83
                                           L---"
                        1021 /                                                              125               82
                                                                                             21               81
                                                y                             -v             y          y     -y     -y-
                                               1001                          1002          1003     1004 1005 1006




                                                                                                                                     TTX03547944
                                                                                   Appx64



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                                                                              Appx3031
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                       FIG. 4
                             SYCOM FGBL DEC99          E]U5]IB]

                            E/W    10:48:44 BidQ AskQ Pre LTQ
                                  L       3
                                                          104     99
                                  R         5
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                                      720
                                                          33      97
                                  XI        10            115     96
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                                                           27     94
                                  50        3H
                        S 10                               63     93   10
                        W 14      1K        5H                              -..1101
                                      CLR         43              92

                                  xi        10    125             91

                                   17       Iv 97                 90
                        B0            CXL         18              89
                        W 15
                        B0
                        W 13
                                  GD              97              88
                                      NETO
                                                  30              87
                        B0                        43              86
                        W 17      NET REAL
                                                  110             85
                                                  23              84

                                                  31              83
                                                  125             82

                                                  21              81




                                                                                      TTX03547945
                                                 Appx65




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                                                 Appx3032
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                               FIG. 5
                                  SYCOM FGBL DEC99          E]{g]IR)

                                 E/W   10:48:44 BidQ AskQ Pre LTQ
                                       ~1/L          3                   104   99
                       1206            I   R         5
                                                                         24    98
                       1205                    720
                                                                         33    97
                                           xi        10                  115   96
                                                 0
                                                                         32    95
                                            10       1H
                                            50       3H
                                                                         27    94

                                w024       1K        5H                  63    93
                                S0             CLR                       45    92
                                W7
                                           xi        10                  28    91
                                       )/ 17          IQ                 20    90    10
                       1204     B0             CXL             18              89
                               W 15
                               B0
                               W 13
                                           0 [J                97              88
                                              NETO
                                                               30              87
                               B0                              43              86
                               W 17        NET REAL
                                                              110              85

                                                               23              84
                                                               31              83

                                                              125              82
                                                               21              81

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                               1208                        ~

                                                                                                TTX03547946
                                                 Appx66



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       ,._.,,                                                                                                                          START             1301       ~
                                 FIG. 6                                                 THIS WILL ADD UP THE QUANTITIES                                             ~
                                                                                        FOR EACH ORDER IN THE MARKET                                                ~
                                                                                        THAT WOULD FILL THE ORDER BEING          TRADER HAS MARKET                  ,-+.
                                                                                        ENTERED BY THE TRADER - I.E. THE         DISPLAYEO ON HIS                   t'ti
                                                                                        SUM OF All QUANTITIES THAT 11 BETTER"    COMPUTER SCREEN                    :=
                                                                                                                                                                    ,-+.
                                                                                        THE ORDER BEING ENTERED                                          1302
                                                                                                                                  SET QUANTITY VALUES
                                                                                                                                                                             Case: 22-1630




                                                           tR~i~i~w1~8AN                                                          IN APPROPRIATE
                                                           PRICNE8~Va'"JA~ TO                                                     FIELDS (R/L FIELDi,
                                                           f~~ PRICE IN THE                                                       CURRENT QUANTl1 r                  ~
                                                                                                                                                                    :,:,
                                                                                                                                  FIELD,._tJetPos, OR               :-i
                                     END    ,,,.1315       ROW CLICKED             · 1310               1309               1307 I OFFS1:1.)                        ;a
                                                                                                                                                                    N
                              SEND BUY ORDER TO                                                                                                         (1303       0
                                                                                                                                                                    ......
                              MARKET FOR PREDEFINED                                     QUANTITY OF            QUANTITY OF                                          0
                              QUANTITY AT THE PRICE                                     ORDER= VALUE           ORDER= VALUE
                              OF THE ROW CLICKED                                        IN LFIELD              INRFla□
                      )>
                     "O                                                                                                                                            /JJ
                                                                                                                                                                    ::r
                                                                                                                                                                             Document: 18




                     "O              BidQ                                       1311                                                                                ~
                     ><                       1313                                                                                                                  ~
                     O')                                                                                                                                            a,,
                     ......                                    UANTllY OF I f                                                                                       0
                                             :>        1     IORDER=       rNUMBER                                                                                  ...,
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Appx3034
                                                              CURRENT
                                                             OUANTl'IT
                                    AskQ     ~1314                                                                                                      1305
                                                                                                                                                                             Page: 221




                                                                                                                                 NO ORDER SENT (MAY
                              SEND SELL ORDER TO                                                                                 ADJUST QUANTITfES OR
                              MARKET FOR DEFINED                                                                                 OTHER RESTRICTIONS                d
                              QUANTITY ATTHE PRICE                               1312       Ne!Pos                               DEPENDING ON CELL                 r:r,
                              OF THE ROW CLICKED                                                                                 SELECTED                          ---l
                                                                                                                                                                   O'I
                                                            QUANTITY                                                                     END                       ---l
                                     END                                                                                                                            O'I
                                                            OF ORDER=                                                                                              ~+a,.
                                                            CURRENT NetPos
                                                                                                           TRADING WITH MERCURY
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                                                                          US 7,676,411 B2
                                                                                                                          2
                      CLICK BASED TRADl:\"G WITH l:'IITUITlVE                              obtain market quotes, and monitor positions. The range and
                            GRID DISPLAY OF MARKET DEPTH                                   quality of features available to traders on their screens varies
                                                                                           according to the specific software application being run. ·n1e
                                               PRIORITY                                    installation of open interfaces in the development of an
                                                                                       5 exchange's electronic strategy means users can choose,
                       The present application is a continuation of Ser. No.              depending on their trading style and internal requirements,
                   11/415,163, filed May 2, 2006, which is a continuation of Ser.         the means by which they will access the exchange.
                   No. I 0/237 , I 31, lilcd Sep. 9, 2002, which is a continuation of        The world's stock, bond, futures and options exchanges
                   Ser. No. 09/590,692, filed Jun. 9, 2000, which is now l J.S. Pat.      have volatile products with prices that move rapidly. To profit
                   No . 6,772,132, issued Aug. 3, 2004, which claims priority to 10 in these markets, traders must be able to react quickly. A
                  a U.S. provisional application 60/186,322, filed Mar. 2, 2000,          skilled trader with the quickest software, the fastest commu-
                  the contents of which are incorporated herein by reference.             nications, and the most sophisticated analytics can signifi-
                      The present application claims priority to a U.S. Provi-            cantly improve his own or his finn ' s bottom line. T11e slightest
                  sional Patent Application entitled "Market Depth Display                speed advantage can generate significant returns in a fast
                  Click Based Trading and Mercury Display" filed Mar. 2, 1.1 moving market. In today' s securities markets, a traderlacking
                  2000, the contents of which are incorporated herein hy refer-           a technologically advanced interface is at a severe competi-
                  ence.                                                                   tive disadvantage.
                                                                                             Irrespective of what interface a trader uses to enter orders iu
                                        FIELD OF INVENTION                                the market, each market supplies and requires the same iufor-
                                                                                      20 mation to and from every trader. The bids and asks in the
                      The present invention is directed to the e!ectrouic trading         market make up the market data and everyone logged on to
                  of commoditi es. Specifically, the invention provides a trader          trade can receive this information if the exchange provides it.
                  with a versatile and efficient tool. for executing trades. It           Similarly, every exchange requires that certain infonnation be
                  facilitates the display of and the rapid placement of trade             included in each order. For example, traders must supply
                 orders withiu the market trading depth of a commodity, where 25 information like the name of the commodity, quantity, restric-
                 a commodity includes anything that cau be traded with quan-              tions , price and multiple other variables. Without all of this
                  tities and/or prices .                                                  information, the market will not accept the order. This input
                                                                                          and output of information is the same for every trader.
                             BACKGROUND OF THE INVENTION                                     With these variables being constant, a competitive speed
                                                                                      30 advantage must come from other aspects of the trading cycle.
                      At least 60 exchanges throughout the world utilize elec-            When analyzing the time it takes to place a trade order for a
                 troruc trading in varying degrees to trade stocks, bonds ,               given commodity, various steps contribute in different
                 futures, options and other products. These electronic                    amounts to the total time required. Approximately 8% of the
                 exchanges are based on three components: mainframe com-                  total time it takes lo enter an order elapses between the
                 puters (host) , communications servers, and the exchange par- 35 moment the host generates the price for the commodity and
                 ticipants ' computers (client). T11e host fom1s the electronic          the moment the client receives the price. The time it takes for
                 heart of the fully computerized electronic trading system. The          the client application to display the price to the trader amounts
                 system's operations cover order-matching, maintaining order             to approximately 4%. The time it takes for a trade order to be
                 books and positions, price infonnation, and managing and                transmitted to the host amounts to approximately 8%. The
                 updating the database for the onlinc trading day as well as 40 remainder of the total time it takes to place an order, approxi-
                 rughtly batch runs. The host is also equipped with external             mately 80%, is attributable to the time required for the trader
                 interfaces that maintain uninterrupted online contact to quote          to read the prices displayed and to enter a trade order. The
                 vendors and other price information systems.                            present invention provides a significant advantage during the
                     Traders can link to the host through three types of struc-          slowest portion of the trading cycle-while the trader manu-
                 tures: high speed data lines, high speed communications serv- 45 ally enters his order. Traders recogruze that the value oftime
                ers and the lntemet. High speed data lines establish direct              savings in this portion may amount to millions of dollars
                connections between the client and the host. Another connec-             annually.
                 tion can he established hy configuring high speed networks or               In existing systems, multiple elements of an order must be
                communications servers at strategic access points worldwide              entered prior to an order being sent to market, wlrich is time
                in location s where traders physically are located. Data is 50 consuming for the trader. Such elements include the com-
                transmitted in both directions between traders and exchanges             modity symbol, the desired price, the quantity and whether a
                via dedicated high speed communication lines. Most                       buv or a sell order is desired. T11e more time a trader takes
                exchange participants install two lines between the exchange             entering an order, the more likely the price on which he
                and the client site or between the conununication server and             wanted to bid or offer will change or not be available in the
                the client site as a safety measure against potential fai lures. 55 marker. The market is fluid as many traders are sending orders
                An exchange 's internal computer system is also often                    to the market simultaneously. It fact, successful markets strive
                installed with backups as a redundant measure to sec ure sys-            to have such a high volume of trading that any trader who
                tem avai labilitv. The third com1ection utilizes the Internet.           wishes to enter an order will find a match and have the order
                Here, the exchange and the traders communicate hack and                  filled quickly, if not immediately. ln such liquid markets, the
                forth through high speed data lines, which are connected to 60 prices of the commodities fluctuate rapidly. On a trading
                the Internet. Thi s allows traders to be located anywhere they           screen, this results in rapid changes in the price and quantity
                can establish a connection to the Internet.                              fields within the market grid. If a trader intends to enter an
                     lrrespective of the way in which a connection is estab-             order at a particular price, but misses the price because the
                lished, the exchange participants' computers allow traders to            market prices moved before he could enter the order, he may
                participate i.n the market. They use software that creates spe- 65 lose hundreds, thousands, even millions of dollars. The faster
                cialized interactive tradiug screens on the traders' desktops.           a trader can trade, the less likely it will be that he will nriss his
                The trading screens enable traders to enter and execute orders,          price and the more likely he will make money.




                                                                                                                                                        TTX03547948
                                                                              Appx68



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                                                                          Appx3035
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                                                                     US 7,676,411 B2
                                             3                                                                      4
                          SUMMARY OF 11-lE INVENTION                                    In the preferred embodiment. the present invention is
                                                                                    implemented on a computer or electronic tenninal. The com-
                  The inventors have developed the present invention which          puter is able to collllllunicate either directly or indirectly
              overcomes the drawbacks of the existing trading systems and           (using intcm1cdiate devices) with the exchange to receive and
              dramatically reduces the time it takes for a trader to place a 5 trans1nit market, commodity, and trading order information.
              trade when electronically trading on an exchange. This, in            lt is able to interact with the trader and to generate contents
              turn. increases the likelihood that the trader will have orders       and characteristics of a trade order to be sent to the exchange.
              filled at desirable prices and quantities.                            It is envisioned that the system of the present invention can be
                  The "Mercury" display and trading method of the present           implemented on any existing or foturc tcm1inal or device with
              invention ensure fast and accurate execution of trades by 1o the processing capability to perfonn the functions described
              displaying market depth on a vertical or horizontal plane,            herein. T11e scope of the present invention is not limited by the
              which fluctuates logically up or down, left or right across the       type of terminal or device used. Further, the specification
              plane as the market prices fluctuates. T11is allows the trader to     refers to a single click of a mouse as a means for user input and
              trade quickly and efficiently.                                        interaction with the terminal display as an example of a single
                  Specifically, the present invention is directed to a graphical 15 action of the user. While this describes a preferred mode of
              user interface for displaying the market depth of a commodity         interaction, the scope of the present invention is not limited lo
              traded in a market, including a dynamic display for a plurality       the use of a mouse as the input device or to the click of a
              of bids and for a plurality of asks in the market for the             mouse button as the user's single action. Rather, any action by
              commodity and a static display of prices corresponding to the         a user within a short period of time, whether comprising one
              plurality of bids and asks. In this embodiment the pluralities 20 or more clicks of a mouse button or other input device, is
              of bids and asks are dynamically displayed in alignment with          considered a single action of the user forthe purposes of the
              the prices corresponding thereto. Also described herein is a          present invention.
              method and system for placing trade orders using such dis-                The system can be configured to allow for trading in a
              plays.                                                                single or in multiple exchanges simultaneously. Connection
                  These embodiments, and others described in greater detail 25 of the system of the present invention with multiple
              herein, provide the trader with improved efficiency and ver-          exchanges is illustrated in FIG. 1. This figure shows multiple
              satility in placing, and thus executing, trade orders for com-        host exchanges 101-103 connected through routers 104-106
              modities in an electronic exchange. Other features and advan-         to gateways 107-109. Multiple client terminals 110-116 for
              tages of the present invention will become apparent to those          use as trading stations can then trade in the multiple
              skilled in the art from the following detailed description. It 30 exchanges through their connection to the gateways 107-109.
              should be understood, however, that the detailed description          When the system is configured to receive data from multiple
              and specific examples, while indicating preferred embodi-             exchanges, then the preferred implementation is to translate
              ments of the present invention, are given by way of illustra-         the data from various exchanges into a sin1ple format. This
              tion and not limitation. Many changes and modifications               "translation" function is described below with reference to
              within the scope of the present invention may be made with- 35 FIG. 1. An applications program interface ("TT AP!" as
              out departing from the spirit thereof, and the invention              depicted in the figure) translates the incoming data formats
              includes all such modifications.                                      from the different exchanges to a simple preferred data for-
                                                                                    mat. This translation function may be disposed anywhere in
                      BRIEF DESCRIPTION OF THE DRAWINGS                             the network, for exan1ple, at the gateway server, at the indi-
                                                                                 40 vidual workstations or at both. In addition, the storage at
                  FIG. 1 illustrates the network connections between mul-           gateway servers and at the client workstations, and/or other
              tiple exchanges and client sites;                                     external storage cache historical data such as order books
                  FIG. 2 illustrates screen display showing the inside market       which list the client's active orders in the market; that is, those
              and the market depth of a given conunodity being traded;              orders that have neither been filled nor cancelled. lnfonnation
                  FIG. 3 illustrates the Mercury display of the present i.nven- 45 from different exchanges can be displayed at one or in mul-
              tion;                                                                 tiple windows at the client workstation. Accordingly, while
                  FIG. 4 illustrates the Mercury display at a later time show-      reference is made through the remainder of the specification
              ing the movement of values when compared to FIG. 3;                   to a single exchange to which a trading tenninal is connected,
                  FIG. 5 illustrates a Mercury display with parameters set in       the scope of the invention includes the ability to trade, in
              order to exemplify the Mercury trading method; and                 50 accordance with the trading methods described herein, in
                  Fl G. 6 is a flowchart illustrating the process for Mercury       multiple exchanges using a single trading terminal.
              display and trading.                                                      The preferred embodiments of the present invention
                                                                                    include the display of "Market Depth" and allow traders to
                   DETAILED DESCRIPTION OF THE PREFERRED                            view the market depth of a collll11odity and to execute trades
                                       EMBODIMENTS                               55 within the market depth with a single click of a computer
                                                                                    mouse button. Market Depth represents the order book with
                  As described with reference to the accompanying figures,          the current bid and ask prices and quantities in the market. In
              the present invention provides a display and trading method to        other words, Market Depth is each bid and ask that was
              ensure fast and accurate execution of trades by displaying            entered into the market, subject to the limits noted below, in
              market depth on a vertical or horizontal plane, which fluctu- 60 addition to the inside market. For a commodity being traded,
              ates logically up or down, left or right across the plane as the      the "inside market" is the highest bid price and the lowest ask
              market prices fluctuates. This allows the trader to place trade       price.
              orders quickly and efficiently. A commodity's market depth is             The exchange sends the price, order and fill infonnation to
              the current hid and ask prices and quantities in the market.          each trader on the exchange. The present invention processes
              The display and trading method of the invention increase the 65 this information and maps it throngl1 simple algorithms and
              likelihood that the trader will be able to execute orders at          mapping tables to positions in a theoretical grid program or
              desirable prices and quantities.                                      any other comparable mapping technique for mapping data to




                                                                                                                                                   TTX03547949
                                                                           Appx69




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                                               5                                                                           6
                 a screen. The physical mapping of such information to a              from the server and has "timed out." Green indicates that the
                 screen grid can be done by any technique known to those              data has just been updated. The other colulllll headings in this
                 skilled in the art. The present invention is not limited by the      and all of the other figures, are defined as follows. BidQty
                 method used to map the data to the screen display.                   (Bid Quantity): the quantity for each working bid, BidPrc
                     How far into the market depth the present invention can 5 (Bid Price): the price for each working bid, AskPrc (Ask
                 display depends on how much of the market depth the                  Price): the price for each working ask, AskQty (Ask Quan-
                 exchange provides. Some exchanges supply an infinite mar-           tity): the quantity for each working ask, LastPrc ( st Price): the
                 ket depth, while others provide no market depth or only a few       price for the last bid and ask that were matched in the market
                 orders away from the inside market. The user of the present         and LastQty (Last Quantity): the quantity traded at the last
                 invention can also chose how far into the market depth to 10 price. Total represents the total quantity traded of the given
                 display on his screen.                                              commodity.
                    FIG. 2 illustrates a screen display of an invention described        TI1e configuration of the screen display itself informs the
                 in a commonly owned co-pending application entitled "Click          user in a more convenient and efficient manner than existing
                Based Trading with Market Depth Display" Ser. No. I 1/415,           systems. Traders gain a significant advantage by seeing the
                 I 89, filed on May 2, 2006, the contents of which are incor- 15 market depth because they can see trends in the orders in the
                porated herein by reference. This display shows the inside           market.   The market depth display shows the trader the interest
                market and the market depth of a given commodity being               the market has in a given commodity at different price levels.
                traded. Row 1 represents the "inside market" for the com-            If a large runount of bids or asks are in the market near the
                modity being traded which is the best (highest) bid price and        trader's position, he may feel he should sell or buy before the
                quantity and the best (lowest) ask price and quantity. Rows 20 inside market reaches the morass of orders. A lack of orders
                2-5 represent the "market depth" for the commodity being             above or below the inside market might prompt a trader to
                traded. In the preferred embodiment of the present invention,        enter orders nearthe inside market. Witl1out seeing the market
                the display of market depth (rows 2-5) lists the available           depth, no such strategies could be utilized. Having the
                next-best bids, in column 203, and asks, in column 204. The          dynamic market depth, including the bid and ask quantities
                working bid and ask quantity for each price level is also         25 and prices of a traded commodity aligned with and displayed
                displayed in columns 202 and 205 respectively (inside mar-           below the current inside market of the commodity conveys
                ket-row 1). Prices and quantities for the inside market and          tl1e information to the user in a more intuitive and easily
                market depth update dynamically on a real time basis as such         understandable manner. Trends in the trading of the colilJllod-
                information is relayed from the market.                              ity and other relevant characteristics are more easily identifi-
                    ln the screen display shown in FJG. 2, the commodity 3o able by the user through the use of the present invention.
                (contract) being traded is represented in row 1 by the charac-          Various abbreviations are used in the screen displays, and
                ter string "COHO". The Depth column 208 will inform the              specifically, in the column headings of the screen displays
                trader of a status by displaying different colors. Yellow indi-      reproduced herein. Some abbreviations have been discussed
                cates that the program application is waiting for data. Red          above. A list of common abbreviations and their meanings is
                indicates that the Market Depth has failed to receive the data       provided in Table I.


                                                                                                     TABLE]
                                                                                                     Abbreviations

                                                     COLUMN         DESCRIPTION                       COLUMN          DESCRIPTION
                                                     Month          Expiration Month/Year             TheoBid        Theoretical Bid Price
                                                     BidMbr(l)      Bid Member ID                     TheoAsk        Theoretical Ask Price
                                                     WrkBuys(2)     Working Buys for entire Group     QAct           Quote Action (Send'>
                                                                    ID                                               individual quotes)
                                                     BidQty         Bid Quantity                      BQQ            Test Bid Quote Quantity
                                                     Thn;hBid(6)   Threshold Bid Price                BQP            Test Bid Quote Price
                                                     BidPrc        Bid Price                          MktBQQ         Market Bid Quote Quantity
                                                     Bid Qty Accum Accumulated Bid Quantity           MktBQP         Market Bid Quote Price
                                                     BidPrcAvg     Bid Price Average                  Quote          Chcckbox activates/deactivates
                                                                                                                     contract for quoting
                                                     .AskPrcAvg   Ask Price Average                   MktAQQ        Market Ask Quote Quantity
                                                     AskQty Accum Accumulated Ask Quantity            MktAQP        Market Ask Quote Price
                                                     AskPrc       Ask Price                           AQP           Ask Quote Price
                                                     Thn;hAsk(6)  Threshold Ask Price                 AQQ           Ask Quote Quantity
                                                     AskQty         Ask Quantity                      Imp BidQty(5) Implied Bid Quantity
                                                     WrkSells(2)    Working Sells for entire Group    Imp BidPrc(5) Implied Bid Price
                                                                    ID
                                                     AskMbr(I)      Ask Member ID                     Imp AskQty(S) Implied Ask Quantity
                                                     NetPos         Net Position                      Imp AskPrc(5) Implied Ask Price
                                                     FFNetPos       Fast Fill Net Position            Gnmma(3)      Change in Delta given 1 pt
                                                                                                                     change in underlying
                                                     LastPrc        Last Price                        Dclta(3)       Change in price given 1 pt
                                                                                                                     change in underlying
                                                     LastQty        Last Quantity                     Vola(3)        Percent volatility
                                                     Total          Total Traded Quantity             Vcga(3)        Price change given 1%
                                                                                                                     change in Vola.
                                                     High           High Price                        Rho(3)         Price change given 1%
                                                                                                                     change in interest rate
                                                     Low            Low Price                         Theta(3)       Price change for every day
                                                                                                                     that elapses




                                                                                                                                                      TTX03547950
                                                                            Appx70




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                                               7                                                                          8
                                                    TABLE I-continued
                                                         Abbreviations

              COLt:MN        DESCRIPTION                  COLUMC'I         DESCRIPTION

                            Opt>ning Price                ClickTrd         Activate/deactivate click
                                                                           trading by contract
              Close          Closing Price                S (Status)       Auction, Closed, FastMkt, Not
                                                                           Tradablc, Pre-trading, Tradablc, S ""' post-
                                                                           trading
              Chng          Last Price-Lasl Close         Expiry           Expiration Month/Year
              TheoPrc       Theme! ical Price




                  As described herein, the display and trading method of the 15 down (in the vertical example) to reflect the market depth for
              present invention provide the user with certain advantages              the given connnodity. The LTQ colunm 1006 shows the last
              over systems in which a display of market depth, as shown in            traded quantity of the commodity. The relative positionofthe
              FIG. 2, is used. The Mercury display and trading method of              quantity value with respect to the Price values reflects the
              the present invention ensure fast and accurate execution of             price at which that quantity was traded. Column 1001 labe]ed
              trades by displaying market depth on a vertical or horizontal 20 E/W (entered/working) displays the current status of the trad-
              plane, which fluctuates logically up or down, left or right             er's orders. The status of each order is displayed in the price
              across the plane as the market prices fluctuates. This allows           row where it was entered. For example, in cells 1007, the
              the trader to trade quickly and efficiently. An example of such         nwnber next to S indicates the nwnber of the trader's ordered
              a Mercury display is illustrated in the screen display of FIG.
                                                                                      lots that have been sold at the price in the specific row. The
              3.                                                                   25
                                                                                      number next to W indicates the number of the trader's ordered
                  The display of market depth and the manner in which
                                                                                      lots that are in the market, but have not been filled-i.e. the
              traders trade within the market depth can be effected in dif-
              ferent manners, which many traders will find materially bet-            system is working on filling the order. Blanks in this column
              ter, faster and more accurate. In addition, some traders may            indicate that orders are entered or working at that price. In
              find the display of market depth to be difficultto follow. In the 30 cells 1008, the nwnber next to B indicates the number of the
              display shown in FIG. 2, the market depth is displayed verti-           trader's ordered lots that have been bought at the price in the
              cally so that both Bid and Ask prices descend the grid. The             specific row. The nwnber next to W indicates the nwnber of
              Bid prices descend the market grid as the prices decrease.Ask           the trader's ordered lots that are in the market, but have not
              prices also descend the market grid as these prices actually            been filled-i.e. the system is working on filling the order.
              increase. This combination may be considered counterintui- 35              Various parameters are set and information is provided in
              tive and difficult to follow by some traders.                           column 1002. For example, "10:48:44" incell 1009 shows the
                  The Mercury display overcomes this problem in an inno-              actual time of day. The Land R fields in cell 1010 indicate a
              vative and logical manner. Mercury also provides an order               quantity value, which may be added to the order quantity
              entry system, market grid, fill window and summary of mar-              entered. This process is explained below with respect to trad-
              ket orders in one simple window. Such a condensed display 40 ing under Mercury. Below the Land R fields, in cell 1011, a
              materially simplifies the trading system by entering and                nwnber appears which represents the current market volume.
              tracking trades in an extremely efficient manner. Mercury
                                                                                      This is the number oflots that have been traded for the chosen
              displays market depth in a logical, vertical fashion or hori-
              zontally or at some other convenient angle or configuration. A          contract. Cell 1012, "X IO", displays the Net Quantity, the
              vertical field is shown in the figures and described for conve- 45 current position of the trader on the chosen contract. The
              nience, but the field could be horizontal or at an angle. In tum,       number "IO"represents the trader's buys minus sells. Cell
              Mercury further increases the speed of trading and the like-            1013 is the "Current Quantity"; this field represents the quan-
              lihood of entering orders at desired prices with desired quan-          tity for the next order that the trader will send to market. This
              tities. In the preferred embodiment of the invention, the Mer-          can be adjusted with right and left clicks (up and down) or by
              cury display is a static vertical column of prices with the bid 50 clicking the buttons which appear below the Current Quantity
              and ask quantities displayed in vertical columns to the side of         in cells 1014. These buttons increase the current quantity by
              the price colwnn and aligned with the corresponding bid and             the indicated amount; for example, "IO" will increase it by
              ask prices. An example of this display is shown in FIG. 3.              1O; "H" will increase it by l 00; "K" will increase it by 1000.
                  Bid quantities are in the colwnn 1003 labeled BidQ and ask          Cell 1015 is the Clear button; clicking this button will clear
              quantities arc in column 1004 labeled AskQ. The rq,resenta- 55 the Current Quantity field. Cell 1016 is the Quantity Descrip-
              tive ticks from prices for the given commodity are shown in             tion; this is a pull down menu allowing the trader to chose
              column 1005.111e column does not list the whole prices (e.g.            from three Quantity Descriptions. The pull down menu is
              95.89), but rather, just the last two digits (e.g. 89). In the          displayed when the arrow button in the window is clicked.
              example shown, the inside market, cells 1020, is 18 (best bid           The window includes NetPos, Offset and a field allowing the
              quantity) at 89 (best bid price) and 20 (best askquantity)at 90 60 trader to enternwnbers. Placing a number in this field will set
              (best ask price). In the preferred embodiment of the invention,         a default buy or sell quantity. Choosing "Off.set" in this field
              these three columns are shown in different colors so that the           will enable the L/R buttons of cell 1010. Choosing "NetPos"
              trader can quickly distinguish between them.                            in this field will set the current Net Quantity (trader's net
                  T11e values in the price column are static; that is, they do not    position) as the trader's quantity for his next trade. Cell 1017
              nonnally change positions unless a re-centering command is 65 are +/- buttons; these buttons will alter the size of the
              received (discussed in detail later). The values in the Bid and         screen--either larger (+) or smaller (-). Cell 1018 is used to
              Ask columns however, are dynamic: that is, they move up and             invoke Net O; clicking this button will reset the Net Quantity




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                                                                             Appx71




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                                                                        US 7,676,411 B2
                                                9                                                                      IO
                 (cell 1011) to zero. Cell 1019 is used to invoke Net Real;                If "number" mode chosen in Quantity Description field
                 clicking this button will reset the Net Quantity (cell 1011) to        then:
                 its actual position.
                                                                                                                                                   (Eq. 5)
                     T11e inside market and market depth ascend and descend as
                 prices in the market increase and decrease. For example, FIG. 5               So=QP                                               (Eq. 6)
                 4 shows a screen displaying the same market as that of FIG. 3
                 but at a later interval where the inside market, cells 1101, has          If "NetPos" mode chosen in Quantity Description field
                 risen three ticks. Here, the inside market for the commodity is        then:
                 43 (best bid quantity) at 92 (best bid price) and 63 (best ask                                                                    (Eq. 7)
                 quantity) at 93 (best ask price). In comparing FIGS. 3 and 4, 10
                 it can be seen that the price column remained static, but the                 So=NP                                               (Eq. 8)
                 corresponding bids and asks rose up the price column. Market
                                                                                           Orders can also be sent to market for quantities that vary
                 Depth similarly ascends and descends the price colunm, leav-
                                                                                        according to the quantities available in the market; quantities
                 ing a vertical history of the market.                                  preset by the trader; and which mouse button the trader clicks.
                     As the market ascends or descends the price column, the 15 Using this feature, a trader can buy or sell all of the bids or
                 inside market might go above or below the price column                 asks in the market at or better than a chosen price with one
                 displayed on a trader's screen. Usually a trader will want to be       click. The trader could also add or subtract a preset quantity
                 able to see the inside market to assess future trades. The             from the quantities outstanding in the market. If the trader
                 system of the present invention addresses this problem with a          clicks in a trading cell--i.e. in the BidQ or AskQ co!UllUl, he
                 one click centering feature. With a single click at any point 20 will enter an order in the market. The parameters of the order
                 within the gray area, 1021, below the "Net Real" button, the           depend on which mouse button he clicks and what preset
                 system will re-center the inside market on the trader's screen.        values he set.
                 Also, when using a three-button mouse, a click of the middle              Using the screen display and values from FIG. 5, the place-
                 mouse button, irrespective of the location of the mouse               ment of trade orders using the Mercury display and trading
                 pointer, will re-center the inside market on the trader's screen. 25 method is now described using examples. A left click on the
                     The same information and features can be displayed and            18 in the BidQ co!ullUl 1201 will send an order to market to
                 enabled in a horizontal fashion. Just as the market ascends and       sell I 7 lots (quantity # chosen on the Quantity Description
                descends the vertical Mercury display shown in FIGS. 3 and             pull down menu cell 1204) of the commodity at a price of89
                4, the market will move left and right in the horizontal Mer-
                                                                                    30 (the corresponding price in the Pre co!ullUl 1203). Similarly,
                cury display. 1he same data and the same information                   a left click on the 20 in the AskQ column 1202 will send an
                gleaned from the dynamical display of the data is provided. It         order to market to buy 17 lots at a price of 90.
                is envisioned that other orientations can be used to dynami-               Using the right mouse button, an order would be sent to
                cally display the data and such orientations are intended to           market at the price that corresponds to the row clicked for the
                come within the scope of the present invention.
                                                                                    35 total quantity of orders in the market that equal or better the
                    Next, trading conmodities, and specifically, the placement         price in that row plus the quantity in the R field 1205. Thus, a
                of trade orders using the Mercury display is described. Using          right click in the AskQ column 1202 in the 87 price row will
                the Mercury display and trading method, a trader would first           send a sell order to market at a price of 87 and a quantity of
                designate the desired commodity and, if applicable, the                 150. 150 is the sum of all the quantities 30, 97, 18 and 5. 30,
                default quantities. Then he can trade with single clicks of the 40 97 and I 8 are all of the quantities in the market that would
                right or left mouse button. The following equations are used           meet or better the trader's sell order price of 87. These quan-
                by the system to generate trade orders and to determine the            tities are displayed in the BidQ colullUl 1201 because this
                quantity and price to be associated with the trade order. The          column represents the orders outstanding in the market to
                following abbreviations are used in these formulas: P=Price            purchase the commodity at each corresponding price. The
                value of row clicked, R =Value in R field, L=Value in L field, 45 quantity 5 is the quantity pre-set in the R field 1205.
                Q=Current Quantity, Qa =Total of all quantities in AskQ col-               Similarly, a right click in the BidQ column 1201 at the same
                UllUl at an equal or better price than P, Qb =Total of all quan-       price level of87 would send a buy limit order to market for a
                tities in BidQ column at an equal or better price than P,              quantity of 5 at a price of 87. The quantity is determined in the
                N=Current Net Position, Bo=Buy order sent to market and                san1e mrumer as above. In this example, though, there are no
                So=Sell order sent to market.                                       so orders in the market that equal or better the chosen price there
                    Any order entered using right mouse button                         are no quantities in the AskQ co!ullUl 1202 that equal or better
                                                                            (Eq.1)
                                                                                       this price. Therefore, the sum of the equal or better quantities
                       Bo=(Q.+R)P
                                                                                       is zero ("O''). The total order entered by the trader will be the
                If BidQ field clicked.                                                 value in the R field, which is 5.
                                                                                    55     An order entered with the left mouse button and the "Off-
                                                                            (Eq. 2)    set" option chosen in the quantity description field 1204 will
                                                                                       be calculated in the same way as above, but the quantity in the
                If AskQ field clicked.                                                 L field 1206 will be added instead of the quantity in the R field
                    Orders entered using the left mouse button                         1205. Thus, a left click in the BidQ co!UllUl 1201 in the 92
                    If"Offset" mode chosen in Quantity Description field then: 60 price row will send a buy order to market at a price of 92 and
                                                                                       a quantity of 96. 96 is the sum of all the quantities 45, 28, 20
                       Bo=(Q.+L)P                                           (Eq. 3)
                                                                                       and 3. 45, 28 aud 20 are all quantities in the market that would
                                                                                       meet or better the trader's buy order price of 92. These quan-
                If BidQ field clicked.
                                                                                       tities are displayed in the AskQ colunm 1202 because this
                       So-(Qb+L)P                                           (Eq. 4) 65 co!UllUl represents the orders outstanding in the market to sell
                                                                                       the conunodity at each corresponding price. The quantity 3 is
                Jf AskQ field clicked.                                                 the quantity pre-set in the L field 1206.




                                                                                                                                                     TTX03547952
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                                              11                                                                     12
                  The values in the L or R fields may be negative numbers.           order will be the value of the R field (if step 1307 was taken)
               This would effectively decrease the total quantity sent to            or the value of the L field (if step 1309 was taken) plus all
               market. In other words. in the example of a right click in the        quantities in the market for prices better than or equal to the
               AskQ column 1202 in the 87 price row, if the R field was -5,          price in the row clicked. T11is will add up the quantities for
               the total quantity sent to market would be 140 (30+97+18+          5 each order in the market that will fill the order being entered
               (-5)).                                                                by the trader (plus the Lor R value).
                  If a trader chose the "NetPos" option in the quantity                 After either steps 1310, 1311, or 1312, the system, in step
               description field 1204, a right click would still work as             1313, determines which column was clicked, BidQ or AskQ.
               explained above. A left click would enter an order with a price       IfAskQ was clicked, then, in step 1314, the system sends a
               corresponding to the price row clicked and a quantity equal to 10 sell limit order to the market at the price corresponding to the
               the current Net position of the trader. The Net position of the       row for the total quantity as already deterntined. lfBidQ was
               trader is the the trader's current position on the chosen con-        clicked, then, in step 1315, the system sends a buy lin1it order
               tract. In other words, if the trader has bought 10 more con-          to the market at the price corresponding to the row for the total
               tracts than he has sold, this value would be 10. NetPos would         quantity as already determined.
               not affect the quantity of an order sent with a right click.       15    It should be understood that the above description of the
                  lfthe trader chose a number value in the quantity descrip-         invention and specific examples, while indicating preferred
               tion, a left click would send an order to market for the current      embodin1ents of the present invention, are given by way of
               quantity chosen by the trader. The default value of the current       illustration and not limitation. Many changes and modifica-
               quantity will be the number entered in the quantity descrip-          tions within the scope of the present invention may be made
               tion field, but it could be changed by adjusting the figure in the 20 without departing from the spirit thereof, and the present
               current quantity field 1204.                                          invention includes all such changes and modifications.
                  This embodiment of the invention also allows a trader to              We claim:
               delete all of his working trades with a single click of either the       l. A method of displaying market information relating to
               right or left mouse button anywhere in the last traded quantity       and facilitating trading of a connnodity being traded on an
               (LTQ) column 1207. This allows a trader to exit the market 25 electronic exchange, the method comprising:
               immediately. Traders will use this feature when they are los-            receiving, by a computing device, market information for a
               ing money and want to stop the losses from pilling up. Traders              col1llllodity from an electronic exchange, the market
               may also use this feature to quickly exit the market upon                   information comprising an inside market with a current
               making a desired profit. The invention also allows a trader to              highest bid price and a current lowest ask price;
               delete all of his orders from the market at a particular price 30        displaying, via the computing device, a bid display region
               level. A click with either mouse button in the Entered/Work-                comprising a plurality of graphical locations, each
               ing (E/W) colllll111 1208 will delete all working orders in the             graphical location in the bid display region correspond-
               cell that was clicked. Thus, if a trader believes that previously           ing to a different price level of a plurality of price levels
               sent orders at a particular price that have not been filled would           along a price axis;
               be poor trades, he can delete these orders with a single click. 35       displaying, via the computing device, an ask display region
                  The process for placing trade orders using the Mercury                   comprising a plurality of graphical locations, each
               display and trading method of the present invention as                      graphical location in the ask display region correspond-
               described above is shown in the flowchart of FIG. 6. First, in              ing to a different price level of the plurality of price
               step 1301, the trader has the Mercury display on the trading                levels along the price axis;
               terminal screen showing the market for a given commodity. In 40          dynantically displaying, via the computing device, a first
               step 1302, the parameters are set in the appropriate fields,                indicator representing quantity associated with at least
               such as the Land R fields and the Current Quantity, NetPos or               one trade order to buy the commodity at the current
               Offset fields from the pull down menu. In step 1303, the                    highest bid price in a first graphical location of the plu-
               mouse pointer is positioned and clicked over a cell in the                  rality of graphical locations in the bid display region, the
               Mercury display by the trader. In step 1304, the system deter- 45           first grapltical location in the bid display region corre-
               mines whether the cell clicked is a tradeable cell (i.e. in the             sponding to a price level associated with the current
               AskQ column or BidQ colulllll). If not, then in step 1305, no               highest bid price;
               trade order is created or sent and, rather, other quantities are         upon receipt ofmarket information comprising a new high-
               adjusted or functions are performed based upon the cell                     est bid price, moving the first indicator relative to the
               selected. Otherwise, in step 1306, the system detemtines 50                 price axis to a second grapltical location of the plurality
               whether it was the left or the right button of the mouse that               of graphical locations in the bid display region, the sec-
               was clicked. If it was the right, then in step 1307, the system             ond graphical location corresponding to a price level of
               will use the quantity in the R field when it deterntincs the total          the plurality of price levels associated with the new
               quantity of the order in step 1310. If the left button was                  ltighest bid price, wherein the second graphical location
               clicked, then in step 13 08, the system determines which quan- 55           is different from the first graphical location in the bid
               tity description was chosen: Offset, NetPos or an actual mun-               display region;
               ber.                                                                     dynamically displaying, via the computing device, a sec-
                  If Offset was chosen, then the system, in step 1309, will use            ond indicator representing quantity associated with at
               the quantity in the L field when it determines the total quantity           least one trade order to sell the commodity at the current
               of the order in step 1310. If NetPos was chosen, then the 60                lowest ask price in a first graphical location of the plu-
               system, in step 1312, will detem1ine that the total quantity for            rality of graphical locations in the ask display region, the
               the trade order will be current NetPos value, i.e. the net                  first grapltical location in the ask display region corre-
               position of the trader in the given commodity. If an actual                 sponding to a price level associated with the current
               number was used as the quantity description, then, in step                  lowest ask price;
               1311, the system will determine that the total quantity for the 65       upon receipt of market information comprising a new low-
               trade order will be the current quantity entered. In step 1310.             est ask price. moving the second indicator relative to the
               the system will determine that the total quantity for the trade             price axis to a second graphical location of the plurality




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                                                13                                                                     14
                        of graphical locations in the ask display region, the sec-          11. The method of clainl 1, further comprising receiving a
                        ond graphical location corresponding to a price level of         re-centering command to center the inside market in a win-
                        the plurality of price levels associated with the new            dow of a graphical user interface.
                        lowest ask price, wherein the second graphical location             12. The method of claim 1, wherein the bid display region,
                        is different from the first graphical location in the ask 5 the ask display region, and the order entry region are dis-
                        display region;                                                  played vertically or horizontally.
                     displaying, via the computing device, an order entry region            13. The method of claim 1, wherein the bid and ask display
                        comprising a plurality of graphical areas for receiving          regions are displayed separately.
                        single action conunands to set trade order prices and               14. The method of claim 1, wherein the plurality of price
                        send trade orders, each graphical area corresponding to 10 levels are displayed along the price axis.
                        a different price level along the price axis; and                   15. T11e method of claim 1, wherein the plurality of price
                     selecting a particular graphical area in the order entry            levels do not move except as a result of a manual repositioning
                       region througl1 a single action of the user input device to       command.
                       both set a price for the trade order and send the trade              l6. TI1e method of claim 1, further comprising receiving an
                       order having a default quantity to the electronic             15  input from a user that designates a default quantity to be used
                       exchange.                                                         for a plurality of trade orders, and receiving a plurality of
                    2. The method of clainl 1, wherein the order entry region
                                                                                         consecutive single action conunands from a user input device,
                 further comprises:                                                      each single action command sending a trade order to the
                                                                                         electronic exchange, each trade order having an order quan-
                    a bid order entry region comprising a plurality of graphical 20 tity based on the default quantity without the user designating
                       areas for receiving single action commands to send trade          the default quantity between the single action commands.
                       orders to buy, each graphical area corresponding to a                17. The method of claim 16, wherein the plurality of trade
                       different price level of the plurality of price levels along      orders comprises a combination of trade orders to buy and sell
                       the price axis; and                                              the commodity.
                    an ask order entry region comprising a plurality of graphi- 25          18. The method of claim 1, wherein the single action of the
                       cal areas for receiving single action commands to send           user input device consists of a single click of the user input
                       trade orders to sell, each graphical area corresponding to       device.
                       a different price level of the plurality of price levels             19. The method of claim 1, wherein the single action of the
                       along the price axis.                                            user input device consists of a double-click of the user input
                    3. The method of claim 2, wherein the single action further 30 device.
                 sets whether the trade order is an order to buy or sell the               20. TI1e method of claim 2, wherein the single action of the
                 commodity.                                                             user input device consists of a single click of the user input
                    4. The method of claim 2, wherein the bid order entry               device.
                region overlaps with the bid display region, and wherein the               21. The method of claim 2, wherein the single action of the
                ask order entry region overlaps with the ask display region. 35 user input device consists of a double-click of the user input
                    5. The method of claim 4, wherein the overlapping of the            device.
                bid order entry region with the bid display region allows the              22. T11e method of claim 10, wherein the single action of
                user to send trade orders to buy the commodity by positioning           the  user input device to cancel the trade order consists of a
                the curser over the first indicator and selecting a graphical           single  click of the user input device.
                area corresponding to the current highest bid price, and 40                23. The method of claim 10, wherein the single action of
                wherein overlapping ofthe ask order entry region with the ask           the user input device to cancel the trade order consists of a
                display region allows the user to send trade orders to sell the         double-click of the user input device.
                commodity by positioning the cursor over the second indica-                24. The method of claim 16, wherein the single action
                tor and selecting a graphical area corresponding to the current         command consists of a single click of the user input device.
                lowest ask price.                                                   45     25. The method of claim 16, wherein the single action
                   6. The method of clrum 1, wherein the trade order is an              command consists of a double-click of the user input device.
               order to buy the commodity if the position of the cursor at the             26. A computer readable medium having stored therein
               time of the single action is within a bid order entry region and         instmctions for execution by a computer to perform the fol-
               wherein the trade order is an order to sell the commodity if the         lowing   method steps:
               position of the cursor at the time of the single action is within 50        receiving, by a computing device, market information for a
               an ask order entry region.                                                     conunodity from an electronic exchange, the market
                                                                                              information comprising an inside market with a current
                   7. The method of claim 1, wherein the default quantity is
                                                                                              highest bid price and a current lowest ask price;
               designated to be used for a single trade order.
                                                                                           displaying, via the computing device, a bid display region
                   8. The method of claim 1, wherein the default quantity is 55
                                                                                              comprising a plurality of graphical locations, each
               designated to be used for a plurality of trade orders.                         graphical location in the bid display region correspond-
                   9. T11e method of claim 1, further comprising dynamically                  ing to a different price level of a plurality of price levels
               displaying an entered order indicator at a graphical location                  along a price axis;
               aligned with a price level of the plurality of price levels,                displaying, via the computing device, an ask display region
               wherein the entered order indicator represents a user's trade 60               comprising a plurality of graphical locations, each
               order working at the price level aligned with the entered order                graphical location in the ask display region correspond-
               indicator.                                                                     ing to a different price level of the plurality of price
                   10. The method of claim 9, further comprising canceling                    levels along the price axis;
               the user's trade order represented by the entered order indi-               dynamically displaying, via the computing device, a first
               cator in response to a single action of the user input device 65               indicator representing quantity associated with at least
               with the cursor of the user input device positioned over the                   one trade order to buy the commodity at the current
               entered order indicator.                                                       higl1est bid price in a first graphical location of the plu-




                                                                                                                                                     TTX03547954
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                  rality of graphical locations in the bid display region, the       of graphical locations in the ask display region, the sec-
                  first graphical location in the bid display region corre-          ond graphical location corresponding to a price level of
                  sponding to a price level associated with the current              the plurality of price levels associated with the new
                  highest bid price;                                                 lowest ask price, wherein the second graphical location
                uponreceiptofmarket infonnationcomprisinga new high- 5               is different from the firs\ graphical location in the ask
                  est bid price, moving the first indicator relative to the          display region;
                  price axis to a second graphical location of the plurality      displaying, via the computing device, an order entry region
                  of graphical locations in the bid display region, the sec-         comprising a plurality of graphical areas for receiving
                  ond graphical location corresponding to a price level of           single action commands to sel trade order prices and
                  the plurality of price levels associated with the new 10           send trade orders, each graphical area corresponding to
                  highest bid price, wherein the second graphical location           a different price level along the price axis: and
                  is different from the first graphical location in the bid       selecting a particular graphical area in the order entry
                  display region;                                                    region through a single action of the user input device to
                dynamically displaying, via the computing device, a sec-             both set a price for the trade order and send the trade
                  ond indicator representing quantity associated with at I 5         order having a default quantity to the electronic
                  least one trade order to sell the commodity at the current         exchange.
                  lowest ask price in a first graphical location of the plu-      27. The computer readable method of claim 26, wherein
                  rality of graphical locations in the ask display region, the the single action of the user input device consists of a single
                  first graphical location in the ask display region corre-    click of the user input device.
                  sponding to a price level associated with the current 20        28. The computer readable method of claim 26, wherein
                  lowest ask price;                                            the single action of the user input device consists of a double-
                upon receipt of market information comprising a new low-       click of the user input device.
                  est ask price, moving the second indicator relative to the
                  price axis to a second graphical location of the plurality




                                                                                                                                           TTX03547955
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                                       UNITED STATES PATENT AND TRADEMARK OFFICE
                                            CERTIFICATE OF CORRECTION
           PATENT NO.      : 7,676.411 B2                                                                                       Page 1 of 1
           APPLICATION NO .. 11/585907
           DATED           : March 9, 2010
           INVENTOR(S)     : Kemp, II et al.
           It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



                    Title Page;
                    At item (56), add the following to the "Other Publications" section:
                    --Re-exam Certificate for U.S. Patent No. 6,766,304, issued March 31, 2009.--.
                    --Re-exam Certificate for U.S. Patent No. 6,772,132, issued March 31, 2009--.

                    At col. 1, line 13-17, please delete the paragraph 'The present application claims priority to a U.S.
                    Provisional Patent Application entitled 'Market Depth Display Click Based Trading and Mercury
                    Display' filed Mar. 2, 2000, the contents of which are incorporated by reference herein.".

                   Claim 5, Column 13, lines 37-39: please delete "allows the user to send trade orders to buy the
                   commodity by positioning the curser" and insert --allows a user to send trade orders to buy the
                   commodity by positioning a cursor--.

                   Claim 6, Column 13, lines 47-48: please delete "the position of the cursor at the time" and insert --a
                   position of a cursor at a time--.

                   Claim 10, Column 13, line 66: please delete "the cursor" and insert --a cursor--.

                   Claim 16, Column 14, line 15: please delete "a default quantity" and insert --the default quantity--.

                   Claim 26, Column 16, line 13: please delete "the user input device" and insert --a user input device--.




                                                                                                Signed and Sealed this

                                                                                               First Day of June, 2010




                                                                                                           David J. Kappos
                                                                                       Director of the United States Patent and Trademark Office




                                                                                                                                            TTX03547956
                                                                       Appx76



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                                                                   Appx3043
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                                    UNITED STATES PATENT AND TRADEMARK OFFICE
                                          CERTIFICATE OF CORRECTION
         PATENT NO.      ; 7,676-411B2                                                                                       Page 1 of 1
         APPLICATION NO. : 11/585907
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         It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



                          In claim 1, at column 13, line 13, please delete "the user input device" and insert -- a user input
                  device--.

                           In claim 1, at column 13, line 14, please delete "a price for the trade order" and insert -- a price
                  for a trade order --.

                           In claim 26, at column 16, line 14, please delete '"a price for the trade order·· and insert -- a
                  price for a trade order--.




                                                                                               Signed and Sealed this

                                                                                          Tenth Day of August, 2010




                                                                                                         David J. Kappos
                                                                                      Director of the Umted States Patent and Trademark Office




                                                                                                                                          TTX03547957
                                                                      Appx77




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                                                                     Appx3044
